Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 1 of 52




                             EXHIBIT C
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 2 of 52
                                                                                                      James Burns
                                                                                                         11/14/2019

 1        UNITED STATES DISTRICT COURT                        1          APPEARANCES
          SOUTHERN DISTRICT OF FLORIDA
 2                                                            2     ON BEHALF OF PLAINTIFF:
        Case No. 17-62255-Civ-COOKE/HUNT                      3       ROBERT K. GORDON, ESQUIRE
 3                                                            4       W. SHAWN MURNAHAN, ESQUIRE
 4 SECURITIES AND EXCHANGE          )
   COMMISSION,                )                               5       Securities and Exchange Commission
 5                     )                                      6       950 East Paces Ferry Road, N.E.
      Plaintiff,          )                                   7       Suite 900
 6                     )
      -vs-               )                                    8       Atlanta, Georgia 30326
 7                     )                                      9       (404) 842-7652
   IBRAHIM ALMAGARBY and          )                          10       gordonr@sec.gov
 8 MICROCAP EQUITY GROUP, LLC, )
                       )                                     11
 9    Defendants.           )                                12     ON BEHALF OF DEFENDANT:
   ______________________________)                           13       JOSHUA KATZ, ESQUIRE
10
11                                                           14       Sallah Astarita & Cox
12                                                           15       3010 North Military Trail
13
14         DEPOSITION OF JAMES BURNS
                                                             16       Suite 210
15             Washington, D.C.                              17       Boca Raton, Florida 33431
16        Thursday, November 14, 2019                        18       (561) 989-9080
17               9:32 a.m.                                   19       jak@sallahlaw.com
18
19                                                           20
20                                                           21
21                                                           22
22
23                                                           23
24 Reported by:                                              24
   Tammy S. Newton                                           25
25 JOB No. 191114TN

                                 1                                                      3

 1         UNITED STATES DISTRICT COURT                       1               INDEX
           SOUTHERN DISTRICT OF FLORIDA
 2
                                                              2   WITNESS                        EXAMINATION
         Case No. 17-62255-Civ-COOKE/HUNT                     3   James Burns
 3                                                            4     By Mr. Gordon                    5
 4 SECURITIES AND EXCHANGE                 )
   COMMISSION,                    )
                                                              5     By Mr. Katz                    139
 5                       )                                    6
      Plaintiff,            )                                 7                EXHIBITS
 6                       )                                    8   NUMBER        DESCRIPTION                PAGE
       -vs-                )
 7                       )                                    9   Exhibit 1 Curriculum Vitae          6
   IBRAHIM ALMAGARBY and                )                    10   Exhibit 2 Expert Report            40
 8 MICROCAP EQUITY GROUP, LLC, )                             11   Exhibit 3 Sources of Facts or Data      49
                         )
 9    Defendants.             )                              12   Exhibit 4 Respondents' Notice of Filing
   ______________________________)                           13            Expert Report         71
10                                                           14   Exhibit 5 Excerpt from Louis Loss     108
11
12
                                                             15
13                                                           16
14                                                           17      (All exhibits attached to transcript.)
15    Deposition of James Burns taken on behalf              18
16 of Plaintiff, at Wilkie Farr & Gallagher, 1875 K
17 Street, N.W., Washington, D.C., beginning at              19
18 9:32 a.m. and ending at 1:26 p.m., on Thursday,           20
19 November 14, 2019, before Tammy S. Newton.                21
20
21                                                           22
22                                                           23
23                                                           24
24
25                                                           25

                                 2                                                      4

                                               GRADILLAS COURT REPORTERS
                                                      (424) 239-2800
 Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 3 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1             PROCEEDINGS                                1   BY MR. GORDON:
 2                James Burns,                            2       Q Mr. Burns, is Exhibit JB1 a current
 3   having been sworn by the notary, testified as        3   copy of your CV?
 4   follows:                                             4       A Yes, a version of it. I may have
 5          MR GORDON: This is the deposition of          5   others, but yes. My glasses, I left them
 6   James R. Burns in SEC versus Ibrahim Almagarby       6   downstairs.
 7   and Microcap Equity Group. For all permissible       7       Q Why don't we go off the record and
 8   purposes under the federal rules, Mr. Burns has      8   take a break.
 9   been proffered as an expert witness by the           9       A I'm so sorry.
10   defendants in this matter.                          10            (A brief recess was taken.)
11          My name is Robert Gordon, and I am an        11   BY MR. GORDON:
12   attorney with the SEC. I work out of our Atlanta    12       Q Mr. Burns, now that you have your
13   Regional Office. And with me is my colleague        13   glasses and can see, take a look at Exhibit JB1.
14   William Shawn Murnahan, also an attorney at the     14       A Yes.
15   SEC in the Atlanta Regional Office.                 15       Q I'll represent to you that this copy
16       EXAMINATION BY COUNSEL FOR THE PLAINTIFF        16   of your CV was provided to me by Mr. Katz. Is
17   BY MR. GORDON:                                      17   this a -- is this your CV?
18       Q Mr. Burns, I'll be asking you                 18       A Yes.
19   questions today relating to your expert report in   19       Q And is everything in here accurate, to
20   this case, you're qualifications, and your          20   the best of your knowledge?
21   understanding of the matter today and other         21       A To the best of my knowledge. I
22   questions relating to your expert engagement. I     22   haven't looked at it in a while.
23   just ask that you, please, wait until I finish my   23       Q Okay. Did you write it?
24   question before answering so that the court         24       A I would have, yes.
25   reporter can create a clean record.                 25       Q Okay. And everything you would have

                          5                                                        7

 1            Mr. Katz will likely be objecting to        1   put in there would have been accurate, correct?
 2   some of my questions during today's deposition.      2       A I would have thought so, yeah. Yeah.
 3   This is not unusual. When he objects, unless he      3       Q I just want to briefly go over your
 4   instructs you not to answer the question, you        4   education and employment starting with law
 5   should answer the question and not be concerned      5   school.
 6   with the objection.                                  6       A Okay.
 7            MR. GORDON: Is that agreeable to you,       7       Q So you graduated from Georgetown
 8   Mr. Katz?                                            8   University Law Center with a J.D. in 2001; is
 9            MR. KATZ: Absolutely.                       9   that correct?
10   BY MR. GORDON:                                      10       A December I got out, yes.
11       Q If you don't hear a question or don't         11       Q Okay.
12   understand it, feel free to ask me to repeat it     12       A I think they gave me my diploma in
13   or rephrase it or to have the court reporter read   13   2002.
14   it back. If you need a break, just let me know,     14       Q I see.
15   and I'll be happy to arrange for one at a           15           And then in 2002 and 2003, you clerked
16   convenient breaking point.                          16   for a judge on the U.S. Court of Appeals for the
17            I control the record, so I need to be      17   Fourth Circuit; is that correct?
18   the one to tell the court reporter when we're       18       A Yes.
19   going off the record and back on the record.        19       Q And then --
20            Is that okay?                              20       A Filling in that gap, that's -- the
21       A Yes.                                          21   American Council on Education was the stub
22       Q Let me first start by marking an              22   period. I worked there through law school and
23   exhibit. We'll call this JB1.                       23   then at night.
24             (Deposition Exhibit 1 was marked for      24       Q Understood.
25   identification and attached to the transcript.)     25           You went to work as an attorney at the
                          6                                                        8

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
 Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 4 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   firm then known as Wilmer Cutler Pickering Hale      1   requests, correct?
 2   and Dorr in 2003, correct?                           2       A Yes.
 3       A Yes. In 2003, it was still Wilmer              3       Q How many no-action requests did you
 4   Cutler Pickering. It became Wilmer Cutler            4   work on during -- approximately during your five
 5   Pickering Hale and Dorr a couple years after         5   years at Wilmer Cutler?
 6   that.                                                6       A I haven't -- I just don't recall.
 7       Q And you worked at that firm until              7       Q Was it more than one?
 8   sometime in 2008, correct?                           8       A I'm -- I think so. It's a rather dim
 9       A Yes. Around August or so, I think.             9   recollection, and I don't know whether they ever
10       Q Okay. And would it be fair to say             10   ultimately saw the light of day. I just don't
11   that you did securities-related work while you      11   recall. I'm sorry.
12   were an attorney at Wilmer Cutler?                  12       Q Okay. So you're not certain whether
13       A Yes.                                          13   or not you worked on any no-action letter during
14       Q Can you just very briefly describe the        14   your time at Wilmer Cutler that was actually
15   kind of work that you did during your               15   submitted to the SEC.
16   approximately five years of employment at Wilmer    16           Is that what you're saying?
17   Cutler?                                             17       A I -- I'm sure we did. I'm sure -- and
18       A Sure.                                         18   it may well have been in relation to the
19           It would have covered asset manager         19   collateral consequences attendant to the -- to
20   and broker-dealer regulatory work, support for      20   some settlements that the firm more broadly was
21   compliance examinations, drafting memoranda         21   working on. I'm so sorry I can't remember.
22   related to regulatory issues for advisors and for   22       Q Okay.
23   broker-dealers, information-barrier work for        23       A And it would have been, at that point,
24   broker-dealers, and then support around some        24   under the supervision of ultimately whoever --
25   rather large enforcement matters relating -- that   25   there would have been a partner who would have

                           9                                                       11

 1   were being brought by the SEC, New York Stock --     1   been, you know, the signatory on anything like
 2   New York Attorney General, and I think the Mass      2   that at the time.
 3   Secretary -- either Secretary of State there.        3       Q Understood.
 4   Anyhow --                                            4       A So I might have had a piece of it.
 5       Q Would it be fair to say that the work          5   You know, might have been asked to scope it out
 6   you did at Wilmer Cutler was legal work?             6   in terms of, you know, thinking through, as one
 7       A It was, yeah.                                  7   strategy, how to put one together that would be
 8       Q When did you become a member of any            8   effective. Whether they saw the light of day,
 9   state bar for the first time?                        9   I'm sorry, I don't remember.
10       A In --                                         10       Q And was your -- was it through your
11       Q Just the year is fine.                        11   employment at Wilmer Cutler that you first became
12       A I think 2002.                                 12   familiar with the no-action letter process?
13       Q And which states' bar did you become a        13       A That would have been, yeah. Yeah. It
14   member of in 2002?                                  14   might have been touched on in law school. I had
15       A It would have been Maryland and then          15   a very good securities law professor, but I don't
16   followed by D.C. In time I would have joined --     16   recall that to be the case.
17   I don't know exactly when. It was probably when     17       Q All right. You worked at the
18   I started at Wilmer.                                18   Securities and Exchange Commission from starting
19       Q Okay. And are you a member currently          19   sometime in 2008 through sometime in 2014; is
20   of any state bars in addition to Maryland and       20   that correct?
21   D.C.?                                               21       A Yep. Yes, sir.
22       A I think those two. Those two.                 22       Q And let me ask you: For all of the
23       Q You indicated in your CV that during          23   positions that you had at the SEC, was a law
24   your employment at Wilmer Cutler, your              24   degree a requirement?
25   assignments included working on no-action letter    25       A No. Well, I guess styled as counsel,

                          10                                                       12

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
 Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 5 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   but I know of a couple of commissioner counsels      1   about what the other concerns they might have
 2   or advisors for each of the several SEC              2   about what was going on -- what were going on in
 3   commissioners I know and for Chairman Shapiro --     3   markets, what their interests were, what their
 4   many of them were -- it was customary -- but a       4   financial interests were, what their concerns
 5   number of them were not.                             5   were about the potential impact of agency actions
 6       Q Okay.                                          6   on businesses they'd established.
 7       A Sometimes you want a market expert.            7            So it was -- certainly legal was an
 8   Sometimes you want someone with industry             8   important part of it, but it was by no means the
 9   insights. I think some have hired economists.        9   only part of what I was advising them.
10   Some have hired former Hill staffers. There         10       Q Understood.
11   could be any number of things one is looking for    11            And I just have to ask this as part of
12   in a counsel, sort of small C.                      12   due diligence. Have you ever been suspended or
13       Q When you served as counsel at the             13   subject to disciplinary action by any bar?
14   SEC -- and I see that you served as both counsel    14       A No. Not that I'm aware of.
15   to former Chairman Shapiro and to --                15       Q You were deputy director of the
16       A Commissioner Casey --                         16   Division of Trading and Markets from sometime in
17       Q -- Commissioner Casey as well. When           17   2012 until sometime in 2014; is that correct?
18   you served in those positions, did you use your     18       A That's correct. And that followed
19   training and experience as an attorney in your      19   that -- if you don't want to talk about chief of
20   job?                                                20   staff, we don't have to talk about it. That was
21       A I certainly used it. And one                  21   a much more broad-based policy and
22   additional benefit was it gave me an opportunity    22   strategy-related job that preceded that. But
23   to broaden my understanding of markets. And a       23   yes.
24   lot of the job of a Commission counsel is to hear   24       Q I mean I have your CV. I don't intend
25   from industry participants as they describe what    25   to ask you about every detail.
                          13                                                       15

 1   they do and how they do it and what public good      1        A Of course. But yes, those were the
 2   they serve and how the law affects them, but also    2   years.
 3   how market pressures affect them and what            3        Q You've authenticated it, and it speaks
 4   industry practices.                                  4   for itself, so I just have selective questions --
 5           Commissioners regularly, week in and         5        A Of course.
 6   week out, are paid visits by all sorts of            6        Q -- in order to expedite the process.
 7   industry participants. So while -- I would say       7        A Certainly.
 8   legal background, while important, was a             8           MR. KATZ: If I may, just to make sure
 9   relatively small part of the job. It certainly       9   for the record that you're not talking over his
10   helped. It certainly made me better at what I       10   questions and that type of thing just to keep --
11   did for my various bosses. But just having, you     11   so the record --
12   know, an inquisitive mind in thinking about how     12           MR. GORDON: Yes. Thank you.
13   all the different pieces of our -- of the           13   BY MR. GORDON:
14   securities markets worked together really are       14        Q And I'll just remind you -- I know
15   what's behind being an advisor to the Commission.   15   it's hard because it's not normal human
16           Because as you know, the commissioners      16   interaction, but please wait for me to finish
17   have their advisors, but they also have the         17   speaking before you answer, and I will try not to
18   general counsel's office. They have enforcement,    18   interrupt your answers with a question.
19   and they have others to also describe to them       19        A Thank you. Thank you. I'm sorry
20   what the requirements of the law are.               20   about that. Thanks.
21       Q During your time as counsel for those         21        Q So at the time that you were a deputy
22   two commissioners, did you provide them with        22   director of the Division of Trading and Markets,
23   advice on legal matters from time to time?          23   was there just one deputy director or more than
24       A I did. I also provided feedback based         24   one?
25   on meetings I had with industry representatives     25        A It depended. When I commenced, there

                          14                                                       16

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
 Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 6 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   were -- I joined one who was there. He left --       1   know. But just try to get through the day a
 2   he -- when the Director Cook left, he became the     2   little more quickly, I'd just make that comment.
 3   acting director, and I was the sole deputy for       3        A Mr. Gordon, may I offer one other
 4   about a third of the time I was there. I'm not       4   thing?
 5   exactly sure. I don't know whether the court         5        Q Sure.
 6   reporter could catch the inflection in my voice.     6        A That was just interesting that upon my
 7   But yeah, not sure.                                  7   departure from the division, the next director of
 8        Q For the other two-thirds of the time,         8   the division was not a lawyer. He was himself
 9   was there another deputy director besides you?       9   a -- another market expert, Brett Redfearn,
10        A There was. John Ramsay.                      10   R-E-D-F-E-A-R-N.
11        Q So the most deputy directors at any          11        Q I appreciate that, but that is not
12   time you were there were two, correct?              12   responsive to any question I asked. That's the
13        A Correct.                                     13   sort of thing we can skip.
14        Q You joined Wilkie Farr in 2014 as a          14        A Okay.
15   partner in its asset management group; is that      15        Q And your -- again, I'm not going to go
16   correct?                                            16   into detail about your current practice except to
17        A That's correct, in or around -- I            17   ask a few specific questions --
18   think it was around October of 2014.                18        A Sure.
19        Q Okay. And you've remained in that            19        Q -- in that there is a pretty fulsome
20   position until the present day, correct?            20   description here provided in your CV, okay?
21        A I have. I'll put a little asterisk,          21        A Yes. It doesn't provide details as I
22   if I may, a pair of asterisks.                      22   was describing to you about the work with that
23        Q Yes.                                         23   systemically important financial market utility
24        A To say "asset management group"              24   very lately. It just means I haven't updated the
25   connotes a focus on the regulatory affairs of the   25   CV in terms of that -- those bullets.

                          17                                                       19

 1   Division of Investment Management. I'm a             1       Q Okay. I note that in your description
 2   broker-dealer -- I'm someone with both               2   in your CV, you mentioned that you have done work
 3   broker-dealer and investment management              3   related to SEC enforcement matters. Apart from
 4   expertise, and I work with several other             4   this expert engagement that you have taken, can
 5   broker-dealer experts within that group.             5   you elaborate on what other kinds of work related
 6          And my second asterisk was -- I can't         6   to SEC enforcement matters that you have done?
 7   remember it now. I had another observation           7       A Sure.
 8   about -- oh, I'm sorry. From then to the             8           I have taken at least -- I've taken --
 9   present. Yes. Additionally for a period of           9   supported or myself taken a few folks through --
10   time, about a year and a half or so, I've been      10   sometimes because of the -- of course, the ethics
11   focusing on the affairs of a client, systemically   11   obligations in terms of representations in front
12   important financial market utility, which caused    12   of the agency, I was advising on a number of
13   me to also really be serving as primary counsel     13   investment advisor or broker-dealer-related
14   for them while they've been searching for a         14   enforcement matters over the last couple of years
15   general counsel.                                    15   in ways large or small.
16       Q Okay. And I appreciate your                   16           In addition, the systemically
17   volunteering this information.                      17   important financial market utility just settled a
18       A You don't want all this extra.                18   large -- of course, it's overseen by Trading and
19       Q But it will -- it will expedite               19   Markets -- overseen a large settlement -- SRO
20   things --                                           20   settlement with the Agency. Just settled a case
21       A -- if I just answer the question.             21   where I was really supervising -- well, no. I
22       Q -- if you focus on the question.              22   guess I was interacting with staff there
23       A I did it again.                               23   directly, too, on a private equity fee case in
24       Q Again, if you think there's something         24   the hopper.
25   important to volunteer, by all means, let me        25           I've got an active case right now I'd

                          18                                                       20

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
 Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 7 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   rather not go into the details of. And I have        1   enforcement matters over half a dozen times at
 2   consulted almost as shadow counsel a number of       2   your time at Wilkie?
 3   other entities that have live matters with the       3      A I would have thought so, but I'm not
 4   Agency where the general counsel might be            4   sure.
 5   double-checking on the work being performed by       5      Q More than 10 times?
 6   counsel who's making an appearance.                  6      A I doubt, but I'm not sure. I'm sorry.
 7       Q So you mentioned that in at least one          7   I'm just not -- things kind of come over the
 8   SEC enforcement action that you did directly         8   transom, "Hey, would you take a look at this?"
 9   interface with folks at the SEC in dealing with      9   So it's very difficult.
10   that enforcement?                                   10      Q So a reasonable ballpark estimate of
11       A Yes.                                          11   the amount of times you've done whatever --
12       Q Okay. And was that unique, or is              12      A Enforcement --
13   that -- have you dealt with SEC enforcement         13      Q -- would be maybe between 6 and 10?
14   people as defense counsel on a number of            14      A Let's say that. I'm not sure.
15   occasions?                                          15      Q Okay. But is that a fair estimate?
16       A On a number of occasions. I just              16      A It's probably a fair estimate.
17   can't tell you how often through the years.         17      Q Now, in your CV, in your description
18       Q So is your -- has your role in any of         18   of your experience at Wilkie Farr & Gallagher,
19   these enforcement matters been as -- whether in     19   you don't mention expert-witness work, correct?
20   whole or in part, as litigator in the case?         20      A I --
21       A I'm usually in as a regulatory expert.        21      Q Is that correct?
22   But, you know, the worlds meld. One knows how to    22      A Correct.
23   practice before the Agency. But I'm usually         23      Q And --
24   trying to bring to bear my regulatory expertise     24      A I'm reading it. I'm sorry.
25   or questions or thoughts about how, you know --     25      Q Okay. After you've had a chance to

                          21                                                       23

 1   it could be anything from regulatory expertise to    1   read it, tell me whether or not my statement was
 2   strategy.                                            2   correct.
 3       Q Have you ever had a role either in             3      A There's no express mention of it, no.
 4   writing or reviewing briefs that were submitted      4      Q And why is that not mentioned?
 5   on behalf of defendants or potential defendants      5      A Perhaps because this looks like the
 6   in securities-enforcement matters?                   6   more IM-focused version of my CV that I --
 7       A Yes.                                           7   because I think, as I said earlier, it doesn't
 8       Q Is that something that you've done             8   look like I've updated it very recently to
 9   frequently?                                          9   include the -- previously -- I have one currently
10       A With some regularity, yes. Frequently         10   as well, but previously, the one other instance
11   is -- if I may, frequently is just one of those     11   in which I've served as an expert -- been
12   words I don't know what your view of frequently     12   retained to serve as an expert.
13   is. Commensurate with the practice that's           13      Q Okay. And is there -- is there
14   primarily advisory -- regulatory advisory and       14   another version of your CV that you have created
15   compliance advisory -- and mercifully,              15   that mentions your expert work?
16   enforcement cases don't emerge very, very, very     16      A I'm sure it does not.
17   often. But, you know, to the extent they have       17      Q And I'll ask you more questions about
18   emerged and I've been involved with them, which     18   the expert-witness work that you mentioned in a
19   has happened with -- alas for some clients, with    19   moment. We'll get back to that.
20   regularity, I'm involved in different aspects.      20           During your time at Wilkie -- and I'm
21       Q Since you sort of raised the issue            21   going to refer to your law firm as Wilkie.
22   about quantification, would you say -- just         22      A That's fine.
23   estimating now, would you say that you have         23      Q -- if that's okay.
24   participated in writing or editing briefs on        24           During your time at Wilkie, have you
25   behalf of defendants or putative defendants in      25   done any work involving no-action letters?

                          22                                                       24

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
 Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 8 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1      A I have certainly -- yes. I can't say            1   strategy, whether the activity they've engaged in
 2   that I have been lead on preparing no-action         2   might warrant seeking no-action relief.
 3   requests. I simply don't remember. But I have        3           Does that make sense?
 4   been involved in and reviewed a fair number          4       Q Yes.
 5   through the -- through the years.                    5       A Okay. But writing a letter seeking
 6      Q Okay. And again, I know it's taxing             6   no-action relief for someone from the definition
 7   to ask you to do so.                                 7   of broker or dealer, I don't believe I have
 8      A Yeah.                                           8   worked on -- written one myself or worked on one
 9      Q Can you estimate how many of these              9   for anyone.
10   no-action letters, whether or not they were         10       Q Okay. I'm just going to follow up
11   actually submitted or saw the light of day as you   11   with a general question.
12   said or not, that you worked on?                    12       A Yeah.
13      A May I ask a qualifying question?               13       Q And again, I don't want to go into
14   Where Wilkie has been retained to write one or      14   anything privileged. I'm not going to ask you
15   where I have been called by clients about whether   15   the names of any clients.
16   or not to prepare one?                              16       A Yep.
17      Q Both.                                          17       Q When you have advised clients about
18      A Okay. Well, easily between your 6 and          18   the option of seeking a no-action letter, was it
19   10.                                                 19   in the context of trying to get clarity on
20      Q Okay.                                          20   whether or not they would be considered to be a
21      A I think.                                       21   broker or a dealer by the SEC?
22      Q Do you remember -- again, I don't want         22           MR. KATZ: I'm going to object to the
23   you to reveal any confidences, but do you           23   extent it does not invade attorney-client
24   remember sort of the legal issues at a              24   communications.
25   30,000 foot level for any of the no-action          25           THE WITNESS: And now do you mind
                          25                                                       27

 1   letters that you worked on?                          1   repeating the question? I'm sorry.
 2       A Sure.                                          2           MR. GORDON: I'm going to ask the
 3           Reg M issues, Reg SHO issues, issues         3   court reporter to read it back.
 4   relating to at least advising people -- let me       4        (The record was read by the reporter.)
 5   think through a few more.                            5           THE WITNESS: Yes. And I think in
 6       Q Let me ask it this way.                        6   talking through such a strategy, I would have
 7       A Okay.                                          7   indicated that it's difficult to obtain that kind
 8       Q Have you worked on any no-action               8   of clarity, and therefore, seeking no-action
 9   letters that involve the issue of the definition     9   relief might be -- might not yield an answer.
10   of a broker or dealer?                              10   BY MR. GORDON:
11       A I have certainly advised on the -- for        11       Q The answer to my question is "yes"?
12   private equity clients.                             12       A Yes. I think so.
13       Q Hold on.                                      13       Q When you worked at the SEC, did you
14       A Sorry.                                        14   have any involvement in the no-action letter
15       Q To make sure you heard my question,           15   process?
16   the question is whether you worked on any           16       A Yes.
17   no-action letters that relate to the definition     17       Q Can you elaborate on that?
18   of a broker-dealer, not whether you've worked on    18       A Well, I was regularly -- so as the
19   these issues generally. Right now my question       19   deputy, I had about four or five associate
20   has to do with no-action letters.                   20   directors working for me, and from time to time,
21       A The way I was -- thank you. What I            21   they would come in with -- or I would even hear
22   was trying to say is, in advising clients who       22   directly from market participants who were trying
23   have -- who have queried -- where the question's    23   to work with staff to obtain no-action relief in
24   arised whether someone might have broker-dealer     24   respective of positions. So I would have said
25   status, I have talked through, as one potential     25   numerous times, whether -- generally, from the

                          26                                                       28

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
 Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 9 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   Office of the Chief Counsel or from the Office of    1      Q     Okay. I'll ask a specific question.
 2   Derivatives Policy, they would come in to            2           What is the -- what is the subject
 3   describe no-action relief they were either           3   matter of the expert retention? What are you
 4   comfortable or not comfortable providing.            4   being retained as an expert for?
 5       Q Okay. And at a very high level and as          5       A Currently I've been -- I was asked to
 6   briefly as you can --                                6   write a letter expressing my views on the
 7       A Sorry.                                         7   dealer/trader distinction.
 8       Q -- tell me what is your understanding          8       Q Was that in connection with a Wells
 9   of the no-action letter process.                     9   submission that somebody was making?
10       A It's an opportunity for a firm that is        10       A Yes.
11   seeking some assurance that if it takes a course    11       Q And you did in fact write such a
12   of action, the regulatory staff would not           12   letter, and the Wells submission, including your
13   recommend to either -- to enforcement that action   13   letter, was in fact submitted to the SEC,
14   against that firm would be taken for taking         14   correct?
15   whatever those actions are.                         15       A I provided it. I think it was
16       Q Okay.                                         16   submitted.
17       A Does that make sense?                         17       Q So the three expert experiences that
18       Q There's no requirement that an                18   you have mentioned, including the current one,
19   individual or entity seeking a no-action letter     19   the one you did for IronRidge, and the one that
20   do so through counsel, as far as you know, is       20   you have done in connection with the Wells
21   there?                                              21   submission, that's the totality of your
22       A No, I don't -- I don't know of a              22   experience as an expert witness, correct?
23   requirement. I would have -- I've never seen        23       A Yes.
24   someone who did not do so.                          24       Q And would it be fair to say that in
25       Q Okay. All right. Let's -- you                 25   all three of those engagements, the issue was

                          29                                                       31

 1   mentioned before one other expert engagement. So     1   whether or not an individual or an entity was a
 2   beyond the engagement for which you're currently     2   dealer under the definition of the Exchange Act?
 3   testifying, do I correctly understand that you've    3       A Yes.
 4   done just one other expert engagement?               4       Q And would it be further fair to say,
 5       A In the past, and I'm currently doing           5   in all three of those expert engagements, you
 6   another now.                                         6   have opined that the defendant or putative
 7       Q Okay. So why don't you first start by          7   defendant in the case of the Wells submission was
 8   telling me about your expert engagement in the       8   not a dealer?
 9   past. Which one was that?                            9       A Yes, based on what was -- what I had
10       A So that was for the IronRidge metal           10   reviewed and seen and understood that they -- it
11   matter that settled -- you guys will know. I        11   wasn't enough there to persuade me they ought to
12   don't remember.                                     12   be treated as a dealer.
13       Q Okay. I'll have some more questions           13       Q So --
14   about that in a bit.                                14       A Without -- may I? I'm so sorry.
15           And is the matter that you're               15       Q Go ahead.
16   currently engaged as an expert in, is that          16       A I'm a little fuzzy on IronRidge and
17   something where you can tell me about that          17   I'm -- it's very nascent with the other. So for
18   without violating any privilege?                    18   where we are now, that's what I recall.
19       A That I -- you're talking about not            19       Q Okay. I'll represent to you that I
20   this one but the --                                 20   was lead counsel for the SEC in the IronRidge
21       Q Correct.                                      21   matter.
22       A -- the other one?                             22            You've never been qualified as an
23       Q Yes.                                          23   expert in any court, have you?
24       A I don't know what I should or should          24       A No, not -- I don't know what that
25   not say.                                            25   means exactly. But no, I don't believe I've

                          30                                                       32

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 10 of 52
                                                                                                  James Burns
                                                                                                     11/14/2019

 1   gone -- never gone to court as an expert, no.        1           You mentioned just now in your answer
 2       Q And you have not -- I take it then,            2   that you looked at Interrogatory responses and
 3   based on what you just told me that you have         3   transcript of Mr. Almagarby's deposition. Were
 4   not -- you've never given live expert testimony      4   those -- beyond the answers to the
 5   in any proceeding with the exception of this         5   Interrogatories and the transcript of
 6   deposition?                                          6   Mr. Almagarby's deposition, did you review any
 7       A That's exactly right. Written                  7   other materials of a factual nature in connection
 8   materials, never testified.                          8   with your preparation of your report?
 9       Q And I take it that you have not,               9       A The report -- so the report, really
10   therefore, previously been deposed in connection    10   that's what I focused -- those were the materials
11   with any engagement as an expert witness,           11   I focused on in preparing it. It may be the --
12   correct?                                            12   I'm sure that just before the submission of the
13       A Correct.                                      13   report I got some additional materials.
14       Q Have you ever been asked to be an             14       Q So I'm -- let me ask the question.
15   expert witness for the SEC?                         15       A Okay.
16       A I don't believe so. No, not -- I'm            16       Q I ask you to pay attention to exactly
17   sorry to sound so fuzzy. Kids and sleep and         17   what I'm asking --
18   being in my 50s. I don't know.                      18       A Sorry.
19       Q Of course. Just give me your best             19       Q -- and answer that question.
20   recollection.                                       20           Other than the responses to
21       A My best recollection is no.                   21   Interrogatories and the transcript of
22       Q And have you ever been asked to be an         22   Mr. Almagarby's deposition, did you review any
23   expert witness for any other government             23   other materials of a factual nature in connection
24   regulatory agency?                                  24   with the preparation of your report?
25       A No.                                           25       A I -- I think -- I think I focused on

                          33                                                       35

 1       Q Have you ever done any work of any             1   those materials.
 2   kind before for the firm where Mr. Katz works,       2       Q Did you review any -- I'm trying to
 3   Sallah Astarita & Cox?                               3   get a clear answer to the question. You say you
 4       A No.                                            4   "think I focused on those materials." I'm asking
 5       Q Tell me generally -- in regard to your         5   you whether you reviewed any other materials of a
 6   expert report, generally speaking, what was your     6   factual nature. And either you did, you didn't,
 7   process for preparing your expert report in this     7   or you don't remember.
 8   case?                                                8           MR. KATZ: I'm going to object.
 9       A Okay. Well, I reviewed the complaint.          9           THE WITNESS: Before the submission of
10   I reviewed the answer. I would have looked at       10   the report, the additional -- what I understand
11   the Interrogatories and the other back and forth    11   to be the dueling motions for summary judgment
12   and the transcript of Mr. Almagarby's deposition.   12   and some additional exhibits came through. I
13   And then I would have gone back to -- I might       13   indicated them in the materials that I -- that
14   have looked at the materials I prepared for         14   were sent over yesterday that I -- I saw the
15   IronRidge. But I would have refreshed my            15   other materials that came in and glanced at them,
16   recollection with the standard treatises and --     16   but they were not my focus in preparing my
17   but primarily those -- the complaint and the        17   submission.
18   record as it was provided to me back when I         18           Does that make sense?
19   received it sometime in the late summer.            19   BY MR. GORDON:
20   Sometime in the summer.                             20       Q I'm still a little bit fuzzy. I mean
21       Q Okay. So what I'm trying to get a             21   the question is did you -- it's a pretty simple
22   handle on now is the factual information that you   22   question. Did you review any other materials of
23   reviewed as distinguished from -- let me            23   a factual nature besides the Interrogatory
24   finish -- as distinguished from the allegations     24   responses and Mr. Almagarby's deposition? Did
25   or the contentions.                                 25   you consider any other materials of a factual

                          34                                                       36

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 11 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   nature that you used to prepare your report?         1   initially provided.
 2           MR. KATZ: Objection.                         2            Does that make sense?
 3           THE WITNESS: I looked through                3        Q Well, you say your challenge is the
 4   exhibits that -- that came in in that second         4   the word "considered." That's the word you chose
 5   traunch of materials prior to the submission of      5   to use, correct?
 6   the report. So I was still preparing it in the       6        A Yes.
 7   sense of proofing it.                                7        Q So you also say that you were
 8   BY MR. GORDON:                                       8   concerned with reviewing the record as it was
 9      Q Okay. You -- you --                             9   provided to you. The word "record" means
10           Let's go ahead and mark this as an          10   different things to different people. What do
11   exhibit.                                            11   you mean when you say "the record"?
12           Before we mark this, you -- you             12        A The materials that precede -- I tried
13   acknowledge that you prepared and submitted to      13   to lay things out chronologically so you could
14   your attorney for production to the SEC a           14   see the materials I had and that really -- I
15   three-page document listing sources of facts or     15   prepared the report late in the summer, just
16   data?                                               16   before its submission. New materials came in. I
17      A Yes.                                           17   understood my task to be to focus on the
18      Q And I just -- I'm just going to read a         18   complaint and the allegations in the complaint.
19   sentence from this on Page 2.                       19   So -- and things as they stood there, which was
20      A Okay.                                          20   informed by the factual record that then had been
21      Q It says, "Before the submission of my          21   set out or provided. So those materials, that's
22   report, I became aware of the following             22   what I had.
23   additional sources of potential facts and data      23            Subsequent to it, those additional
24   which I understand are the subject of ongoing       24   materials came in. I did not see any -- I did
25   briefing and may become the subject of subsequent   25   glance through them. I did not see anything that
                          37                                                       39

 1   evaluation and testimony on my part; however, I      1   altered -- caused me to say, "Hey. Time out.
 2   did not consider them in developing the opinions     2   Stop." But I did not focus on them. So if I
 3   expressed in my report."                             3   misused the word "considered," you know -- I'm
 4           And then it goes on to list the --           4   laying this out in a rather expository way
 5   essentially the summary judgment filings and the     5   because I'm trying to give you a sense of what
 6   papers related to those.                             6   I -- the process.
 7       A Right.                                         7       Q Okay. Let's mark your report at this
 8       Q So when you said that you did not              8   point and move on. I'll return to some of the
 9   consider these documents in developing the           9   subjects we just covered later --
10   opinions expressed in your report, was that an      10       A Sure.
11   accurate statement?                                 11       Q -- but for now, we'll move on.
12       A Yes. And in this -- and in this               12            MR. GORDON: Let's mark the report
13   sense, my task was to review the complaint and      13   JB2.
14   its adequacy to allege -- to establish that         14            (Deposition Exhibit 2 was marked for
15   Mr. Almagarby was a dealer. So I was trying         15   identification and attached to the transcript.)
16   to -- whether correctly or incorrectly, I was       16            THE WITNESS: I'm sorry for being so
17   trying to focus on the record as it was             17   expository when I speak. I'm an old English lit
18   provided -- provided to me and what -- what the     18   guy. I used to get paid by the words. I guess I
19   complaint was focused on.                           19   still do. I should have asked to be taken off
20           I'm -- my challenge is this word            20   the record for that.
21   "considered." I -- I looked at but nothing          21   BY MR. GORDON:
22   really was altered in my review of the -- my        22       Q So you agree that the exhibit that
23   looking through those other materials. But I        23   we've just marked, JB2 that's been placed in
24   understood my task to be to focus on the            24   front of you, is a copy of your expert report in
25   materials associated with the complaint as it was   25   this case?
                          38                                                       40

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 12 of 52
                                                                                                James Burns
                                                                                                   11/14/2019

 1        A Yes.                                          1   its theory why the defendants each fall within
 2        Q Do you -- again, certain standard             2   the definition of dealer set forth in section
 3   questions that I need to ask. Do you have any        3   3(a)(5) of the Securities and Exchange Act of
 4   clarifications or corrections to your report as      4   1934 and, as such, are required to register as a
 5   you sit here today?                                  5   dealer under Section 15(b) of that act."
 6        A I -- no.                                      6            Is that an accurate statement of the
 7        Q And does the report contain all the           7   scope of your assignment?
 8   subject matter upon which you will express           8       A Yes.
 9   opinions at trial if you're permitted to testify?    9       Q Does that accurately state the full
10             MR. KATZ: Objection.                      10   extent of the scope of your assignment?
11             THE WITNESS: I don't know. If I'm         11       A Yes, I think so.
12   asked to report more broadly than this, I suppose   12       Q So let me ask you this. Apart from
13   I'll do it in accordance with whatever you guys     13   whether you believe that the SEC is deviating
14   negotiate. But so far, that's what I know I'm       14   from guidance and enforcement practice by
15   supposed to be doing. That's what I've been         15   alleging that the defendants are dealers, do you
16   retained to do so far.                              16   have an opinion that it would be incorrect, as a
17   BY MR. GORDON:                                      17   matter of statutory interpretation, to find that
18        Q So are there opinions or subject areas       18   the defendants are dealers under Section 3(a)(5)
19   about which you intend to express opinions that     19   of the Exchange Act?
20   are not covered in this report?                     20            MR. KATZ: Objection.
21             MR. KATZ: Objection.                      21            THE WITNESS: I think, as the report
22             THE WITNESS: I suppose it depends on      22   lays out, the definition of dealer has been left
23   if you ask me something that's outside the scope    23   to itself. It could apply a wide array of market
24   of this document. But otherwise, no.                24   participants, and that's exactly why it's been
25   BY MR. GORDON:                                      25   further interpreted through Commission releases

                          41                                                      43

 1      Q Okay. If you develop any opinions or            1   and otherwise. So can't be read just, you know,
 2   subject areas upon which you intend to express an    2   as a -- I think that's the whole reason we have
 3   opinion, will you agree to disclose those to me?     3   the guidance that has come out from the Agency
 4      A Sure.                                           4   because otherwise, the definition itself by
 5           MR. KATZ: Objection.                         5   itself is too stark. Could capture them, could
 6   BY MR. GORDON:                                       6   capture just about any market participant.
 7      Q Can you tell me how this expert                 7   BY MR. GORDON:
 8   engagement came about, how you came to get this      8       Q So is it your opinion that the
 9   assignment?                                          9   statute, Section -- statutory provision
10           MR. KATZ: I'm going to object to the        10   Section 3(a)(5) is broad enough to include
11   extent it could contain anything that would be      11   Mr. Almagarby as a dealer based on your
12   attorney-client protected.                          12   understanding of the facts?
13           THE WITNESS: Josh's partner Jim             13       A The -- the words on the page, without
14   Sallah called me and asked if I would be -- if I    14   further understanding and interpretation and
15   would consider taking the job on.                   15   gloss could do so.
16   BY MR. GORDON:                                      16       Q Okay. And is it your opinion that the
17      Q Okay.                                          17   guidance and enforcement practice of the SEC
18      A S-A-L-L-A-H.                                   18   changes the meaning of the statute?
19      Q And turn to Page 3 of your report.             19            MR. KATZ: Objection.
20   About in the middle of that first paragraph in      20            THE WITNESS: Well, a quick
21   the introduction it -- you state, "Specifically I   21   history le- -- I'm sorry. You don't want --
22   was asked to review and assess whether, based on    22   BY MR. GORDON:
23   my experience in private practice and with the      23       Q I don't want a quick history lesson.
24   SEC, the SEC is deviating from long-standing        24   I'd like you to answer the question.
25   guidance and enforcement practice by advancing      25            MR. KATZ: I'm going to object. You

                          42                                                      44

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 13 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   asked the question. He's going to answer the         1   complaint --
 2   question, and he should be allowed to answer the     2       A Yes.
 3   question.                                            3       Q -- was confined to allegations rather
 4   BY MR. GORDON:                                       4   than evidence?
 5      Q Okay. I mean we're going to be here             5            MR. KATZ: Objection.
 6   for, you know, until it gets dark if we can't        6   BY MR. GORDON:
 7   expedite this thing. You can answer the question     7       Q Is that fair?
 8   as you see fit.                                      8       A No. I would say it was -- it was
 9      A When the -- when the definition was             9   both -- the sufficiency -- the sufficiency of the
10   established in 1930, it clearly was addressed to    10   complaint paired against the -- certainly say the
11   market makers. When amendments were made -- with    11   deposition -- the deposition of Mr. Almagarby, so
12   an exception for Exchange members in 1975,          12   such facts as had been developed and I saw.
13   Exchange members were then included in the          13       Q By which you mean Mr. Almagarby's
14   definition. The definition of dealer                14   deposition transcript and responses to
15   notwithstanding, the stark words on the page have   15   Interrogatories?
16   always been focused on primarily and has really     16       A Yes, and whatever materials are in
17   been focused on market professionals.               17   that first -- on the first page of that document.
18           But -- I'm sorry -- to answer your          18       Q Well, what other materials -- factual
19   question, the words on the page would ensnare not   19   materials do you recall looking at beyond the
20   just Mr. Almagarby but others.                      20   Interrogatory responses and Mr. Almagarby's
21      Q What do you mean "ensnare"?                    21   transcript?
22      A Would touch upon. I'm sorry. I don't           22            MR. KATZ: Objection.
23   mean to use a loaded expression.                    23            THE WITNESS: This takes us back to
24      Q You're saying that the statutory               24   the end of things. My assignment was in respect
25   definition is -- by itself, is broad enough to      25   to the complaint and the factual record as it

                          45                                                       47

 1   include Mr. Almagarby and MEG as dealers?            1   existed then. Prior to the submission of the
 2       A Yes.                                           2   report but after I completed the substantive
 3       Q Now, you stated -- and correct me if I         3   preparation, more materials came in. In looking
 4   get this wrong. In answer to an earlier question     4   at those, I didn't see anything that changed my
 5   of mine, you stated that your focus was on the --    5   view.
 6   one of your focuses was on the allegations in the    6   BY MR. GORDON:
 7   complaint filed by SEC.                              7       Q Let's go to Page 5 of your report.
 8           Is that accurate?                            8   You have a Section 3 there in the middle of the
 9       A Yes.                                           9   page called "Scope of Review." Do you see that?
10       Q And was the principal or one of the           10       A Mm-hmm.
11   principal purposes of your expert engagement to     11       Q And the first sentence reads, "The
12   determine whether or not those allegations were     12   views set forth herein are based on my review of
13   sufficient to state a claim against Mr. Almagarby   13   the allegations in the complaint, consultation
14   as a dealer?                                        14   with defendants, deposition testimony by
15       A Yes.                                          15   Mr. Almagarby provided to the SEC during its
16       Q So that -- that part of your                  16   investigation, and such legal and regulatory
17   assignment, would it be fair to say, is             17   precedents as I have deemed relevant to this
18   completely independent of whatever facts may        18   matter. This report includes references to the
19   exist in the world, but rather, they're confined    19   specific documents and precedents I have relied
20   to the way the SEC pled the complaint?              20   on."
21           MR. KATZ: Objection.                        21           Is that statement in your expert
22           THE WITNESS: I'm not sure I really          22   report accurate?
23   understood that. Sorry to be obtuse.                23       A Yes, I think so. Yeah.
24   BY MR. GORDON:                                      24       Q Other than -- in terms of factual
25       Q Okay. So your analysis of the                 25   materials, other than consultation with the

                          46                                                       48

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 14 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   defendants and deposition by Mr. Almagarby, there    1   was "No. No one ever brought this up. No one
 2   are no other factual sources of information          2   ever brought that up."
 3   mentioned anywhere in your report, are there?        3       Q Okay. What else do you remember about
 4             MR. KATZ: Objection.                       4   that conversation? Essentially I'd like to ask
 5             THE WITNESS: I don't -- I don't -- I       5   you to tell me everything that you can remember
 6   don't believe so.                                    6   from the conversation as you sit here today.
 7             MR. GORDON: Let's go ahead and mark        7       A Sure.
 8   the sources of facts or data document that I read    8            Very little. I recall that he was
 9   from earlier as Exhibit JB3.                         9   in -- he was abroad. We had a very poor
10              (Deposition Exhibit 3 was marked for     10   connection. And I don't -- I don't even recall
11   identification and attached to the transcript.)     11   that I took contemporaneous notes. I didn't
12             MR. GORDON: Joshua, I apologize. I        12   create a memo to file. I think I just -- it was
13   only have two copies for this one. Do you mind      13   a little bit of an introduction. I think he was
14   sharing with the witness?                           14   also just trying to decide whether to -- you
15             MR. KATZ: That's no problem.              15   know, I was to be, you know -- I can imagine
16   BY MR. GORDON:                                      16   wanting to know who the person on whose behalf
17       Q Let me refer you to Page 2 -- first of        17   you're speaking.
18   all, is it correct -- can you identify this as --   18            I think I provided some background and
19   document as one that you prepared at the request    19   biographical information. I may have spoken
20   of your counsel recently and provided to your       20   about -- may have spoken about IronRidge and may
21   counsel for production to the SEC?                  21   have expressed concerns about the Agency bringing
22       A Yes.                                          22   actions in this area. And substantively, all I
23       Q And on the second page, at Item C, it         23   remember as I sit here right now, in terms of
24   lists that one of the sources of information that   24   what I asked or anything that was in my own mind
25   you relied on was a telephone conversation with     25   or giving me, you know, just something I wanted

                          49                                                       51

 1   Ibrahim Almagarby on August 19, 2019, correct?       1   to hear for myself, it was in the question of did
 2       A Yes.                                           2   any of the lawyers he ever worked with or any of
 3       Q Was that the only time that you spoke          3   the professionals he ever worked with suggest he
 4   to Mr. Almagarby?                                    4   should be registered as a dealer, and his answer
 5       A Yes.                                           5   to that was no.
 6       Q Can you tell me approximately how long         6       Q Did -- you said that you don't
 7   that conversation was?                               7   remember whether you took contemporaneous notes?
 8       A Half an hour, hour. Half an hour.              8       A I did not take contemporaneous notes.
 9       Q Okay. And what was the purpose of the          9   I might have scribbled something in the margin of
10   conversation?                                       10   a -- something that I didn't hold onto because it
11       A I think it was to just -- given the           11   didn't -- it was just -- it was as much as
12   deposition record, to see if I understood what      12   anything a passing -- passing conversation. It
13   was, you know -- that I was reading and hearing     13   was not a formal interview as such.
14   the words on the page, just if there -- if there    14       Q Did you make any notes or record of
15   was anything obscure about it.                      15   the call apart from contemporaneous notes? For
16           And there would have been one -- yeah,      16   example, after the call, did you create notes of
17   and I think there was at least one -- the one       17   the call?
18   substantive question I recall asking was -- you     18       A No, not to my recollection.
19   know, noting he had counsel for the 144(A), the     19       Q Was anybody else, to your knowledge,
20   144 opinions, whether in any of those               20   listening to the conversation that you had with
21   circumstances anyone had -- I think I observed it   21   Mr. Almagarby?
22   looks like "You were really trying to follow        22       A Someone from the Sallah firm would
23   rules here. You spoke to a variety of lawyers.      23   have been on the call.
24   Did anyone ever suggest that you should be          24       Q Okay. You don't recall which person?
25   registered as a broker-dealer?" and his answer      25       A Which person. I think it was Jim

                          50                                                       52

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 15 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   Sallah, but I'm not sure.                            1   facts based on the allegations in the complaint
 2      Q Okay. And when you spoke to                     2   and the deposition testimony of Mr. Almagarby and
 3   Mr. Almagarby, did you -- were you trying to --      3   the related exhibits."
 4   did you ask him questions to try to determine        4           First of all, have I read that
 5   whether or not he could be considered a dealer?      5   correctly?
 6   Did you ask probing questions on that subject?       6      A Yes.
 7      A No, no.                                         7      Q And is that an accurate statement, to
 8      Q Did you go through with him the                 8   the best of your knowledge?
 9   factors that you think are relevant to               9      A To the best of my knowledge.
10   determining whether or not one is a dealer with     10      Q Let's go to Page 14 of your report.
11   Mr. Almagarby?                                      11           MR. KATZ: Sorry, Counsel, 14?
12      A I don't recall having done that.               12           MR. GORDON: Yes.
13      Q Okay.                                          13   BY MR. GORDON:
14      A If there are notes that Mr. Sallah             14      Q Give me a moment. I have to find what
15   has, that may be the case, but I don't recall       15   I'm looking for.
16   having done that, no.                               16           If you look at the top of Page 14, you
17      Q Okay. Didn't you want to know whether          17   state, "I believe that the activities by the
18   or not he -- his activities would meet the          18   defendants pled in the complaint lack the indicia
19   definition of dealer before you took the            19   of dealer activity as set forth by the SEC and
20   assignment?                                         20   the SEC staff, and a full consideration of the
21           MR. KATZ: Objection.                        21   various factors articulated by the SEC supports
22           THE WITNESS: I had the -- I had             22   the conclusion that the defendants should be
23   the -- well, I think I had the record. I had --     23   considered traders."
24   which is why I asked the question about the --      24           Have I read that accurately?
25   you know, had any of the lawyers ever said          25      A Yes.
                          53                                                       55

 1   anything. No, I was -- I was looking to the          1       Q Again, your focus here is on the
 2   record. I wasn't trying to do any independent        2   activities that were pled in the complaint, the
 3   factual development other than that one              3   allegations in the complaint, correct?
 4   particular question I had for myself, which I        4       A That was the focus of the report, yes.
 5   don't think is necessarily outcome determinative     5       Q And then just to skip a sentence and
 6   of anything. I merely wanted to know.                6   the next sentence on Page 14, you say, "On its
 7   BY MR. GORDON:                                       7   face, the SEC's complaint, which simply outlines
 8      Q And when you say you were focused on            8   purchases of debt instruments and subsequent
 9   the record, you mean the record as you've            9   sales of equity securities by the defendants, I
10   described it in your report?                        10   believe is insufficient to establish that the
11      A Yes.                                           11   defendants were dealers under the Exchange Act."
12      Q And you can put Exhibit 3 aside for            12            Have I read that accurately?
13   now and go back to Exhibit 2, which is your         13       A Yes.
14   expert report.                                      14       Q And is that -- you stand by that
15      A Okay.                                          15   statement?
16      Q I just want to read a couple other             16       A Yes.
17   statements from the report and ask you some         17       Q Again, the focus there is on the
18   questions about them.                               18   sufficiency of the allegations of the complaint.
19      A Sure. What page?                               19   Fair enough?
20      Q Let's look at Page 6. Just give me a           20       A Yes.
21   moment. Sorry. I just need to find my place         21       Q And that was really the core of your
22   here.                                               22   assignment, correct?
23           Look at Page 8. Okay. The very first        23            MR. KATZ: Objection.
24   sentence there after the heading background says,   24            THE WITNESS: Yes. So far.
25   "This section sets forth my understanding of the    25   BY MR. GORDON:

                          54                                                       56

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 16 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1      Q So, Mr. Burns, were you aware that the          1   dismiss" stage, that defense counsel in this case
 2   defendants in this case filed a motion to dismiss    2   made legal and policy arguments very similar to
 3   in which they alleged that the allegations in the    3   the opinions that you express in your report?
 4   complaint were insufficient to establish that the    4            MR. KATZ: Objection.
 5   defendants were dealers?                             5            THE WITNESS: It wouldn't in the sense
 6      A I -- yes, I -- yes, I think so.                 6   that I think the materials would have been
 7      Q And did you -- did you read -- do you           7   very -- some of the underlying arguments would
 8   need a minute?                                       8   have been very similar to those in IronRidge. So
 9      A The motion to dismiss or motion to --           9   it wouldn't have surprised me in that sense. But
10   motion for summary judgment?                        10   I don't know.
11      Q A motion to dismiss.                           11   BY MR. GORDON:
12      A I'm not sure about -- about that               12       Q Okay. Did you -- I take it, then, you
13   particular one. I don't recall that one.            13   were not aware that Mr. Sallah and myself
14      Q Okay. So you're -- is your answer              14   participated in a hearing in front of Judge
15   that you weren't -- you are not sure whether you    15   Cooke, the judge assigned in this case, on --
16   knew that the defendants filed a motion to          16   regarding the defense motion to dismiss?
17   dismiss in this case?                               17            MR. KATZ: Objection.
18      A Right. What I am aware of is what I            18            THE WITNESS: No, I don't have any
19   have laid out in the documents. In terms of the     19   knowledge of it.
20   record, that's what I have --                       20   BY MR. GORDON:
21      Q Okay. So there's no reference                  21       Q Okay. At any time did you become
22   anywhere in your materials considered or in your    22   aware that Judge Cooke denied the defense's
23   expert report to a motion to dismiss by the         23   motion to dismiss?
24   defendants, is there?                               24       A Nope.
25      A No, I don't think so.                          25       Q So you're just learning about this for

                          57                                                       59

 1       Q And does that mean that you didn't             1   the first time -- assuming that I'm representing
 2   know about it or didn't review the motion?           2   it to you accurately, you're just learning about
 3       A I didn't -- well, I didn't -- not              3   it now for the first time?
 4   aware of it. It doesn't surprise me there is         4        A I just don't recall having heard it
 5   one. I don't recall having been asked to or          5   before. I don't think so. I haven't spoken with
 6   reviewing it.                                        6   Mr. Sallah very frequently.
 7       Q Do you -- do you know what a motion to         7        Q Okay. If you assume the accuracy of
 8   dismiss for failure to state a claim is,             8   what I'm representing, which is these are matters
 9   generally speaking?                                  9   of records, and I think that Mr. Katz won't
10       A Casting my mind way back. Sort of.            10   disagree, but if you take it on faith that the
11       Q And is it your understanding that it          11   defendants filed a motion to dismiss alleging
12   is a motion that alleges that the allegations in    12   that the complaint was insufficient on its face
13   the complaint are insufficient to establish a       13   to show that the defendants were dealers, it
14   claim on their face?                                14   appears to me that you're offering the legal
15       A That's what I would have thought.             15   opinion that's contrary to an issue that the
16       Q Okay. And that's essentially the              16   judge in the case already ruled on.
17   subject of your expert testimony, right?            17           MR. KATZ: Objection.
18           MR. KATZ: Objection.                        18   BY MR. GORDON:
19           THE WITNESS: It was addressed to the        19        Q Am I wrong about that?
20   complaint, so I don't know if it -- it's            20           MR. KATZ: Objection.
21   coterminous with this motion to dismiss.            21           THE WITNESS: I don't think I'm here
22   BY MR. GORDON:                                      22   to express a legal opinion. And if the scope of
23       Q Well, would it surprise you to know           23   what I'm asked to -- called upon to do
24   that in attempting to have the charges against      24   encompasses more than the complaint, I'm very
25   their clients dismissed at the "motion to           25   happy to, you know, broaden -- broaden the -- and

                          58                                                       60

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 17 of 52
                                                                                                James Burns
                                                                                                   11/14/2019

 1   I've seen nothing here forward that would change     1            THE WITNESS: Yes.
 2   my view to broaden this statement to encompass       2   BY MR. GORDON:
 3   the rest of what's in the record and things where    3       Q So do you think it would be
 4   they stand right now.                                4   appropriate to go in front of a jury and
 5   BY MR. GORDON:                                       5   basically tell them, basically, legal opinions
 6       Q So if Judge Cooke entertained a motion         6   about the sufficiency of the complaint that are
 7   that the complaint was insufficient on its face      7   contrary to the ruling that the judge already
 8   to establish that the defendants were dealers and    8   made in the case?
 9   she denied the motion, is it your view that she      9            MR. KATZ: Objection.
10   got it wrong?                                       10            THE WITNESS: Depending on what I'm
11           MR. KATZ: Objection.                        11   asked, I would offer that as an expert, I
12           THE WITNESS: Well, my view is that          12   don't -- in my expertise and experience and what
13   there are not -- the complaint's insufficient to    13   I have seen in markets, that it's inappropriate
14   establish the kind of case I think should be        14   to denominate Mr. Almagarby as a dealer.
15   brought.                                            15   BY MR. GORDON:
16   BY MR. GORDON:                                      16       Q Based on the allegations in the
17       Q Is that the defendants are dealers?           17   complaint, correct?
18       A That the defendants are dealers.              18            MR. KATZ: Objection.
19       Q Okay. So if the Court found the               19            THE WITNESS: Based on the allegations
20   contrary to the opinion you just expressed, it's    20   in the complaint and what I have since seen
21   your view that you're right and the Court is        21   doesn't dissuade me from that point of view.
22   wrong?                                              22   BY MR. GORDON:
23           MR. KATZ: Objection.                        23       Q Do you think it is permissible or
24           THE WITNESS: Based on what I have           24   appropriate expert testimony to -- for you to
25   seen and -- yes, in my -- in my expert view, not    25   tell the jury that the allegations in the

                          61                                                      63

 1   as a legal matter but as a matter of broader         1   complaint are insufficient --
 2   expertise. And I'm not saying I agree or             2           MR. KATZ: Objection.
 3   disagree as a legal matter. I'm just saying, in      3   BY MR. GORDON:
 4   terms of motion to dismiss, I'm just saying this     4       Q -- when that issue has already been
 5   does not look like dealer activity to me.            5   ruled on by the Court?
 6   BY MR. GORDON:                                       6           MR. KATZ: Objection.
 7       Q So as an expert witness, based on your         7           THE WITNESS: I'm afraid I don't know
 8   report, it's your intention -- it will be your       8   enough about the proprieties of that part of the
 9   intention to go before the jury and tell them        9   civil procedure. I would answer the questions
10   that the allegations in the complaint are           10   that are asked of me and try to answer them.
11   insufficient to establish that the defendants in    11   BY MR. GORDON:
12   this case were dealers, correct?                    12       Q As part of your expert assignment, did
13           MR. KATZ: Objection.                        13   you give any consideration to whether or not the
14           THE WITNESS: If that remains the            14   expert opinions that you propose to testify to
15   scope of the assignment. If it's broadened to       15   would be -- would be permissible or appropriate
16   encompass a broader part of the record, then it     16   under the law?
17   might be more encompassing than just the            17           MR. GORDON: I'm sorry. Would you
18   allegations in the complaint.                       18   read that back to me.
19   BY MR. GORDON:                                      19        (The record was read by the reporter.)
20       Q Okay. But I want to stick to the              20           MR. KATZ: Objection.
21   opinions that you have said that you intend to      21           THE WITNESS: I certainly considered
22   address and that are embodied in this report,       22   whether I had enough knowledge of the subject to
23   which you've already acknowledge relate to the      23   provide -- provide an opinion.
24   allegations in the complaint, true?                 24   BY MR. GORDON:
25           MR. KATZ: Objection.                        25       Q That was not my question.

                          62                                                      64

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 18 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1     A      I don't --                                  1   And under the "Scope of Review" section, I'm just
 2           MR. KATZ: I'm going to object.               2   going to read the third sentence that begins with
 3   There's no question pending. If you want to ask      3   the information.
 4   the question a different way, please.                4          Do you see that?
 5   BY MR. GORDON:                                       5       A Mm-hmm.
 6       Q Do you want to hear the question again         6       Q You write, "The information I reviewed
 7   and see whether you can give a responsive answer?    7   is consistent with that typically relied upon by
 8       A Please.                                        8   legal experts in an analysis of issues regarding
 9           MR. GORDON: Okay. Can you read it            9   registration as a dealer under the Exchange Act."
10   back again.                                         10          Have I read that correctly?
11        (The record was read by the reporter.)         11       A Yes.
12           MR. KATZ: Objection.                        12       Q You include the term here "legal
13           THE WITNESS: I didn't go through --         13   experts" here. Would it be accurate to say that
14   no, in the sense that I wasn't looking to           14   you are proposing to testify in this case as a
15   establish whether everything was -- what I was      15   legal expert?
16   being asked to do was following local court         16       A No. I've been asked to speak from my
17   procedures or expectations of the Court. I was      17   broad regulatory experience. It's hard to
18   merely focused on whether I could provide           18   divorce my legal expertise from that.
19   expertise in respect of a matter.                   19       Q But you do use the term "legal
20   BY MR. GORDON:                                      20   experts" in here.
21       Q Okay. And my question wasn't confined         21       A I say that's -- it's typical as
22   to the local rules. My question was --              22   compared to that used by legal experts, and I
23       A -- under federal rules --                     23   note the sentence that follows.
24       Q And under the law.                            24       Q The sentence that follows reads, "I
25       A Under the law.                                25   have also relied upon my experience as a
                          65                                                       67

 1      Q       And under the case law, correct?          1   practitioner who has, for many years, closely
 2            MR. KATZ: Is there a question? I'm          2   followed market practices and who routinely
 3   going to object again.                               3   evaluates regulatory questions that arise on the
 4            THE WITNESS: I guess my challenge was       4   part of broker-dealers and investment advisors to
 5   I wasn't looking to come in and provide legal        5   provide funds, as well as my experiences as a
 6   expertise. I was thinking of things in terms of      6   senior officer at the SEC."
 7   expertise, seeing participants in markets,           7           Have I read that correctly?
 8   although legal issues have been touched upon. It     8       A Yes.
 9   was really -- you know, I'm looking to counsel to    9       Q Are you saying here that you're not a
10   ensure that we're doing what we're supposed to do   10   legal expert?
11   in keeping with the law. But I wasn't aware         11           MR. KATZ: Objection.
12   of -- I did not give consideration to whether --    12           THE WITNESS: I'm certainly that. The
13   I did not give the consideration you asked me       13   capacity in which I've been retained --
14   about.                                              14           Josh, I look to you. I think talking
15   BY MR. GORDON:                                      15   to market practice here as much as I may be to
16        Q Okay.                                        16   the legal issues underlying the matter.
17        A I don't recall having done that.             17   BY MR. GORDON:
18            MR. KATZ: Robert, if we're getting to      18       Q As a lawyer, you advise clients on --
19   some sort of stopping point --                      19       A Routinely.
20            MR. GORDON: Why don't we take a            20       Q Let me finish.
21   five-minute break.                                  21           As a lawyer, you advise clients on
22             (A brief recess was taken.)               22   market practice and counsel them based on your
23   BY MR. GORDON:                                      23   experience as a securities lawyer, right?
24        Q Mr. Burns, we are back on the record.        24       A Yes, routinely.
25   I'll ask you to turn to Page 5 of your report.      25       Q So when you -- when you use "legal

                          66                                                       68

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 19 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   experts" in the context of this report, are you      1   have been in that regard.
 2   referring to experienced, knowledgeable,             2   BY MR. GORDON:
 3   securities lawyers, or do you mean something         3       Q I understand that there are
 4   different?                                           4   differences in experience and careers. But in
 5       A In there I certainly mean that, yes.           5   terms of the arguments you make about the
 6       Q Okay. You don't necessarily mean               6   sufficiency of the complaint, the meaning of the
 7   legal experts in the sense of people who have        7   guidance and so forth, those are all arguments
 8   been qualified as experts in court, do you?          8   that they could make if they wanted to, correct?
 9       A No. I don't think I had that in mind           9           MR. KATZ: Objection.
10   in writing that.                                    10           THE WITNESS: Yes.
11       Q In fact, are you aware of anyone who's        11   BY MR. GORDON:
12   been qualified as an expert in court to opine on    12       Q Now, you -- let me mark another
13   issues regarding registration as a dealer under     13   exhibit. Let's mark this one JB4.
14   the Exchange Act?                                   14            (Deposition Exhibit 4 was marked for
15       A I'm not aware one way or the other.           15   identification and attached to the transcript.)
16       Q And would you agree with me that              16   BY MR. GORDON:
17   interpreting the federal securities statutes,       17       Q Let me see if I have another one of
18   federal court decisions interpreting them,          18   these.
19   Commission decisions interpreting them, and         19           Mr. Burns, JB4 is a copy of your
20   releases and guidance produced by the Commission    20   expert report in the matter of Ironridge Global
21   are all things that securities lawyers do?          21   Partners, LLC, and Ironridge Global IV, Limited,
22       A Yes.                                          22   Administrative Proceeding File Number 3-16649
23       Q And you are a securities lawyer,              23   before the Securities and Exchange Commission,
24   correct?                                            24   correct?
25       A Yes.                                          25       A Yes.
                          69                                                       71

 1       Q So in determining the meaning of the           1       Q Now, do you recall that in the
 2   relevant statutes, the Court decisions, the          2   Ironridge matter, as I will refer to it, that the
 3   Commission decisions and Commission releases, do     3   SEC charged Ironridge Global Partners and its
 4   you have some special methodology or techniques      4   parent Ironridge Global IV with being
 5   that somehow stands apart from what other            5   unregistered dealers in violation of Exchange Act
 6   securities lawyers do?                               6   Section 15(a)?
 7       A Only in the sense of interactions              7       A Yes.
 8   certainly when I was at the Agency with a broad      8       Q And do you recall that IronRidge's
 9   array of market participants. So most securities     9   business model was to acquire claims against the
10   lawyers don't have that experience from within      10   issuers through the assignment of debt owed by
11   the Agency, whether just having conversations       11   the issuers, then settling the claims through the
12   about policy issues and the like. But otherwise,    12   obtainment of discounted shares from the issuers
13   no. Mine would be like other securities             13   for which a fairness opinion was obtained from a
14   practitioners.                                      14   Court and then selling the shares into the
15       Q Okay. Is there anything contained in          15   market?
16   your report or in your opinions that the            16           Is that an accurate general
17   attorneys in this case would not be able to argue   17   description of the case?
18   in their arguments and briefings in this case, to   18       A That's what I recall.
19   your understanding?                                 19       Q Okay. And do you recall that
20           MR. KATZ: Objection.                        20   Ironridge used the exception to registration
21           THE WITNESS: Only insofar as my             21   contained in Section 3(a)(10) of the Securities
22   experience might be informed differently than       22   Act for obtaining shares in settlement of a bona
23   theirs because of my experiences in the Agency      23   fide claim?
24   and my interactions. But I can't speak to the       24       A That's -- yeah, 3(a)(10) exchanges,
25   lawyers in the case, what their own interactions    25   yes.

                          70                                                       72

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 20 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1        Q And in your report that we've just            1       A Generally I would have thought so. Of
 2   marked, you opined that Ironridge was not a          2   course, they differ for the reasons you've
 3   dealer and, therefore, had not violated Exchange     3   described.
 4   Act Section 15(a), correct?                          4       Q But there's a great deal of overlap,
 5        A I recall that's what I wrote.                 5   correct?
 6        Q Okay. And in this report, you also            6       A Yes.
 7   opined on certain policy considerations that you     7       Q And would it be accurate to say that
 8   thought were relevant in determining whether or      8   you used the same methodologies or techniques to
 9   not the respondents in the Ironridge case were       9   formulate your opinion in the Ironridge report
10   dealers, correct?                                   10   and in the report in this case?
11        A I -- flip forward, but that sounds           11       A I -- what I can't recall is how much
12   like what I would have done, yes. Yes.              12   of this was based on -- sorry, how much of
13        Q Yes?                                         13   Ironridge was based on transcript reviews and, of
14        A Yes.                                         14   course, ensuing experiences and observations in
15        Q So unlike Ironridge, Microcap Equity         15   the market. But generally I would have said yes.
16   Group relied on a Rule 144 exemption as opposed     16       Q Can you think of any methodologies or
17   to Section 3(a)(10) of the Securities Act to        17   techniques that you employed in the instant case,
18   obtain so-called free-trading shares; is that       18   meaning the Microcap Equity Group case, that you
19   correct?                                            19   didn't employ in the Ironridge case? When I talk
20        A That's what I understand.                    20   about methodologies or techniques, I'm referring
21        Q Okay. And by "free-trading shares,"          21   to a higher level of analysis. Was it the same
22   you understand me to be referring to shares that    22   kind of approach?
23   were unrestricted and could be sold without         23       A It would have been a very similar
24   filing a registration statement?                    24   approach.
25        A Yes.                                         25       Q Okay. You can put the report aside.
                          73                                                       75

 1       Q Now, I'm not trying to insinuate               1           Do you recall that Judge Elliott, the
 2   anything here or suggest that there's anything       2   administrative law judge in the Ironridge case,
 3   improper, but would you agree with me that there     3   found that your report was a legal opinion and
 4   are some similarities in the format of your          4   stated it in order that he would not rely on your
 5   respective reports in the Ironridge matter and in    5   report and prohibited the respondents from
 6   the instant case?                                    6   calling you as a witness?
 7       A Yes.                                           7           Do you recall that?
 8       Q And there are some similarities in the         8      A I don't recall the specifics. I
 9   opinions you expressed and the basis for those       9   recall Hess from the matter calling and saying it
10   opinions, true?                                     10   wasn't going to be used.
11       A Yes. The best I can recall, yes.              11      Q Okay. That's generally consistent
12       Q Again, I'm not suggesting there's             12   with what I just asked you, right?
13   anything wrong with this, but it is true, is it     13      A Yes. I agree.
14   not, that there's a fair amount of language that    14      Q Did you ever have an opportunity to
15   is common to both reports?                          15   review Judge Elliott's order finding that your
16       A Oh, yes. Yes.                                 16   report was a legal opinion and stating that he
17       Q And would it be fair to say that --           17   would not rely on it and prohibiting you from
18   again, not suggesting anything improper, but it     18   being called as a witness?
19   would be fair to say that to some degree, your      19      A Not that I recall.
20   Ironridge report served as sort of a template for   20      Q Okay. But you're not disputing that
21   your report in this case?                           21   those things happened?
22       A It absolutely would have, yes.                22      A I'm not disputing it, no. Absolutely
23       Q And would it be fair to say that you          23   not.
24   employed the same kinds of legal and policy         24      Q So in view of what transpired in
25   analysis in the two reports?                        25   Ironridge with regard to your report and your
                          74                                                       76

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 21 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   proffered testimony, did you consider making any     1   don't know that I didn't.
 2   changes to your report in this case that might       2       Q Okay. Did you disclose that to
 3   increase the chances of your being qualified as      3   Mr. Almagarby when you had a telephone
 4   an expert and being allowed to testify?              4   conversation with him?
 5           MR. KATZ: Objection.                         5       A I don't -- no, I don't recall
 6           THE WITNESS: Not that I -- no, not           6   discussing that with him.
 7   that I recall.                                       7       Q Okay. Do you think that would have
 8   BY MR. GORDON:                                       8   been important to him?
 9       Q And why not?                                   9          MR. KATZ: Objection.
10           MR. KATZ: Objection.                        10          THE WITNESS: It might have been. He
11           THE WITNESS: Well, I was focused on         11   was represented by counsel. I was being retained
12   reviewing the facts and seeing whether I thought    12   to serve as an expert. And I would have said I
13   Mr. Almagarby should be regarded as a dealer or     13   don't know the court in which the original issue
14   not. And I didn't see anything in the record        14   you're describing arose, but different courts can
15   that persuaded me he should.                        15   take different views and decide that they're
16   BY MR. GORDON:                                      16   going to use the views of an expert -- they're
17       Q So would it be fair to say that you           17   going to decide they are probative or that they
18   are more or less indifferent to whether or not      18   are going to want to use them.
19   your opinions were admitted and that you were       19          So just because it happened in one
20   allowed to testify in this case?                    20   instance doesn't necessarily mean it will happen
21       A Indifference, I wouldn't have used the        21   in another.
22   word "indifferent." I was asked to take on an       22   BY MR. GORDON:
23   assignment, and I took on the assignment, and I     23       Q Did you do any sort of inquiry to
24   gave notwithstanding language that's similar        24   determine whether or not this was likely to be
25   between the two reports. I thought the              25   the case?
                          77                                                       79

 1   underlying facts bore out.                           1       A No.
 2       Q Okay. Your hourly rate in this case            2       Q Did you discuss with anyone at your
 3   was $1,350 per hour, correct?                        3   firm the issue of whether or not your opinions
 4       A I think so.                                    4   would be admissible in this case?
 5       Q That's what you --                             5       A I don't recall having done so, but I
 6       A Yeah.                                          6   certainly ran the engagement through our
 7       Q -- disclosed in your report.                   7   counsel's office -- our business approval office.
 8       A Sure.                                          8       Q Did that involve consideration or
 9       Q And so you didn't think that for that          9   discussion of whether your opinions would be
10   amount of money, that it was part of your           10   admissible?
11   responsibility to render opinions that would be     11       A I don't recall -- I don't recall any
12   admissible and write a report from which you        12   express discussions.
13   could be qualified as an expert in federal court?   13       Q And again, there's some basic
14           MR. KATZ: Objection.                        14   questions that I have to ask and I ask all expert
15           THE WITNESS: Well, I -- I was               15   witnesses, and I'm going to ask you these
16   retained to write a report, and I -- given I        16   questions as well.
17   believe Mr. Sallah was referred to me by the firm   17          So first, are your opinions and
18   in the Kilpatrick firm, I, you know -- he would     18   conclusions as expressed in your report based on
19   have known that record.                             19   methods that have been generally accepted by
20   BY MR. GORDON:                                      20   others in your field?
21       Q Did you discuss with anyone in                21       A I think so, yes.
22   accepting this assignment the fact that you had     22       Q And what are those methods?
23   essentially -- your opinions had been essentially   23       A Reviewing fact and circumstances,
24   excluded in the Ironridge matter?                   24   being generally aware of statutes, regulations,
25       A I don't recall having done so, but I          25   no-action letters, market practice, and -- and

                          78                                                       80

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 22 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   taking actions informed by all of those things.      1        Q Either one.
 2        Q Those are the methods or the same             2        A I do recall it as being among the
 3   methods that practicing attorneys employ?            3   materials. It's not on the list. It was among
 4        A Yes, practicing attorneys would use           4   the materials. I -- I don't think I -- I don't
 5   those. Yes.                                          5   recall reviewing it in the preparation of this
 6        Q Beyond the methods and techniques that        6   report, and I have since looked at it. I'm sorry
 7   practicing attorneys employ, I'm talking about       7   it's not on the list. That's inadvertent. And
 8   methods and techniques, not particular background    8   I -- but I don't have a recollection of it -- of
 9   or experience, there wasn't anything -- there        9   its contents.
10   were no other methods or techniques that you        10        Q Okay. If -- I would just ask, if
11   applied to reach your conclusions.                  11   there are other materials beyond what you have
12           Would that be correct?                      12   disclosed in your addendum to your report that
13        A Methods or techniques, no. I suppose         13   you considered in preparing your report, I would
14   not, other than, once again, my -- you know, I      14   ask you to, please, submit an amended list of
15   was at the Agency. I observed rule-making. I        15   sources of facts and data.
16   heard from a lot of industry participants. I am     16        A I absolutely will. My apologies.
17   involved in a lot of things that I don't think      17        Q Do you know who Mr. Fusco is?
18   call upon legal expertise to observe how markets    18        A Only that he was mentioned as a
19   are developing.                                     19   potential finder in the -- as I recall, in the --
20        Q Okay. Let's look at your report              20   in the deposition.
21   again. I'll ask you to turn to Page 6, I think      21        Q When you say "a potential finder,"
22   it is. Hold that thought. I'm sorry. Page 8.        22   what do you mean by the word "potential"?
23   About a third of the way down the page, do you      23        A Mentioned -- as I recall, you asked
24   see the sentence beginning "Mr. Almagarby           24   Mr. Almagarby about various people with whom he
25   testified"?                                         25   interacted and Mr. -- and who seemed to be acting
                          81                                                       83

 1       A Right, yes.                                    1   as finders, who -- the line of question suggested
 2       Q Okay. Let me just read that sentence.          2   we were looking to see if they were finders, and
 3   It says, "Mr. Almagarby testified that he did not    3   he indicated they were finders.
 4   advertise or solicit debt holders for these          4       Q What's your recollection, sitting here
 5   transactions but rather that they were all           5   today, in terms of what Mr. Almagarby said
 6   referred to him by third parties."                   6   Mr. Fusco's role was and what his relationship
 7            Have I read that accurately?                7   with him was?
 8       A Yes.                                           8       A I'm remembering he had a head for
 9       Q And would you agree with me that               9   numbers in math, that he pored over potential --
10   advertising is one consideration in determining     10   looked at potential issuers for people who might
11   whether one is a dealer?                            11   be -- include potential investment opportunities
12       A Yes.                                          12   for him.
13       Q Okay.                                         13       Q And he essentially had a staff of
14       A One potential consideration, yes.             14   subcontractors who cold-called issuers and debt
15       Q Yes. Did you review the transcript of         15   holders in order to look for referrals to the
16   a Mr. Fusco that was from this case?                16   defendants in this case?
17       A I don't think I read Fusco before the         17           MR. KATZ: Objection.
18   preparation of this report.                         18   BY MR. GORDON:
19       Q Did you read it after?                        19       Q Do you recall that?
20       A I may have. I'm sure I did. I just            20       A Mr. Fusco did?
21   don't have any recollection of it.                  21       Q I'm asking if that rings a bell. Do
22       Q I don't see it listed in the materials        22   you recall knowing that?
23   that you considered. Would you agree with me        23       A Yes. He had people who made calls and
24   that it's not in your list?                         24   asked, yes.
25       A In the pre- or the post-list?                 25       Q Okay.

                          82                                                       84

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 23 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1           MR. KATZ: I'm going to object.               1   other?
 2   BY MR. GORDON:                                       2            MR. KATZ: Objection.
 3       Q Do you remember anything about -- do           3            THE WITNESS: I'm sorry. I'm getting
 4   you know anything about the number of                4   a little -- my head's getting a little scrambled
 5   subcontractors that Mr. Fusco employed to try to     5   here. I don't recall in the -- in the transcript
 6   find referrals for the defendants in this case?      6   an instance where he personally was doing the
 7       A I don't recall, no.                            7   solicitation. And by the way, I'm sorry. I just
 8       Q Okay. Do you have any information              8   don't recall it. But I know -- I do recall
 9   about the number of calls that Mr. Fusco and his     9   clearly, you know, his not going out to issuer
10   subcontractors were making?                         10   conferences, his not advertising, his not
11       A I don't recall.                               11   establishing websites, the other indicia that I
12       Q Okay. What -- what do you recall              12   would have looked for.
13   about Mr. Almagarby and MEG having other finders    13   BY MR. GORDON:
14   beyond Mr. Fusco and his subcontractors, as you     14       Q But my question has to do with
15   sit here today?                                     15   solicitation of debt holders by Mr. Almagarby.
16       A That there were others.                       16   When you say you don't recall seeing that, when
17       Q Okay. Do you remember how many?               17   people say "don't recall," it could mean
18       A I don't. I remember a few names in            18   different things. It can mean No, that didn't
19   the transcript.                                     19   happen, or it could mean I just don't know.
20       Q Okay. Given what you know and what            20       A I just have to go back to the record
21   you knew about Mr. Fusco and his role as a finder   21   and look through it again.
22   for the defendants, would it have been important    22       Q As you sit here today, you don't know
23   for you to read the transcript of his testimony?    23   whether or not Mr. Almagarby personally solicited
24           MR. KATZ: I'm going to object.              24   debt holders?
25           THE WITNESS: I -- in looking at it,         25            MR. KATZ: Objection.
                          85                                                       87

 1   my recollection of looking at it subsequently is     1           THE WITNESS: I don't have a
 2   that it didn't change my view about                  2   recollection from reviewing the record.
 3   Mr. Almagarby's status as a dealer.                  3   BY MR. GORDON:
 4   BY MR. GORDON:                                       4      Q One way or the other?
 5      Q So let me clarify. So you read the              5      A Right, one way or the other.
 6   transcript before you prepared your report?          6      Q Okay. And if -- if hypothetically
 7            MR. KATZ: Objection.                        7   Mr. Almagarby did personally go out and solicit
 8            THE WITNESS: I -- I don't recall            8   debt holders, might that fact have some bearing,
 9   having read -- I'm sorry. I don't recall having      9   along with other factors, on whether he was a
10   read Mr. Fusco's materials prior -- considered      10   dealer?
11   them in the preparation of the report.              11      A Yes.
12   Looking -- I have looked at, glanced through,       12      Q Okay. Same question concerning
13   skimmed through Mr. Fusco's materials               13   issuers. Do you know one way or the other if
14   subsequently because I thought, you know, this is   14   Mr. Almagarby ever personally solicited issuers?
15   probably going to come in scope at some point.      15      A One way or the other, I don't know.
16   And nothing in there that I read or saw, as I sit   16      Q Okay. And if he did, might that have
17   here today, seems to me indicative of -- turns      17   some bearing, along with other factors, on
18   Mr. Almagarby into a dealer.                        18   whether he was a dealer?
19   BY MR. GORDON:                                      19           MR. KATZ: Objection.
20      Q Okay. Do you know if Mr. Almagarby             20           THE WITNESS: Yes.
21   ever personally solicited debt holders to           21   BY MR. GORDON:
22   purchase their debt?                                22      Q If Mr. Almagarby had understandings
23      A My recollection was no. I don't                23   with finders who he knew were contacting numerous
24   recall that or seeing that.                         24   issuers on a continual basis in order to find him
25      Q Okay. So do you know one way or the            25   referrals, might you consider him to be involved

                          86                                                       88

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 24 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   in the solicitation of issuers?                      1   BY MR. GORDON:
 2           MR. KATZ: Objection.                         2       Q If Mr. Almagarby and Microcap Equity
 3           THE WITNESS: My view is that that --         3   Group were providing advanced cash payments for
 4   that's a slippery slope that I wouldn't go down      4   the finders to run their office and pay their
 5   because there are other market participants who      5   subcontractors, would that be a factor that would
 6   use finders to look for business opportunities,      6   be relevant to an inquiry as to whether or not
 7   individual investors, hedge funds, family            7   Mr. Almagarby and MEG were involved in
 8   offices. So that, without a great deal more, no.     8   solicitation?
 9   BY MR. GORDON:                                       9           MR. KATZ: Objection.
10       Q Okay. But would you agree that it             10           THE WITNESS: I wouldn't have -- that
11   would depend on the facts and circumstances of      11   wouldn't have caught my eye in particular. But,
12   Mr. Almagarby's arrangement with the finders?       12   you know, I -- it would be, I suppose, one of
13           MR. KATZ: Objection.                        13   many facts you might look at. I think there
14           THE WITNESS: I wouldn't have -- I           14   is -- how people are -- upfront payments, and I
15   wouldn't have focused it around the finders. I      15   think here payments that weren't transaction or
16   would have said the broader set of general facts    16   success or profits dependent at the end, but just
17   and circumstances.                                  17   a fee also is, you know -- that's also -- that's
18   BY MR. GORDON:                                      18   also a fact and circumstance one would also want
19       Q Okay. But I'm asking about the                19   to consider. A whole host of things, as you say.
20   finders and solicitation now.                       20   BY MR. GORDON:
21       A Right.                                        21       Q Do you know how the various finders
22       Q So my question is, Would the facts and        22   that Mr. Almagarby -- that made referrals to
23   circumstances surrounding his arrangements with     23   Mr. Almagarby got connected with him in the first
24   these finders, might that have a bearing on         24   place? Do you have any knowledge of that?
25   whether or not you regarded him as being involved   25       A I don't recall seeing -- I don't
                          89                                                       91

 1   in solicitation of issuers?                          1   recall reading what -- what the transcripts had
 2            MR. KATZ: Objection.                        2   in respect of that. I'm sorry.
 3            THE WITNESS: It might.                      3       Q Okay. If -- again, hypothetically --
 4   BY MR. GORDON:                                       4       A I recall at least one instance I think
 5        Q Okay. Suppose, for example, that --           5   where it indicated people had reached out to him,
 6   hypothetically suppose these finders were            6   but I don't -- I don't recall if there were other
 7   employees of Microcap Equity Group. That would       7   instances where he was reaching out or how it
 8   make Microcap Equity Group and Mr. Almagarby         8   came about.
 9   involved in solicitation, would it not?              9       Q Okay. If you assume, for the purposes
10        A I think that would have -- that would        10   of my question, that Mr. Almagarby made it
11   make it look more like that was going on.           11   generally known to finders and potential finders
12        Q Okay. So if the finders were not             12   that he was interested in obtaining referrals and
13   employees but independent contractors, would you    13   would compensate them for referrals, might this
14   agree that there would have to be a                 14   be considered advertising in your view?
15   facts-and-circumstances analysis to understand      15           MR. KATZ: Objection.
16   the relationship in order to opine on whether or    16   BY MR. GORDON:
17   not the defendants were involved in solicitation?   17       Q Or would that be a factor in
18            MR. KATZ: Objection.                       18   determining whether or not this was advertising?
19            THE WITNESS: If a case is being            19           MR. KATZ: Objection.
20   brought, there would absolutely have to be a        20           THE WITNESS: I think -- well, I think
21   facts-and-circumstances consideration for the       21   the advertising has to do with advertising that
22   reasons I was describing before. I would have       22   one is, you know, in the business of buying and
23   thought there would be a lot of family offices,     23   selling securities on an otherwise continuous
24   hedge funds, others who would be very concerned     24   basis and really in the business of doing that as
25   if that's the way the law develops.                 25   opposed to -- I would distinguish that from an

                          90                                                       92

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 25 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   investor, an active investor of a hedge fund, a      1   break.
 2   family office who might let it be known in any of    2       A Whatever you gents like.
 3   a number of context that, hey, I've got money,       3           MR. GORDON: Is that okay with
 4   and I want to invest it, and here are the sectors    4   everyone? Let's go off the record, and why don't
 5   I'm interested in, here's the kind I want to         5   we come back at -- why don't we say 12:15.
 6   invest.                                              6            (A lunch recess was taken.)
 7           I don't think that turns them into           7   BY MR. GORDON:
 8   dealers. I think that's stretching the               8       Q We're back on the record. Do you have
 9   definition.                                          9   your report there in front of you?
10   BY MR. GORDON:                                      10       A Yes.
11       Q Okay. So it's your view that if               11       Q So on Page 10, I guess go to the first
12   Mr. Almagarby made it generally known to finders    12   full sentence that starts on that page that says
13   and potential finders that he was willing to        13   "Taken together."
14   accept referrals and do these deals that involved   14       A "Taken literally"?
15   buying and selling securities, that that would be   15       Q "Taken together."
16   irrelevant to whether or not he was advertising?    16       A Oh, I beg your pardon. "Taken
17           MR. KATZ: Objection.                        17   together," yes.
18           THE WITNESS: No, I wouldn't have said       18       Q I'll just read it. "Taken together,
19   it was irrelevant.                                  19   the key factors determining whether a person is a
20   BY MR. GORDON:                                      20   dealer are whether the person trades for his or
21       Q Would it have some bearing on whether         21   her own account and whether he or she does so as
22   or not --                                           22   part of a regular business."
23       A Yes, it would have some bearing --            23           Have I read that correctly?
24   could have some bearing.                            24       A Yes.
25       Q Is it -- is it -- do you believe that         25       Q And do you agree with that statement?
                          93                                                       95

 1   it would have some bearing -- if he engaged in       1       A Yes.
 2   this practice that I described hypothetically,       2       Q Then on the same page, the very last
 3   might that have some bearing on whether or not he    3   sentence that starts on the second line up from
 4   was deemed to be holding himself out as willing      4   the bottom, "Persons excluded." Do you see that?
 5   to purchase convertible debt?                        5       A Yes.
 6           MR. KATZ: Objection.                         6       Q I'll just read that one. "Persons
 7           THE WITNESS: It -- right. It                 7   excluded from the definition of dealer by Section
 8   would -- it would certainly have some bearing on     8   3(a)(5)(b) are often referred to as traders, and
 9   that, but it wouldn't be dispositive or              9   as the SEC has noted, a trader does not have to
10   determinative.                                      10   register as a broker-dealer." On Page 11 --
11   BY MR. GORDON:                                      11   okay. The very next sentence reads, "It has been
12       Q Because it's a facts-and-circumstances        12   noted 'this approach is necessary to distinguish
13   test, correct?                                      13   dealers from investors who buy and sell security
14       A Yes. And in my experience, my just            14   for investment purposes but sometimes hold the
15   broad professional experience, I really do think    15   position for only a short time.' The distinction
16   of advertising as sort of almost like the shingle   16   between active trader and dealer can be very
17   theory of being in the business of being a broker   17   fine."
18   or a dealer. That is someone who really is out      18           Have I read that correctly?
19   there turning the lights on every morning and       19       A Yes.
20   buying or selling essentially the same book of      20       Q And that is -- the quote that I read
21   securities day in and day out.                      21   there is from the Colby's treatise, correct?
22       Q We're doing pretty well in terms of           22       A Yes.
23   moving along. It's not going to be a problem to     23       Q And I take it that you quoted from the
24   finish well before the hard stop I would say. I     24   Colby treatise because you believe it to be an
25   would propose that maybe we can take a 45-minute    25   authoritative source?

                          94                                                       96

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 26 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1       A Yeah, I think it's a good source, as           1   purchased stock at deep discounts performed
 2   authoritative as you'll allow for a treatise.        2   little or no due diligence on the investment
 3   You know what I mean.                                3   quality of the stock that they were buying and
 4       Q Understood. But to you --                      4   then selling quickly, would that be a factor that
 5       A Yeah, it's -- yes. It's good stuff.            5   would cut against a finding that the buyer and
 6       Q So in that sentence, it uses the term          6   seller was transacting for investment purposes?
 7   "investment purposes", and again let me just read    7            MR. KATZ: Objection.
 8   the sentence to give you the context. "It has        8            THE WITNESS: It could. Again, a
 9   been noted that 'this approach is necessary to       9   high-frequency trader won't necessarily. So
10   distinguish dealers from investors who buy and      10   there are different categories. But yes, it
11   sell securities for investment purposes.'" And      11   could.
12   then it goes on.                                    12   BY MR. GORDON:
13           So I want to explore for a moment your      13        Q Okay. And have you formed any
14   understanding of the term "investment purpose" or   14   conclusions based on your knowledge of the facts
15   "investment purposes." So I guess my first          15   in this case about whether the defendants in this
16   question is, if a purchaser obtains stock at deep   16   case bought and sold securities for investment
17   discounts with the intention to sell it into the    17   purposes?
18   market as quickly as possible, might this be a      18        A He spoke about -- Mr. Almagarby spoke
19   factor having any bearing on whether the purchase   19   about trying to move in and out of the market
20   and sales were done for investment purposes?        20   quickly. But I also, you know, am -- I'm sorry.
21       A Yes.                                          21   Say the question one more time.
22       Q And that would cut against the                22            MR. GORDON: You can read it back.
23   investment purposes test, correct?                  23         (The record was read by the reporter.)
24       A It could. I'd have to understand the          24            THE WITNESS: I -- I haven't formed an
25   thesis behind what the person is doing.             25   opinion about whether they bought and sold for
                          97                                                       99

 1   High-frequency trader, of course, wouldn't really    1   investment purposes. His testimony suggested he
 2   have an investment purpose.                          2   wanted to get in and out of the market quickly,
 3        Q So let's say a purchaser of stock at a        3   but I'm -- you know, I haven't plumbed the depths
 4   deep discount was willing to sell quickly            4   of that.
 5   regardless of whether the shares appreciated or      5   BY MR. GORDON:
 6   depreciated and could profit either way because      6       Q And the statement that you are
 7   of the discount, would that be a factor that         7   testifying about that Mr. Almagarby made about
 8   might cut against the purchase and sales being       8   wanting to get in and out quickly, that would
 9   done for investment purposes?                        9   tend to suggest that he did not have investment
10        A I'm sorry. I'm trying to parse that.         10   purpose in your view?
11   I could see someone trying to negotiate a           11       A Just that he wanted to liquidate the
12   discount in obtaining a note for a host of          12   position quickly. I mean, when I think of for
13   attendant reasons and then sell on into a market.   13   investment purposes, he might have wished to
14   One consideration, of course, would be, you know,   14   liquidate quickly so that he could have the
15   trying to insulate against market movements,        15   wherewithal to go into his next investment and
16   market movements against him.                       16   his next investment and his next investment.
17        Q Understood. I understand your                17            So in a broad sense, there's an
18   concern. So let me ask the question this way.       18   investment purpose. I could -- of course, one
19   If -- if the trader was relying primarily on the    19   could distinguish that from someone who's been
20   discount and could profit regardless of which way   20   doing fundamental research on a security in order
21   the shares moved, would that have -- would that     21   to try to figure out whether to make that
22   cut against a finding that the buyer and seller     22   investment.
23   of securities had an investment purpose?            23       Q You're not saying that if someone buys
24        A It absolutely could.                         24   and sells quickly in order to profit on the
25        Q Let's say an individual or an entity         25   discount and then uses that money for something

                          98                                                      100

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 27 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   else that that's investment purpose as Colby is      1       Q Mr. Almagarby held his stocks for a
 2   using the term, are you?                             2   short period of time, correct?
 3       A Well, Colby didn't really -- I don't           3       A I -- I think that was the case
 4   know of any -- anything in what Mr. Colby is         4   sometimes, other times not. It depends on your
 5   saying -- who's terrific. I can't -- I can't         5   definition of a long or short period of time.
 6   define precisely what he means by the words          6       Q Okay. Did you see the -- did you have
 7   "investment purposes." But for my own purposes,      7   an opportunity to look at the spreadsheets that
 8   it can mean something broader than fundamental       8   were submitted in connection with the declaration
 9   research.                                            9   in support of the SEC's motion of support that
10       Q Okay. But you -- you quoted Colby and         10   actually analyzed the amount of time that Mr.
11   therefore -- in your report and therefore presume   11   Almagarby held on to his shares?
12   that you agree with him that one cannot be          12           MR. KATZ: Objection.
13   considered to be a trader unless one has            13           THE WITNESS: Yes. Those fall into
14   investment purposes.                                14   that second category and I think are encompassed
15           MR. KATZ: Objection.                        15   by at least one or several of the DeWitt
16           THE WITNESS: No, I wouldn't say I           16   declarations.
17   agree with that. The way I phrase it, I said        17   BY MR. GORDON:
18   he's noted it. I'm quoting from him being --        18       Q So if you -- assuming that Mr.
19   trying to be thorough in citing him. That           19   DeWitt's spreadsheets regarding how quickly he
20   doesn't mean that that's a --                       20   turned over his shares are accurate, would you
21   BY MR. GORDON:                                      21   consider that to be short period of time?
22       Q Do you disagree with his conclusion           22           MR. KATZ: Objection.
23   about investment purposes?                          23           THE WITNESS: Not necessarily. A
24           MR. KATZ: Objection.                        24   high-frequency trader might get in and out of
25           THE WITNESS: I think it's a more            25   positions many, many times during a day. As I
                         101                                                      103

 1   complicated analysis than trying to read that        1   recall, and I have a very fuzzy recollection of
 2   phrase in isolation.                                 2   this, but some -- he pointed to percentages where
 3   BY MR. GORDON:                                       3   holdings -- he held on to the position for seven
 4       Q Okay. But you will acknowledge that            4   days, sometimes for 14, sometimes for 30. I
 5   there's one at least authoritative commentator       5   might be misremembering. But I think during
 6   who has written a treatise that you relied on        6   those periods of time, given that Mr. Almagarby
 7   that believes that in order to be deemed a           7   had exposure, he was exposed to investment risk.
 8   trader, you have to be buying and selling for        8           So in someone's universe that's --
 9   investment purposes. That's what he said, right?     9   high-frequency trader would say that's a position
10           MR. KATZ: Objection.                        10   being held for -- in and out in a day and many
11           THE WITNESS: Well, he -- we're              11   times during a day. A mutual fund might hold for
12   leaving out the phrase that follows, "but           12   years. Holding for a week or two weeks or three
13   sometimes holds the position for only a short       13   months -- it gets to the inherent ambiguity of
14   amount of time."                                    14   what we're talking about here.
15   BY MR. GORDON:                                      15   BY MR. GORDON:
16       Q Okay.                                         16       Q I think you've acknowledged that Mr.
17       A And in that -- to the extent he's             17   Almagarby testified that he wanted to get in and
18   modified it by the notion that it's -- an           18   out of the shares as quickly as he could, right?
19   investment, I can make a profit. An investment      19       A I think he -- that's one of the -- a
20   is something from which I make -- making a          20   line along those lines is what he said.
21   profit. I don't have to necessarily hold that       21       Q Assuming he said that, that would
22   for a long period of time.                          22   indicate that his intention, regardless of how
23       Q So Mr. Almagarby --                           23   long he wound up holding the shares, his
24       A He also -- I'm so sorry. I shouldn't          24   intention was to move them into the market as
25   interrupt.                                          25   quickly as possible. Do you agree?

                         102                                                      104

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 28 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1      A It sounds as if that's what he said.            1   portion of his or her business directly with
 2      Q Do you have any facts or information            2   investors rather than with other dealers or
 3   that you can relate at this time that convinced      3   through exchange members, although there are
 4   you that Mr. Almagarby and MEG had investment        4   market makers who trade principally with other
 5   purpose in their purchase and sales of stocks?       5   professionals. A dealer ordinarily holds himself
 6      A What -- well, again, the DeWitt                 6   or herself out as one engaged in buying and
 7   declaration, given that it speaks to holdings --     7   selling securities at a regular place of
 8   his holding for 7 or 14 or 30 days meant there       8   business. The business (except when the dealer
 9   was exposure. Exposure meant investment risk.        9   participates in underwriting) is ordinarily
10   So, you know, there's investment -- I see an        10   characterized by a regular turnover, while a
11   investment purpose there, notwithstanding what      11   trader's transactions are generally more
12   he -- potential investment purpose,                 12   irregular in both volume and time. A trader, on
13   notwithstanding what he said at one point           13   the other hand, does not handle other people's
14   during -- in his transcript.                        14   money or securities, does not make a market, and
15      Q And how does -- if the -- Mr.                  15   does not furnish the services that are usually
16   Almagarby's deposition transcript reflected that    16   provided by a dealer, such as quoting the market,
17   he did little to no due diligence on the shares,    17   rendering incidental investment advice, extending
18   how would that affect your view of whether or not   18   or arranging for extension of credit and lending
19   he had investment purpose?                          19   securities to customers," and then there are
20           MR. KATZ: Objection.                        20   ellipses.
21           THE WITNESS: There are different            21           Have I read that accurately?
22   kinds of traders who -- who can invest again for    22       A Yes.
23   reasons that aren't fundamental to the security     23       Q What do the ellipses mean here?
24   they're purchasing or selling.                      24       A I don't recall. I don't know what --
25   BY MR. GORDON:                                      25   just don't know what follows.
                         105                                                      107

 1       Q Take a look at Page 11 of your report.         1       Q Do they -- does it -- when you use
 2   You've got a footnote on that page -- you have       2   ellipses, does it mean some text has been
 3   Footnote 18. I just want to read that into the       3   omitted?
 4   record and ask you some questions about it.          4       A Probably. Yes, usually that's what I
 5           This is -- the footnote in particular        5   would --
 6   I'm interested in the portion where you cite to      6       Q And did you -- let me ask you, did you
 7   the Louis Loss treatise, securities regulation.      7   write this report?
 8   Do you see what I'm referring to?                    8       A I did. I worked with a colleague.
 9       A Yes.                                           9   But yes.
10       Q Okay. And first of all, I take it             10       Q Okay. And did you -- did you decide
11   that you would acknowledge that the Loss treatise   11   which portion of the quote to include here and
12   is considered to be an authoritative treatise, if   12   which portion to replace with an ellipses?
13   not legal precedent, but as a treatise, it's        13       A I don't know whether he or I made the
14   considered authoritative?                           14   ultimate editorial decision.
15       A Yeah, it's a pretty standard hornbook.        15       Q Okay. But I presume regardless of
16       Q So -- and you -- I presume you quoted         16   whether you wrote this or edited it that you were
17   it here because you think it's reputable and        17   comfortable with the presentation of the material
18   reliable?                                           18   in this footnote?
19       A Yes.                                          19       A Yes, so far as I recall.
20       Q So let me just read the quote. "When          20       Q Okay. Let me mark another document.
21   does a person's trading activities make him or      21   I think we're up to number JB Number 5.
22   her a dealer? There is no ready distinction.        22            (Deposition Exhibit 5 was marked for
23   However, a dealer has characteristic attributes.    23   identification and attached to the transcript.)
24   He or she ordinarily tries to obtain a regular      24   BY MR. GORDON:
25   clientele and is apt to transact a substantial      25       Q I will represent to you -- do you have

                         106                                                      108

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 29 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   the document in front of you, Mr. Burns?             1   BY MR. GORDON:
 2      A Yes, I do.                                      2        Q So I take it then that you would agree
 3      Q I will represent to you that this is            3   with the statement in the Loss treatise that one
 4   an excerpt from the Loss treatise that includes      4   does not need to exhibit any of the factors
 5   the text that you quoted in your report, and         5   articulated in SEC guidance in order to be
 6   basically it's -- I'll represent for the record      6   legally considered a dealer?
 7   that it is -- if you go to the last sentence         7        A Well, I think one would have a hard
 8   where the ellipses appear in your quote, it          8   time asserting in court, unless one did have a
 9   reads, "Needless to say, a person does not have      9   certain number of dealer characteristics, being
10   to exhibit all or any given number of these         10   determined to be a dealer. I think of this as
11   dealer characteristics in order to be considered    11   again sort of a throwaway line. I don't know
12   a dealer."                                          12   that I would agree with "any given number." If
13            Have I read that correctly?                13   they were a single factor in isolation that
14      A Yes, you have.                                 14   someone was straining to turn someone into a
15      Q And then it has a Footnote 26 there            15   dealer, I don't -- I actually don't know that I
16   that cites to a handful of cases. Do you see?       16   agree with this language.
17      A Yes, I see that.                               17        Q So -- okay. So you disagree with the
18      Q Okay. So can you tell me why this              18   Loss treatise?
19   portion of the quotation from the Loss treatise     19        A No, I don't --
20   was omitted from your report?                       20            MR. KATZ: Objection.
21      A To the extent I have a supposition, it         21            THE WITNESS: -- disagree with the
22   would follow from the first phrase of that          22   Loss treatise. I don't think this line adds
23   sentence, which is that it says, "Needless to       23   anything of any substance, and I think it's a
24   say." It's a truism, and I should say I should      24   little dangerous to say that "any given number"
25   not have had ellipses. I should have had a          25   of -- to the extent that one could find a single

                         109                                                      111

 1   period. That was grammatically incorrect.            1   attribute of someone's behavior and turn them
 2      Q Well, isn't it -- don't you opine in            2   into a dealer, I think -- again, I think that's
 3   your report that one who buys and sells              3   dangerous and concerning.
 4   securities must exhibit various factors that have    4   BY MR. GORDON:
 5   been articulated in SEC guidance in order to be      5       Q Well, you've already written in your
 6   considered a dealer?                                 6   report that the main characteristics of a dealer
 7      A Yes.                                            7   is that they regularly engage in the business of
 8      Q So when Loss says, "Needless to say a           8   buying and selling securities, correct?
 9   person doesn't have to exhibit all or any given      9           MR. KATZ: Objection.
10   number of these dealer characteristics in order     10           THE WITNESS: If I wrote it, yes.
11   to be considered a dealer," isn't that -- doesn't   11   BY MR. GORDON:
12   that go against your opinion?                       12       Q Okay.
13           MR. KATZ: Objection.                        13       A Yes.
14           THE WITNESS: In fact, I have the            14       Q Now, the -- you see the cases in
15   deepest respect for him and for Commissioner        15   Footnote 26?
16   Paredes who wrote this. I think it ends up being    16       A Yes.
17   kind of a throwaway line. It doesn't really         17       Q Are you familiar with those cases?
18   carry any meaning.                                  18       A I am. Probably been a while since I
19           From that enumerated list in the            19   read them.
20   treatise or in the 2002 amendments or otherwise,    20       Q Okay. Can you tell me whether, for
21   one might look at a host of different factors in    21   example, in Eastside Church of Christ versus
22   making a determination whether someone's a dealer   22   National Plan, whether there was any finding
23   or not. It's part of I think -- I'll stop           23   there that someone was a dealer without any
24   opining why we're here today. Things are quite      24   finding that they met any of the factors in the
25   murky.                                              25   SEC guidance?
                         110                                                      112

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 30 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1           MR. KATZ: Objection.                         1            THE WITNESS: So I -- I looked at the
 2           THE WITNESS: I'm afraid I don't -- I         2   record. I looked at the complaint. I looked at
 3   won't recall particulars of any of these cases.      3   the factors that the SEC and I did sort of -- I
 4   BY MR. GORDON:                                       4   tried to do a common sense evaluation of whether
 5       Q Do you know if there is legal                  5   any of the factors would -- were met, such as
 6   authority out there that has found that              6   regular clientele, holding one's self out at a
 7   individuals or entities are dealers without any      7   regular place of business, regular turnover of
 8   of the -- without analyzing any of the factors       8   business, all the factors that I think people in
 9   set forth in any of the SEC guidance?                9   my position would be evaluating on behalf of a
10           MR. KATZ: Objection.                        10   client if I were advising them about whether or
11           THE WITNESS: I -- I don't know. I           11   not they needed to register.
12   know that people have wrestled with and the SEC     12   BY MR. GORDON:
13   has wrestled with these various factors for         13       Q But were you evaluating whether or not
14   years. I don't -- I just don't recall in respect    14   the SEC had sufficiently alleged these factors,
15   to these cases, and I'm sort of also trying to      15   or were you trying to determine whether -- what
16   shy away from legal -- legal analysis in that       16   the actual facts were behind the allegations?
17   sense.                                              17       A Well, I was looking at the allegations
18   BY MR. GORDON:                                      18   as laid out in the complaint and to the -- and in
19       Q Why are you trying to shy away from           19   reviewing the deposition whether I saw trip wires
20   legal analysis?                                     20   that made me feel that he was -- ought to be
21       A Just in the sense that, you know, each        21   characterized and charges brought against him as
22   of these cases, to the extent any of them might     22   a dealer.
23   be brought to bear on Mr. Almagarby's matters,      23       Q So, for example, you made no attempt
24   I'm sure counsel is going to go through and         24   to -- let's say on the advertising component, you
25   evaluate them and seek to distinguish them.         25   made no attempt to go to Mr. Almagarby and say,
                         113                                                      115

 1       Q Well, you're offering an opinion as to         1   "Wait a minute. Let me ask you this. What was
 2   whether or not there's sufficient allegations to     2   your relationship with these finders? How did
 3   find that Mr. Almagarby is a dealer, right?          3   they -- how do you interact with them? How do
 4       A Right, and I do that -- and I'm doing          4   they fund themselves? I need to determine
 5   that based on SEC -- the SEC's own words in that     5   whether or not you were engaged in solicitation."
 6   regard. It's great to talk about the treatises,      6           Did you do that sort of inquiry?
 7   but I think it's even more germane what the SEC      7           MR. KATZ: Objection.
 8   has had to say about the matter in the               8           THE WITNESS: I did not.
 9   Commission's own releases, such as the 2002          9   BY MR. GORDON:
10   release.                                            10       Q Okay.
11       Q When you say that you're doing that           11       A I did, however, have the statement of
12   based on the SEC's allegations --                   12   facts provided by the -- by Mr. Almagarby through
13       A Statements. The SEC statements.               13   counsel.
14       Q Are you saying that you yourself have         14       Q Which statement of facts are you
15   not conducted a searching analysis of all the       15   referring to?
16   factors that might or might not make the            16       A Well, statement of facts. What is
17   defendants dealers, such as investment intent,      17   the -- whatever it was. It was the -- perhaps
18   holding one's self out, advertising? You have       18   the affirmative defenses. I just have some
19   not conducted such a searching analysis in order    19   general -- or perhaps it was the --
20   to make a determination based on all the            20       Q You considered assertion of
21   available facts available to you, including Mr.     21   affirmative defenses to be a statement of facts?
22   Almagarby's availability to you, as to whether or   22       A No.
23   not Mr. Almagarby and his company acted as          23           MR. KATZ: Objection.
24   dealers?                                            24           THE WITNESS: I'm not -- I'm tripping
25           MR. KATZ: I'm going to object.              25   over my words here. At any rate, I didn't do any

                         114                                                      116

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 31 of 52
                                                                                                James Burns
                                                                                                   11/14/2019

 1   of my -- my point is I didn't do any of my own      1   standing up a sale to put it out into the -- into
 2   independent -- I didn't conduct factual -- fact     2   the market. An issuer can do it. Underwriters
 3   gathering on my own other than as I described       3   do it on their behalf from time to time. I
 4   early -- earlier in the day.                        4   usually think of it as a very structured way of
 5   BY MR. GORDON:                                      5   going about one's business. I'm not really a
 6       Q Okay. Let's go to Page 12 of your             6   corporate lawyer --
 7   report. Give me one moment.                         7       Q I'm not asking about the traditional
 8       A Sure.                                         8   definition of these things or what comes to mind
 9       Q Okay. Now, on Page 12 at the top, you         9   when you think of this term. I'm asking about
10   list various factors that, if present, according   10   your understanding of what the legal definition
11   to the SEC may indicate that an individual may     11   is. I haven't asked a question.
12   fall within the definition of a dealer, correct?   12           MR. KATZ: I didn't say the objection
13       A Yes.                                         13   yet.
14       Q And one of those factors listed there        14   BY MR. GORDON:
15   is underwriting, correct?                          15       Q My question is, if one is engaging in
16       A Yes.                                         16   obtaining shares directly from an issuer and
17       Q And there's guidance -- are you --           17   moving those shares into the market, that's
18   there is guidance out there from the SEC           18   considered a distribution, correct?
19   including who was a dealer publication on its      19           MR. KATZ: Objection.
20   website from Trading and Markets that says that    20           THE WITNESS: I would have to parse
21   one may be a dealer if one engages in              21   the language a lot more carefully. I want to say
22   underwriting.                                      22   the definition includes the word purchase, not
23       A That sounds right.                           23   obtaining. But -- that's the gist of how things
24       Q If you want, I can -- we can bring it        24   happen. I just don't know the words you're using
25   out and I can show it to you. But if you'll        25   is square with the definition.

                         117                                                     119

 1   accept that it says that, we can skip that.         1   BY MR. GORDON:
 2       A Great.                                        2      Q So you acknowledge then if one
 3       Q Okay. So the SEC has basically put            3   purchases shares directly from an issuer with
 4   out there on its website to the public that if      4   the -- and with the intention of moving them into
 5   you engage in underwriting, absent any other        5   the market and actually does so, that that's a
 6   factors, you may be a dealer, correct?              6   distribution?
 7       A Yes.                                          7            MR. KATZ: Objection.
 8       Q Okay. Underwriting, do you agree with         8            THE WITNESS: That's the way I
 9   me that underwriting means obtaining large          9   commonly -- commonly think of a distribution
10   volumes of shares from issuers and selling them    10   happening.
11   into the marketplace?                              11   BY MR. GORDON:
12            MR. KATZ: Objection.                      12      Q Okay. And in order to determine
13            THE WITNESS: I don't think that's the     13   whether --
14   definition. I don't have it in front of me. I      14      A Like by the lead underwriter and by
15   thought it was purchases from the issuer -- it's   15   the syndicate and something that's happening in
16   putting together a book. It's definitely not       16   people hanging out their shingle and that's what
17   this. It's what Morgan Stanley or any of a         17   they're doing and that's what they're about.
18   number of firms do sometimes successfully,         18      Q You don't have to hang out a shingle
19   sometimes not successfully. It's not this.         19   that says you're an underwriter in order to be
20   BY MR. GORDON:                                     20   considered an underwriter under the law, do you?
21       Q If one -- do you know what a                 21      A No. Certainly people can get -- fall
22   distribution is?                                   22   under the definition of a dealer for underwriting
23       A Yes.                                         23   activities.
24       Q What is a distribution to you?               24      Q Okay. Do you have a view as to
25       A Well, it's a -- a distribution is a --       25   whether or not Mr. Almagarby and MEG's obtaining

                         118                                                     120

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 32 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   of shares from issuers and moving them into the      1   we sit here.
 2   market was underwriting?                             2       Q So this -- hypothetically, if it
 3       A I think it was not.                            3   turned out that there was authoritative law that
 4       Q Okay. Why do you believe that?                 4   said the conversion of a note in exchange for
 5       A Because if it were the case for him,           5   shares constituted a purchase under the law,
 6   then anyone who has a convertible debenture could    6   would you then change your opinion in order to
 7   be described as a dealer.                            7   opine that Mr. Almagarby and MEG were engaged in
 8       Q Okay. Aside from what would follow             8   underwriting?
 9   from that holding and your -- I guess some sort      9            MR. KATZ: Objection.
10   of common sense view, why else do you believe --    10            THE WITNESS: I might. It would
11   based on the definition, why do you believe he      11   probably depend on the facts and circumstances
12   was not an underwriter?                             12   and how persuasive I -- I guess it would
13       A In the course of practice, I -- it            13   constitute a legal authority.
14   just doesn't -- I'm sorry. It just doesn't look     14   BY MR. GORDON:
15   like underwriting activity. It doesn't look like    15       Q So a lot of your opinion about whether
16   the way an issuance of IBM would happen. It         16   or not he was engaged in underwriting would then
17   doesn't look like the way a principal underwriter   17   turn on the legal definition of purchase which
18   would do what it's doing or a member of a           18   you don't have a full handle on right now,
19   syndicate would participate.                        19   correct?
20             It feels to me like a guy who             20            MR. KATZ: Objection.
21   negotiated a convertible debenture. It looks        21            THE WITNESS: It would -- it really
22   like -- it is a guy who negotiated a convertible    22   turns on two things. One, my common sense view
23   debenture. And when he put the note to the          23   of it in observing market practice and the
24   issuer, the issuer provided him the securities in   24   collateral consequences for a host of different
25   accordance with the terms of the debenture.         25   other market participants if the conversion of --

                         121                                                      123

 1       Q I mean I understand that MEG is not            1   if the tendering of a convertible debenture would
 2   Morgan Stanley or anything like that. What is it     2   turn the purchaser of that debenture into a
 3   about the definition of underwriter, aside from      3   dealer. That strains the definition of dealer
 4   what may come to mind when you think about           4   beyond all bounds to me.
 5   underwriter, what is it about the definition of      5   BY MR. GORDON:
 6   underwriter that makes you conclude that Mr.         6        Q But you're not asserting that your
 7   Almagarby and MEG were not underwriting?             7   common sense view of things takes precedent over
 8          MR. KATZ: Objection.                          8   legal authority in terms of what the law is, are
 9          THE WITNESS: Among other things,              9   you?
10   beyond the common sense, I don't know that you      10        A No.
11   would call this a purchase of the -- those shares   11        Q And is your conclusion that the SEC's
12   themselves as a debenture that was convertible      12   allegations in its complaints against the
13   for those purposes.                                 13   defendants are insufficient to show that they
14   BY MR. GORDON:                                      14   make out a claim that they are a dealer, is that
15       Q Is it your view that the conversion of        15   based on your common sense understanding of
16   a convertible note into shares is not -- does not   16   things as opposed to legal authority?
17   constitute a purchase under the law?                17        A I'd say it's sort of a combination of
18       A Certainly not in a common sense sort          18   the two because I think, you know -- depending on
19   of way. Certainly not in a way that an              19   precisely what the definition says, and forgive
20   individual investor would have thought of           20   me for not recalling, I would parse that very
21   himself.                                            21   carefully. It just doesn't -- it doesn't sound
22       Q Okay. How about in terms of any               22   like -- I'm just not familiar with this. This is
23   authority or definitions that exist out there in    23   thinking of this from a trading market context as
24   the law?                                            24   underwriting.
25       A I'm just not aware. I can't recall as         25        Q Are your opinions sort of grounded on

                         122                                                      124

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 33 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   what you think the law should be and what makes      1   facts and circumstances surrounding their
 2   sense, or is it based on the controlling legal       2   activities?
 3   authorities that are out there?                      3            MR. KATZ: Objection.
 4            MR. KATZ: Objection.                        4            THE WITNESS: No. Potentially I
 5            THE WITNESS: I would say -- it's --         5   suppose they could. Many have, in fact,
 6   it's certainly the latter over the former. If        6   registered a captive broker-dealer.
 7   you look at the history, as I'm sure you have,       7   BY MR. GORDON:
 8   the 34 Act definition of dealer. It's very clear     8      Q Okay. Same question for
 9   that it inures in -- in what was going on in the     9   high-frequency traders. Are there potential
10   OTC markets and market making as a traditional      10   facts and circumstances that could make a
11   matter and some exceptions that were made for       11   high-frequency trader be considered a dealer?
12   Exchange members at the very outset. And then in    12            MR. KATZ: Objection.
13   1975, drawing in additional categories of folks,    13            THE WITNESS: It could be.
14   all of whom -- all of whom are trading under --     14            MR. GORDON: Did you get that?
15   in very formal capacities as part of regular        15            THE WITNESS: Do I need to wait for
16   businesses with regular clientele, and it's         16   you to object -- I beg your pardon -- before I --
17   that -- it's that context that informs my view.     17            MR. KATZ: I'm trying to get it in as
18        Q And your understanding, is the length        18   fast as I can and after his question.
19   of the holding period of shares a relevant factor   19   BY MR. GORDON:
20   in determining whether or not one is engaged in     20      Q The same question for the other
21   underwriting?                                       21   specific term you mentioned here, private equity
22        A It can be. Again, I'm not -- I don't         22   funds. Is it your view that there could be facts
23   spend as much time in the corporate side of         23   and circumstances that exist that would result in
24   things. I do recall Mr. Almagarby got 144           24   a private equity fund being considered a dealer
25   opinions relating to his ability to -- the shares   25   under law?

                         125                                                      127

 1   were sufficiently aged to sell them.                 1           MR. KATZ: Objection.
 2       Q Okay. Do you know whether the volume           2           THE WITNESS: I think of -- and in
 3   of shares sold by someone in comparison with the     3   fact, for each of these, I'm more familiar with
 4   total volume of shares sold by other persons on a    4   the notion that they might register as
 5   given day or over a given time period is relevant    5   broker-dealers because in each instance they were
 6   to the inquiry as to whether or not one is           6   concerned with a much broader definition of
 7   engaged in underwriting?                             7   broker than they are that of being a dealer.
 8       A I think of that in a broad general             8   BY MR. GORDON:
 9   markets context when you're talking about penny      9      Q Okay. But my question has to do with
10   stocks, any kind of trading, given there is no      10   whether -- you answered it for hedge funds and
11   liquidity in these market, it's going to            11   high-frequency traders. But my question
12   constitute a significant amount of trading in any   12   specifically relates to whether you believe there
13   particular day.                                     13   could be facts and circumstances that would
14       Q On Page 14 of your report, you started        14   result in a private equity fund being a dealer.
15   with the first full paragraph. I'm just going to    15           MR. KATZ: Objection.
16   read the first two sentences. It states, "Mr.       16           THE WITNESS: There might be. I just
17   Almagarby established MEG to engage in securities   17   haven't run into circumstances where I thought
18   transactions and to make money doing so. Such is    18   that to be the case. In some circumstances, I
19   also the case for hedge funds, high frequently      19   have run into situations where I thought they
20   traders, private equity funds, and myriad other     20   might be brokers.
21   market participants that do not register as         21   BY MR. GORDON:
22   dealers."                                           22      Q But you're not --
23            So I just want to clarify something        23      A I'm not extinguishing the possibility
24   about this statement. Is it your view that hedge    24   that anyone could be deemed to be a dealer.
25   funds can never be dealers no matter what the       25      Q Okay. To be clear, it's not your --

                         126                                                      128

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 34 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   you are not of the opinion that there is a           1   involve yourself in litigation, correct?
 2   categorical exception from being a dealer for        2       A Preparation for litigation, yeah.
 3   hedge funds, high-frequency traders, or private      3       Q So you're familiar with the process by
 4   equity fund?                                         4   which a judge instructs a jury on the law before
 5       A Correct.                                       5   they go out to deliberate as part of your sort of
 6       Q And in fact, you have opined that you          6   general knowledge as a lawyer?
 7   think there could be circumstances under which       7       A General knowledge, yeah. Sure.
 8   any of those market participants might be            8       Q And would you agree with me that as a
 9   considered dealers if the right facts and            9   matter of general knowledge that the judge
10   circumstances were present?                         10   customarily tells the jury that its job is to
11       A If the right facts and circumstances          11   apply the law as set forth in the judge's
12   were present.                                       12   instructions to the jury, to the facts as they
13       Q Let's look at Page 15 of your report.         13   determine them in order to reach a verdict?
14   I want to go to the section entitled "Policy        14       A Yes.
15   considerations." In this section is it correct      15       Q Okay. Are you aware of any instance
16   that you state your opinions regarding policy       16   in which a judge instructed a jury not merely to
17   considerations relevant to any finding that the     17   apply the law as instructed to the facts but
18   defendants are dealers?                             18   further to consider the policy implications of
19       A Yes.                                          19   any verdict that it might reach?
20       Q And is it fair to say that other than         20          MR. KATZ: Objection.
21   sort of reasoning and using your training and       21          THE WITNESS: I'm not aware of any.
22   experience that there's not any particular or       22   BY MR. GORDON:
23   special methodology that you employ in discussing   23       Q Based on your understanding of legal
24   these policy considerations?                        24   procedure and your -- do you think such an
25           MR. KATZ: Objection.                        25   instruction by the Court would be appropriate?

                         129                                                      131

 1            THE WITNESS: I think, if I understand       1           MR. KATZ: Objection.
 2   the question, I'm applying my experience and my      2           THE WITNESS: I don't -- no, I -- no.
 3   views in the -- and all the analysis that's come     3   BY MR. GORDON:
 4   up to that point.                                    4       Q It would not be appropriate?
 5   BY MR. GORDON:                                       5       A It would not -- I don't know all the
 6        Q Would you agree those views                   6   ins and outs, but I wouldn't have expected a
 7   essentially come from knowing a great deal about     7   judge to ask such a thing.
 8   the field and thinking about or projecting how       8       Q Okay.
 9   participants in the securities industry might be     9       A However, if I may, I just don't know
10   affected from a finding that the defendants are     10   what the instruction would encompass. So to the
11   dealers?                                            11   extent -- I don't know. If there's a contention
12        A That sounds -- that sounds right.            12   that there's not sufficient notice of the
13        Q Okay. Now, you're not a litigator,           13   requirements, to the extent there's a suggestion
14   correct?                                            14   there might be administrative procedure, concerns
15        A No. I've been pulled into things from        15   in respect of a particular issue, due process,
16   time to time. No, that's not what I do.             16   you know, to the extent any of the policy issues
17        Q How much litigation work have you            17   that I have described here touch upon those,
18   done?                                               18   those things would be the appropriate way, I
19            MR. KATZ: Objection.                       19   think, to phrase them. Policy broadly I would
20            THE WITNESS: Preparation for               20   not have thought a judge would instruct a jury
21   litigation -- I have assisted people in             21   to.
22   preparation. Well -- does a Wells submission        22       Q So you are -- given that this report
23   count, or are we talking about --                   23   reflects your expert opinions that you formulated
24   BY MR. GORDON:                                      24   so far, I presume then that it would be your
25        Q Okay. But from time to time you              25   intention to go in front of a jury and testify

                         130                                                      132

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 35 of 52
                                                                                                 James Burns
                                                                                                    11/14/2019

 1   about what you believe the policy implications       1   Who drafted it?
 2   would be if they found that the defendants were      2      A He -- he would have had the first cut
 3   dealers in this case?                                3   at drafting it. We would have both reviewed
 4           MR. KATZ: Objection.                         4   materials. He would have had the first cut at
 5           THE WITNESS: I suppose it would              5   preparing it.
 6   depend on the question I was asked and whether I     6      Q Okay. And then you would have
 7   was permitted to answer the question. But if         7   reviewed and revised it?
 8   someone called on me to do it and the judge said     8      A Yes.
 9   yeah, please talk about that, I would. If I was      9      Q And did you revise it?
10   told not, I'd keep my focus on the other issues.    10      A Yes.
11   BY MR. GORDON:                                      11      Q And other than the two of you, are
12       Q Okay. Do you think that reciting              12   there any other legal professionals here who
13   these policy considerations to a jury would be      13   worked on this report or this expert engagement?
14   appropriate given your understanding of the way     14      A I don't believe so. I suggested he
15   judges instruct juries on the law and tell them     15   might speak with someone, but I don't think he
16   to follow the law?                                  16   ended up needing to.
17           MR. KATZ: Objection.                        17      Q Okay.
18           THE WITNESS: To the extent a judge          18      A I will correct that if that's wrong.
19   didn't object and thought it was probative. If      19      Q Can you tell me or estimate for me the
20   the judge instructed them not to consider it, it    20   number of hours that you and your colleague spent
21   would not -- then they should not consider it.      21   on this expert engagement so far?
22   BY MR. GORDON:                                      22      A I'm afraid I just don't recall. I can
23       Q Okay. Just some sort of housekeeping          23   go back and look at hours. I'm just not sure.
24   questions about -- that I need to ask you about     24      Q Can you give me a ballpark or a range,
25   how you prepared your report. You mentioned         25   any way to estimate it?
                         133                                                      135

 1   earlier that someone else assisted you --            1       A I don't know if it was in the nature
 2       A Yes.                                           2   of -- I can look at his time. I don't know --
 3       Q -- with this report?                           3   the nature of 20 to 30 hours, 10 to 20 hours. I
 4       A Yes.                                           4   just don't recall. I'm sorry. 30 to 40, I'm
 5       Q So who was that person?                        5   just not sure.
 6       A That was Brant Brown, a colleague of           6       Q That would be the two of you combined?
 7   mine here. B-R-A-N-T Brown.                          7       A I would have thought so. Just not
 8       Q Okay. And what is he, associate,               8   sure. I'm sorry.
 9   partner counsel?                                     9       Q Can you tell me or estimate for me --
10       A He's a counsel. He had -- would you           10       A By the way, excuse me. Was that --
11   like his -- rundown of his qualifications or no?    11   just in the preparation of the report and then,
12       Q No. Is he assigned to a particular            12   of course, getting ready for today. So I don't
13   section of the law firm?                            13   know what that would have added to the total.
14       A Within the asset management group,            14       Q Okay. Do you know what the total
15   he's another of the broker-dealer lawyers.          15   amount of fees accrued to date for this
16       Q And what was his role in preparing the        16   engagement is?
17   report?                                             17       A I'm afraid I don't. I'm afraid I
18       A Reviewing the same -- reviewing the           18   wouldn't be able to estimate. We would have sent
19   same record I reviewed and preparing the            19   a bill? Sorry.
20   materials using, you know, research -- you know,    20       Q I mean, do you know whether it's --
21   we had IronRidge. We had the record, and we had     21   the total amount accrued is more than $25,000?
22   whatever might have come along subsequent to that   22       A The amount billed might be around --
23   to just consider.                                   23   billed to date might have been around 20, and
24       Q Did one or the other of you prepare a         24   there's probably been a good bit since then. 20,
25   first draft of the report or parts of the report?   25   30. I'm not sure. I just don't recall. I'm

                         134                                                      136

                                     GRADILLAS COURT REPORTERS
                                            (424) 239-2800
Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 36 of 52
                                                                                                     James Burns
                                                                                                        11/14/2019

 1   sorry.                                               1          MR. GORDON: Those are all the
 2       Q You think the total amount accrued             2   questions I have. Thank you.
 3   might be in the neighborhood of $30,000?             3          MR. KATZ: Can we take a few minutes?
 4       A I think it's probably north of that by         4          (A brief recess was taken.)
 5   now. I'm not sure. I'll just have to look, if        5       EXAMINATION BY COUNSEL FOR THE DEFENDANTS
 6   you like.                                            6   BY MR. KATZ:
 7       Q Have you been paid anything yet?               7       Q I just wanted to add one thing. Among
 8       A I have.                                        8   the materials that you reviewed, and of course
 9       Q How much have you been paid?                   9   you have a list that's already there, did you
10       A That, I don't recall. Whatever bill I         10   review the SEC's responses to defendants' request
11   submitted late in the summer would have been --     11   for admission?
12   would have been paid.                               12       A Yes.
13       Q Okay. And who do you submit the bill          13          MR. KATZ: No further questions.
14   to?                                                 14   (Whereupon, the signature not having been waived,
15       A I think it went to -- I'm sorry. I            15   the deposition concluded at 1:26 p.m.)
16   don't remember that either. I don't know whether    16
17   it went via Mr. Sallah to Mr. Almagarby or it was   17
18   forwarded on directly to him.                       18
19       Q Okay.                                         19
20       A I can figure that out.                        20
21       Q Do you know how the bill gets paid,           21
22   like whether it's by check or wire?                 22
23       A My secretary handles that.                    23
24       Q Okay. Do you know -- understanding            24
25   that you don't remember whether you -- and you      25

                         137                                                         139

 1   correct me if I get this wrong. You don't            1             * * *
 2   remember whether you sent the bill to Mr. Katz's     2          ACKNOWLEDGMENT OF DEPONENT
 3   firm or to Mr. Almagarby directly; is that right?    3
 4   You're not sure?                                     4   I, James Burns, do hereby acknowledge I have read
 5       A I just don't recall.                           5   and examined the foregoing pages of testimony,
 6       Q Do you know who paid the fees that             6   and the same is a true, correct and complete
 7   have been paid so far?                               7   transcription of the testimony given by me, and
 8       A I don't.                                       8   any changes and/or corrections, if any, appear in
 9       Q Okay. Do you know whether -- for               9   the attached errata sheet signed by me.
10   example, do you know whether Mr. Almagarby is the   10
11   sole source of the payments of your fees that you   11
12   have received so far?                               12   _______ _____________________________________
13           MR. KATZ: Objection.                        13   Date   James Burns
14           THE WITNESS: I just -- I don't know,        14
15   I'm afraid.                                         15
16   BY MR. GORDON:                                      16
17       Q Do you have any knowledge one way or          17
18   the other about whether Mr. Almagarby obtained      18
19   money from family members to pay your fees?         19
20       A No, I don't know.                             20
21       Q Do you have any knowledge one way or          21
22   the other whether persons besides Mr. Almagarby     22
23   and his family are the source of some or all of     23
24   the funding to pay your fees?                       24
25       A I'm afraid I don't know.                      25

                         138                                                         140

                                      GRADILLAS COURT REPORTERS
                                             (424) 239-2800
 Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 37 of 52
                                                                             James Burns
                                                                                11/14/2019

 1   CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC
 2          I, Tammy S. Newton, the officer before
 3   whom the foregoing proceedings was taken, do
 4   hereby certify that the foregoing transcript is a
 5   true and correct record of the proceedings; that
 6   said proceedings were taken by me
 7   stenographically and thereafter reduced to
 8   typewriting under my supervision; and that I am
 9   neither counsel for, related to, nor employed by
10   any of the parties to this case and have no
11   interest, financial or otherwise, in its outcome.
12                 Dated: November 15, 2019
13   My commission expires:
14   7/31/2022
15
16               ____________________________
17               Notary Public in and for the
18               District of Columbia
19
20
21
22
23
24
25

                                 141

 1             ERRATA SHEET
 2 Deposition of: JAMES BURN
   Date taken: November 14, 2019
 3 Case: SEC vs. Ibrahim Almagarby, et al.
   PAGE LINE
 4 ____ ____ CHANGE: __________________________________
          REASON: __________________________________
 5
   ____ ____ CHANGE: __________________________________
 6        REASON: __________________________________
 7 ____ ____ CHANGE: __________________________________
          REASON: __________________________________
 8
   ____ ____ CHANGE: __________________________________
 9        REASON: __________________________________
10 ____ ____ CHANGE: __________________________________
          REASON: __________________________________
11
   ____ ____ CHANGE: __________________________________
12        REASON: __________________________________
13 ____ ____ CHANGE: __________________________________
          REASON: __________________________________
14
   ____ ____ CHANGE: __________________________________
15        REASON: __________________________________
16 ____ ____ CHANGE: __________________________________
          REASON: __________________________________
17
   ____ ____ CHANGE: __________________________________
18        REASON: __________________________________
19 ____ ____ CHANGE: __________________________________
          REASON: __________________________________
20
   ____ ____ CHANGE: __________________________________
21        REASON: __________________________________
22 ____ ____ CHANGE: __________________________________
          REASON: __________________________________
23
24
   Signed ________________________
25 Dated ________________________

                                 142

                                                 GRADILLAS COURT REPORTERS
                                                        (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 38 of 52
                                                                                                        James Burns
                                                                                                           11/14/2019
                                                                                                                      1

              A                advanced 91:3                    137:17 138:3,10,18,22        arrange 6:15
a.m 1:17 2:18                  advancing 42:25                  142:3                        arrangement 89:12
ability 125:25                 advertise 82:4                 Almagarby's 34:12 35:3,6       arrangements 89:23
able 70:17 136:18              advertising 82:10 87:10          35:22 36:24 47:13,20 86:3    arranging 107:18
abroad 51:9                      92:14,18,21,21 93:16           89:12 105:16 113:23          array 43:23 70:9
absent 118:5                     94:16 114:18 115:24            114:22                       articulated 55:21 110:5
absolutely 6:9 74:22 76:22     advice 14:23 107:17            altered 38:22 40:1               111:5
  83:16 90:20 98:24            advise 68:18,21                ambiguity 104:13               aside 54:12 75:25 121:8
accept 93:14 118:1             advised 26:11 27:17            amended 83:14                    122:3
accepted 80:19                 advising 15:9 20:12 26:4,22    amendments 45:11 110:20        asked 12:5 19:12 31:5 33:14
accepting 78:22                  115:10                       American 8:21                    33:22 40:19 41:12 42:14
account 95:21                  advisor 14:15 20:13            amount 23:11 74:14 78:10         42:22 45:1 51:24 53:24
accrued 136:15,21 137:2        advisors 9:22 13:2 14:17         102:14 103:10 126:12           58:5 60:23 63:11 64:10
accuracy 60:7                    68:4                           136:15,21,22 137:2             65:16 66:13 67:16 76:12
accurate 7:19 8:1 38:11        advisory 22:14,14,15           analysis 46:25 67:8 74:25        77:22 83:23 84:24 119:11
  43:6 46:8 48:22 55:7 67:13   affairs 17:25 18:11              75:21 90:15 102:1 113:16       133:6
  72:16 75:7 103:20            affect 14:3 105:18               113:20 114:15,19 130:3       asking 5:18 35:17 36:4
accurately 43:9 55:24 56:12    affirmative 116:18,21          analyzed 103:10                  50:18 84:21 89:19 119:7,9
  60:2 82:7 107:21             afraid 64:7 113:2 135:22       analyzing 113:8                aspects 22:20
acknowledge 37:13 62:23          136:17,17 138:15,25          and/or 140:8                   asserting 111:8 124:6
  102:4 106:11 120:2 140:4     aged 126:1                     answer 6:4,5 16:17 18:21       assertion 116:20
acknowledged 104:16            agency 15:5 20:12,20 21:4        28:9,11 34:10 35:1,19 36:3   assess 42:22
ACKNOWLEDGMENT                   21:23 33:24 44:3 51:21         44:24 45:1,2,7,18 46:4       asset 9:19 17:15,24 134:14
  140:2                          70:8,11,23 81:15               50:25 52:4 57:14 64:9,10     assigned 59:15 134:12
acquire 72:9                   agree 40:22 42:3 62:2 69:16      65:7 133:7                   assignment 42:9 43:7,10
act 32:2 43:3,5,19 56:11         74:3 76:13 82:9,23 89:10     answered 128:10                  46:17 47:24 53:20 56:22
  67:9 69:14 72:5,22 73:4,17     90:14 95:25 101:12,17        answering 5:24                   62:15 64:12 72:10 77:23
  125:8                          104:25 111:2,12,16 118:8     answers 16:18 35:4               77:23 78:22
acted 114:23                     130:6 131:8                  anybody 52:19                  assignments 10:25
acting 17:3 83:25              agreeable 6:7                  apart 20:3 43:12 52:15 70:5    assisted 130:21 134:1
action 15:13 21:8 29:12,13     ahead 32:15 37:10 49:7         apologies 83:16                associate 28:19 134:8
actions 15:5 29:15 51:22       al 142:3                       apologize 49:12                associated 38:25
  81:1                         alas 22:19                     Appeals 8:16                   assume 60:7 92:9
active 20:25 93:1 96:16        allegations 34:24 39:18        appear 109:8 140:8             assuming 60:1 103:18
activities 53:18 55:17 56:2      46:6,12 47:3 48:13 55:1      appearance 21:6                  104:21
  106:21 120:23 127:2            56:3,18 57:3 58:12 62:10     appears 60:14                  assurance 29:11
activity 27:1 55:19 62:5         62:18,24 63:16,19,25         applied 81:11                  Astarita 3:14 34:3
  121:15                         114:2,12 115:16,17 124:12    apply 43:23 131:11,17          asterisk 17:21 18:6
actual 115:16                  allege 38:14                   applying 130:2                 asterisks 17:22
add 139:7                      alleged 57:3 115:14            appreciate 18:16 19:11         Atlanta 3:8 5:12,15
added 136:13                   alleges 58:12                  appreciated 98:5               attached 4:17 6:25 40:15
addendum 83:12                 alleging 43:15 60:11           approach 75:22,24 96:12          49:11 71:15 108:23 140:9
addition 10:20 20:16           allow 97:2                       97:9                         attempt 115:23,25
additional 13:22 35:13         allowed 45:2 77:4,20           appropriate 63:4,24 64:15      attempting 58:24
  36:10,12 37:23 39:23         Almagarby 1:7 2:7 5:6 38:15      131:25 132:4,18 133:14       attendant 11:19 98:13
  125:13                         44:11 45:20 46:1,13 47:11    approval 80:7                  attention 35:16
Additionally 18:9                48:15 49:1 50:1,4 52:21      approximately 9:16 11:4        attorney 5:12,14 8:25 9:12
address 62:22                    53:3,11 55:2 63:14 77:13       50:6                           10:2 13:19 37:14
addressed 45:10 58:19            79:3 81:24 82:3 83:24 84:5   apt 106:25                     attorney-client 27:23 42:12
adds 111:22                      85:13 86:18,20 87:15,23      area 51:22                     attorneys 70:17 81:3,4,7
adequacy 38:14                   88:7,14,22 90:8 91:2,7,22    areas 41:18 42:2               attribute 112:1
administrative 71:22 76:2        91:23 92:10 93:12 99:18      argue 70:17                    attributes 106:23
  132:14                         100:7 102:23 103:1,11        arguments 59:2,7 70:18         August 9:9 50:1
admissible 78:12 80:4,10         104:6,17 105:4 114:3,23        71:5,7                       authenticated 16:3
admission 139:11                 115:25 116:12 120:25         arised 26:24                   authoritative 96:25 97:2
admitted 77:19                   122:7 123:7 125:24 126:17    arose 79:14                      102:5 106:12,14 123:3


                                        GRADILLAS COURT REPORTERS
                                               (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 39 of 52
                                                                                                         James Burns
                                                                                                            11/14/2019
                                                                                                                       2
authorities 125:3              biographical 51:19             buys 100:23 110:3                142:17,19,20,22
authority 113:6 122:23         bit 30:14 36:20 51:13 136:24                                  changed 48:4
  123:13 124:8,16              Boca 3:17                                    C                changes 44:18 77:2 140:8
availability 114:22            bona 72:22                     C 3:1 5:1 13:12 49:23          characteristic 106:23
available 114:21,21            book 94:20 118:16              call 6:23 52:15,16,17,23       characteristics 109:11
aware 15:14 37:22 57:1,18      bore 78:1                        81:18 122:11                   110:10 111:9 112:6
  58:4 59:13,22 66:11 69:11    bosses 14:11                   called 25:15 42:14 48:9        characterized 107:10
  69:15 80:24 122:25 131:15    bottom 96:4                      60:23 76:18 133:8              115:21
  131:21                       bought 99:16,25                calling 76:6,9                 charged 72:3
                               bounds 124:4                   calls 84:23 85:9               charges 58:24 115:21
              B                Brant 134:6                    capacities 125:15              check 137:22
B-R-A-N-T 134:7                break 6:14 7:8 66:21 95:1      capacity 68:13                 chief 15:19 29:1
back 6:14,19 24:19 28:3        breaking 6:16                  captive 127:6                  chose 39:4
  34:11,13,18 47:23 54:13      Brett 19:9                     capture 44:5,6                 Christ 112:21
  58:10 64:18 65:10 66:24      brief 7:10 66:22 139:4         careers 71:4                   chronologically 39:13
  87:20 95:5,8 99:22 135:23    briefing 37:25                 carefully 119:21 124:21        Church 112:21
background 14:8 51:18          briefings 70:18                carry 110:18                   Circuit 8:17
  54:24 81:8                   briefly 8:3 9:14 29:6          case 1:2 2:2 5:20 12:16        circumstance 91:18
ballpark 23:10 135:24          briefs 22:4,24                   20:20,23,25 21:20 32:7       circumstances 50:21 80:23
bar 10:9,13 15:13              bring 21:24 117:24               34:8 40:25 53:15 57:2,17       89:11,17,23 123:11 127:1
bars 10:20                     bringing 51:21                   59:1,15 60:16 61:14 62:12      127:10,23 128:13,17,18
based 14:24 32:9 33:3 42:22    broad 44:10 45:25 67:17          63:8 66:1 67:14 70:17,18       129:7,10,11
  44:11 48:12 55:1 61:24         70:8 94:15 100:17 126:8        70:25 72:17 73:9 74:6,21     cite 106:6
  62:7 63:16,19 68:22 75:12    broad-based 15:21                75:10,17,18,19 76:2 77:2     cites 109:16
  75:13 80:18 99:14 114:5      broaden 13:23 60:25,25           77:20 78:2 79:25 80:4        citing 101:19
  114:12,20 121:11 124:15        61:2                           82:16 84:16 85:6 90:19       civil 64:9
  125:2 131:23                 broadened 62:15                  99:15,16 103:3 121:5         claim 46:13 58:8,14 72:23
basic 80:13                    broader 62:1,16 89:16 101:8      126:19 128:18 133:3            124:14
basically 63:5,5 109:6 118:3     128:6                          141:10 142:3                 claims 72:9,11
basis 74:9 88:24 92:24         broadly 11:20 41:12 132:19     cases 22:16 109:16 112:14      clarifications 41:4
bear 21:24 113:23              broker 26:10 27:7,21 94:17       112:17 113:3,15,22           clarify 86:5 126:23
bearing 88:8,17 89:24 93:21      128:7                        Casey 13:16,17                 clarity 27:19 28:8
  93:23,24 94:1,3,8 97:19      broker-dealer 9:20 18:2,3,5    cash 91:3                      clean 5:25
beg 95:16 127:16                 26:18,24 50:25 96:10         Casting 58:10                  clear 36:3 125:8 128:25
beginning 2:17 81:24             127:6 134:15                 catch 17:6                     clearly 45:10 87:9
begins 67:2                    broker-dealer-related 20:13    categorical 129:2              clerked 8:15
behalf 2:15 3:2,12 22:5,25     broker-dealers 9:23,24 68:4    categories 99:10 125:13        client 18:11 115:10
  51:16 115:9 119:3              128:5                        category 103:14                clientele 106:25 115:6
behavior 112:1                 brokers 128:20                 caught 91:11                     125:16
believe 27:7 32:25 33:16       brought 10:1 51:1,2 61:15      caused 18:12 40:1              clients 22:19 25:15 26:12,22
  43:13 49:6 55:17 56:10         90:20 113:23 115:21          Center 8:8                       27:15,17 58:25 68:18,21
  78:17 93:25 96:24 121:4      Brown 134:6,7                  certain 11:12 41:2 73:7        closely 68:1
  121:10,11 128:12 133:1       bullets 19:25                    111:9                        Colby 96:24 101:1,3,4,10
  135:14                       BURN 142:2                     certainly 13:21 14:9,10 15:7   Colby's 96:21
believes 102:7                 Burns 1:14 2:15 4:3 5:2,6,8      16:7 25:1 26:11 47:10        cold-called 84:14
bell 84:21                       5:18 7:2,12 57:1 66:24         64:21 68:12 69:5 70:8 80:6   collateral 11:19 123:24
benefit 13:22                    71:19 109:1 140:4,13           94:8 120:21 122:18,19        colleague 5:13 108:8 134:6
best 7:20,21 33:19,21 55:8,9   business 72:9 80:7 89:6          125:6                          135:20
  74:11                          92:22,24 94:17 95:22         CERTIFICATE 141:1              Columbia 141:18
better 14:10                     107:1,8,8 112:7 115:7,8      certify 141:4                  combination 124:17
beyond 30:2 35:4 47:19           119:5                        Chairman 13:3,15               combined 136:6
  81:6 83:11 85:14 122:10      businesses 15:6 125:16         challenge 38:20 39:3 66:4      come 23:7 28:21 29:2 44:3
  124:4                        buy 96:13 97:10                chance 23:25                     66:5 86:15 95:5 122:4
bill 136:19 137:10,13,21       buyer 98:22 99:5               chances 77:3                     130:3,7 134:22
  138:2                        buying 92:22 93:15 94:20       change 61:1 86:2 123:6         comes 119:8
billed 136:22,23                 99:3 102:8 107:6 112:8         142:4,5,7,8,10,11,13,14,16   comfortable 29:4,4 108:17


                                        GRADILLAS COURT REPORTERS
                                               (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 40 of 52
                                                                                                        James Burns
                                                                                                           11/14/2019
                                                                                                                         3
commenced 16:25                  35:7,23 51:10 103:8            12:20 15:17,18 17:12,13       19:20,25 20:2 23:17 24:6
Commensurate 22:13             connotes 17:25                   17:16,17,20 23:19,21,22       24:14
comment 19:2                   consequences 11:19               24:2 30:21 31:14,22 33:12
commentator 102:5                123:24                         33:13 39:5 46:3 49:18 50:1                D
commission 1:4 2:4 3:5         consider 36:25 38:2,9 42:15      56:3,22 62:12 63:17 66:1     D 5:1
  12:18 13:24 14:15 43:25        77:1 88:25 91:19 103:21        69:24 71:8,24 73:4,10,19     D.C 1:15 2:17 10:16,21
  69:19,20 70:3,3 71:23          131:18 133:20,21 134:23        75:5 78:3 81:12 94:13        dangerous 111:24 112:3
  141:13                       consideration 55:20 64:13        96:21 97:23 103:2 112:8      dark 45:6
Commission's 114:9               66:12,13 80:8 82:10,14         117:12,15 118:6 119:18       data 4:11 37:16,23 49:8
commissioner 13:1,16,17          90:21 98:14                    123:19 129:5,15 130:14         83:15
  110:15                       considerations 73:7 129:15       131:1 135:18 138:1 140:6     date 136:15,23 140:13 142:2
commissioners 13:3 14:5          129:17,24 133:13               141:5                        Dated 141:12 142:25
  14:16,22                     considered 27:20 38:21         corrections 41:4 140:8         day 11:10 12:8 17:20 19:1
common 74:15 115:4               39:4 40:3 53:5 55:23 57:22   correctly 30:3 38:16 55:5        25:11 94:21,21 103:25
  121:10 122:10,18 123:22        64:21 82:23 83:13 86:10        67:10 68:7 95:23 96:18         104:10,11 117:4 126:5,13
  124:7,15                       92:14 101:13 106:12,14         109:13                       days 104:4 105:8
commonly 120:9,9                 109:11 110:6,11 111:6        coterminous 58:21              deal 75:4 89:8 130:7
communications 27:24             116:20 119:18 120:20         Council 8:21                   dealer 26:10 27:7,21 32:2,8
company 114:23                   127:11,24 129:9              counsel 5:16 12:25 13:12,13      32:12 38:15 43:2,5,22
compared 67:22                 consistent 67:7 76:11            13:14,24 14:21 18:13,15        44:11 45:14 46:14 52:4
comparison 126:3               constitute 122:17 123:13         21:2,4,6,14 29:1,20 32:20      53:5,10,19 55:19 62:5
compensate 92:13                 126:12                         49:20,21 50:19 55:11 59:1      63:14 67:9 69:13 73:3
complaint 34:9,17 38:13,19     constituted 123:5                66:9 68:22 79:11 113:24        77:13 82:11 86:3,18 88:10
  38:25 39:18,18 46:7,20       consultation 48:13,25            116:13 134:9,10 139:5          88:18 94:18 95:20 96:7,16
  47:1,10,25 48:13 55:1,18     consulted 21:2                   141:9                          106:22,23 107:5,8,16
  56:2,3,7,18 57:4 58:13,20    contacting 88:23               counsel's 14:18 80:7             109:11,12 110:6,10,11,22
  60:12,24 61:7 62:10,18,24    contain 41:7 42:11             counsels 13:1                    111:6,9,10,15 112:2,6,23
  63:6,17,20 64:1 71:6 115:2   contained 70:15 72:21          count 130:23                     114:3 115:22 117:12,19,21
  115:18                       contemporaneous 51:11          couple 9:5 13:1 20:14 54:16      118:6 120:22 121:7 124:3
complaint's 61:13                52:7,8,15                    course 16:1,5 20:10,18           124:3,14 125:8 127:11,24
complaints 124:12              contention 132:11                29:11 33:19 75:2,14 98:1       128:7,14,24 129:2
complete 140:6                 contentions 34:25                98:14 100:18 121:13          dealer/trader 31:7
completed 48:2                 contents 83:9                    136:12 139:8                 dealers 43:15,18 46:1 56:11
completely 46:18               context 27:19 69:1 93:3        court 1:1 2:1 5:24 6:13,18       57:5 60:13 61:8,17,18
compliance 9:21 22:15            97:8 124:23 125:17 126:9       8:16 17:5 28:3 32:23 33:1      62:12 72:5 73:10 93:8
complicated 102:1              continual 88:24                  61:19,21 64:5 65:16,17         96:13 97:10 107:2 113:7
component 115:24               continuous 92:23                 69:8,12,18 70:2 72:14          114:17,24 126:22,25 129:9
concern 98:18                  contractors 90:13                78:13 79:13 111:8 131:25       129:18 130:11 133:3
concerned 6:5 39:8 90:24       contrary 60:15 61:20 63:7      courts 79:14                   dealing 21:9
  128:6                        control 6:17                   covered 9:19 40:9 41:20        deals 93:14
concerning 88:12 112:3         controlling 125:2              Cox 3:14 34:3                  dealt 21:13
concerns 15:1,4 51:21          convenient 6:16                create 5:25 51:12 52:16        debenture 121:6,21,23,25
  132:14                       conversation 49:25 50:7,10     created 24:14                    122:12 124:1,2
conclude 122:6                   51:4,6 52:12,20 79:4         credit 107:18                  debt 56:8 72:10 82:4 84:14
concluded 139:15               conversations 70:11            current 7:2 19:16 31:18          86:21,22 87:15,24 88:8
conclusion 55:22 101:22        conversion 122:15 123:4,25     currently 10:19 24:9 30:2,5      94:5
  124:11                       convertible 94:5 121:6,21        30:16 31:5                   December 8:10
conclusions 80:18 81:11          121:22 122:12,16 124:1       Curriculum 4:9                 decide 51:14 79:15,17
  99:14                        convinced 105:3                customarily 131:10               108:10
conduct 117:2                  Cook 17:2                      customary 13:4                 decision 108:14
conducted 114:15,19            Cooke 59:15,22 61:6            customers 107:19               decisions 69:18,19 70:2,3
conferences 87:10              copies 49:13                   cut 97:22 98:8,22 99:5 135:2   declaration 103:8 105:7
confidences 25:23              copy 7:3,15 40:24 71:19          135:4                        declarations 103:16
confined 46:19 47:3 65:21      core 56:21                     Cutler 9:1,4,4,12,17 10:6,24   deemed 48:17 94:4 102:7
connected 91:23                corporate 119:6 125:23           11:5,14 12:11                  128:24
connection 31:8,20 33:10       correct 8:1,9,17 9:2,8 11:1    CV 7:3,16,17 10:23 15:24       deep 97:16 98:4 99:1


                                        GRADILLAS COURT REPORTERS
                                               (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 41 of 52
                                                                                                         James Burns
                                                                                                            11/14/2019
                                                                                                                      4
deepest 110:15                 details 19:21 21:1               106:22                       employ 75:19 81:3,7 129:23
defendant 3:12 32:6,7          determination 110:22           distinguish 92:25 96:12        employed 74:24 75:17 85:5
defendants 1:9 2:9 5:10          114:20                         97:10 100:19 113:25            141:9
  22:5,5,25,25 43:1,15,18      determinative 54:5 94:10       distinguished 34:23,24         employees 90:7,13
  48:14 49:1 55:18,22 56:9     determine 46:12 53:4 79:24     distribution 118:22,24,25      employment 8:4 9:16 10:24
  56:11 57:2,5,16,24 60:11       115:15 116:4 120:12            119:18 120:6,9                 12:11
  60:13 61:8,17,18 62:11         131:13                       District 1:1,1 2:1,1 141:18    encompass 61:2 62:16
  84:16 85:6,22 90:17 99:15    determined 111:10              division 15:16 16:22 18:1        132:10
  114:17 124:13 129:18         determining 53:10 70:1 73:8      19:7,8                       encompassed 103:14
  130:10 133:2 139:5             82:10 92:18 95:19 125:20     divorce 67:18                  encompasses 60:24
defendants' 139:10             develop 42:1                   document 37:15 41:24           encompassing 62:17
defense 21:14 59:1,16          developed 47:12                  47:17 49:8,19 108:20         ended 135:16
defense's 59:22                developing 38:2,9 81:19          109:1                        ends 110:16
defenses 116:18,21             development 54:3               documents 38:9 48:19           enforcement 9:25 14:18
define 101:6                   develops 90:25                   57:19                          20:3,6,14 21:8,10,13,19
definitely 118:16              deviating 42:24 43:13          doing 30:5 41:15 66:10 87:6      22:16 23:1,12 29:13 42:25
definition 26:9,17 27:6 32:2   DeWitt 103:15 105:6              92:24 94:22 97:25 100:20       43:14 44:17
  43:2,22 44:4 45:9,14,14,25   DeWitt's 103:19                  114:4,11 120:17 121:18       engage 112:7 118:5 126:17
  53:19 93:9 96:7 103:5        differ 75:2                      126:18                       engaged 27:1 30:16 94:1
  117:12 118:14 119:8,10,22    differences 71:4               Dorr 9:2,5                       107:6 116:5 123:7,16
  119:25 120:22 121:11         different 14:13 22:20 39:10    double-checking 21:5             125:20 126:7
  122:3,5 123:17 124:3,19        39:10 65:4 69:4 79:14,15     doubt 23:6                     engagement 5:22 20:4 30:1
  125:8 128:6                    87:18 99:10 105:21 110:21    downstairs 7:6                   30:2,4,8 33:11 42:8 46:11
definitions 122:23               123:24                       dozen 23:1                       80:6 135:13,21 136:16
degree 12:24 74:19             differently 70:22              draft 134:25                   engagements 31:25 32:5
deliberate 131:5               difficult 23:9 28:7            drafted 135:1                  engages 117:21
denied 59:22 61:9              diligence 15:12 99:2 105:17    drafting 9:21 135:3            engaging 119:15
denominate 63:14               dim 11:8                       drawing 125:13                 English 40:17
departure 19:7                 diploma 8:12                   due 15:12 99:2 105:17          ensnare 45:19,21
depend 89:11 123:11 133:6      directly 20:23 21:8 28:22        132:15                       ensuing 75:14
depended 16:25                   107:1 119:16 120:3 137:18    dueling 36:11                  ensure 66:10
dependent 91:16                  138:3                                                       entertained 61:6
depending 63:10 124:18         director 15:15 16:22,23 17:2                  E               entities 21:3 113:7
depends 41:22 103:4              17:3,9 19:7                  E 3:1,1 5:1,1                  entitled 129:14
DEPONENT 140:2                 directors 17:11 28:20          earlier 24:7 46:4 49:9 117:4   entity 29:19 32:1 98:25
deposed 33:10                  disagree 60:10 62:3 101:22       134:1                        enumerated 110:19
deposition 1:14 2:15 5:5 6:2     111:17,21                    early 117:4                    equity 1:8 2:8 5:7 20:23
  6:24 33:6 34:12 35:3,6,22    disciplinary 15:13             easily 25:18                     26:12 56:9 73:15 75:18
  36:24 40:14 47:11,11,14      disclose 42:3 79:2             East 3:6                         90:7,8 91:2 126:20 127:21
  48:14 49:1,10 50:12 55:2     disclosed 78:7 83:12           Eastside 112:21                  127:24 128:14 129:4
  71:14 83:20 105:16 108:22    discount 98:4,7,12,20          economists 13:9                errata 140:9 142:1
  115:19 139:15 142:2            100:25                       edited 108:16                  ESQUIRE 3:3,4,13
depreciated 98:6               discounted 72:12               editing 22:24                  essentially 38:5 51:4 58:16
depths 100:3                   discounts 97:17 99:1           editorial 108:14                 78:23,23 84:13 94:20
deputy 15:15 16:21,23 17:3     discuss 78:21 80:2             education 8:4,21                 130:7
  17:9,11 28:19                discussing 79:6 129:23         effective 12:8                 establish 38:14 56:10 57:4
Derivatives 29:2               discussion 80:9                either 10:3 22:3 29:3,13         58:13 61:8,14 62:11 65:15
describe 9:14 13:25 14:19      discussions 80:12                36:6 83:1 98:6 137:16        established 15:6 45:10
  29:3                         dismiss 57:2,9,11,17,23        elaborate 20:5 28:17             126:17
described 54:10 75:3 94:2        58:8,21 59:1,16,23 60:11     Elliott 76:1                   establishing 87:11
  117:3 121:7 132:17             62:4                         Elliott's 76:15                estimate 23:10,15,16 25:9
describing 19:22 79:14         dismissed 58:25                ellipses 107:20,23 108:2,12      135:19,25 136:9,18
  90:22                        dispositive 94:9                 109:8,25                     estimating 22:23
description 4:8 19:20 20:1     disputing 76:20,22             embodied 62:22                 et 142:3
  23:17 72:17                  dissuade 63:21                 emerge 22:16                   ethics 20:10
detail 15:25 19:16             distinction 31:7 96:15         emerged 22:18                  evaluate 113:25


                                        GRADILLAS COURT REPORTERS
                                               (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 42 of 52
                                                                                                         James Burns
                                                                                                            11/14/2019
                                                                                                                       5
evaluates 68:3                 expert-witness 23:19 24:18        77:17 129:20                five-minute 66:21
evaluating 115:9,13            expertise 18:4 21:24 22:1      fairness 72:13                 flip 73:11
evaluation 38:1 115:4            62:2 63:12 65:19 66:6,7      faith 60:10                    Florida 1:1 2:1 3:17
evidence 47:4                    67:18 81:18                  fall 43:1 103:13 117:12        focus 17:25 18:22 36:16
exactly 10:17 17:5 32:25       experts 18:5 67:8,13,20,22        120:21                         38:17,24 39:17 40:2 46:5
  33:7 35:16 43:24               69:1,7,8                     familiar 12:12 112:17             56:1,4,17 133:10
EXAMINATION 4:2 5:16           expires 141:13                    124:22 128:3 131:3          focused 35:10,11,25 36:4
  139:5                        explore 97:13                  family 89:7 90:23 93:2            38:19 45:16,17 54:8 65:18
examinations 9:21              exposed 104:7                     138:19,23                      77:11 89:15
examined 140:5                 expository 40:4,17             far 29:20 41:14,16 56:24       focuses 46:6
example 52:16 90:5 112:21      exposure 104:7 105:9,9            108:19 132:24 135:21        focusing 18:11
  115:23 138:10                express 24:3 41:8,19 42:2         138:7,12                    folks 20:9 21:9 125:13
exception 33:5 45:12 72:20       59:3 60:22 80:12             Farr 2:16 17:14 23:18          follow 27:10 50:22 109:22
  129:2                        expressed 38:3,10 51:21        fast 127:18                       121:8 133:16
exceptions 125:11                61:20 74:9 80:18             federal 5:8 65:23 69:17,18     followed 10:16 15:18 68:2
excerpt 4:14 109:4             expressing 31:6                   78:13                       following 37:22 65:16
exchange 1:4 2:4 3:5 12:18     expression 45:23               fee 20:23 91:17                follows 5:4 67:23,24 102:12
  32:2 43:3,19 45:12,13        extending 107:17               feedback 14:24                    107:25
  56:11 67:9 69:14 71:23       extension 107:18               feel 6:12 115:20               foot 25:25
  72:5 73:3 107:3 123:4        extent 22:17 27:23 42:11       feels 121:20                   footnote 106:2,3,5 108:18
  125:12                         43:10 102:17 109:21          fees 136:15 138:6,11,19,24        109:15 112:15
exchanges 72:24                  111:25 113:22 132:11,13      Ferry 3:6                      foregoing 140:5 141:3,4
excluded 78:24 96:4,7            132:16 133:18                fide 72:23                     forgive 124:19
excuse 136:10                  extinguishing 128:23           field 80:20 130:8              formal 52:13 125:15
exemption 73:16                extra 18:18                    figure 100:21 137:20           format 74:4
exhibit 4:9,10,11,12,14 6:23   eye 91:11                      file 51:12 71:22               formed 99:13,24
  6:24 7:2,13 37:11 40:14,22                                  filed 46:7 57:2,16 60:11       former 13:10,15 125:6
  49:9,10 54:12,13 71:13,14                   F               filing 4:12 73:24              formulate 75:9
  108:22 109:10 110:4,9        face 56:7 58:14 60:12 61:7     filings 38:5                   formulated 132:23
  111:4                        fact 31:11,13 69:11 78:22      Filling 8:20                   forth 34:11 43:2 48:12 54:25
exhibits 4:7,17 36:12 37:4       80:23 88:8 91:18 110:14      financial 15:4 18:12 19:23        55:19 71:7 113:9 131:11
  55:3                           117:2 127:5 128:3 129:6         20:17 141:11                forward 61:1 73:11
exist 46:19 122:23 127:23      factor 91:5 92:17 97:19 98:7   find 43:17 54:21 55:14 85:6    forwarded 137:18
existed 48:1                     99:4 111:13 125:19              88:24 111:25 114:3          found 61:19 76:3 113:6
expectations 65:17             factors 53:9 55:21 88:9,17     finder 83:19,21 85:21             133:2
expected 132:6                   95:19 110:4,21 111:4         finders 84:1,2,3 85:13 88:23   four 28:19
expedite 16:6 18:19 45:7         112:24 113:8,13 114:16          89:6,12,15,20,24 90:6,12    Fourth 8:17
experience 13:19 23:18           115:3,5,8,14 117:10,14          91:4,21 92:11,11 93:12,13   free 6:12
  31:22 42:23 63:12 67:17        118:6                           116:2                       free-trading 73:18,21
  67:25 68:23 70:10,22 71:4    facts 4:11 37:15,23 44:12      finding 76:15 98:22 99:5       frequently 22:9,10,11,12
  81:9 94:14,15 129:22           46:18 47:12 49:8 55:1           112:22,24 129:17 130:10        60:6 126:19
  130:2                          77:12 78:1 83:15 89:11,16    fine 10:11 24:22 96:17         front 20:11 40:24 59:14 63:4
experienced 69:2                 89:22 91:13 99:14 105:2      finish 5:23 16:16 34:24           95:9 109:1 118:14 132:25
experiences 31:17 68:5           114:21 115:16 116:12,14         68:20 94:24                 full 43:9 55:20 95:12 123:18
  70:23 75:14                    116:16,21 123:11 127:1,10    firm 9:1,7 11:20 24:21 29:10      126:15
expert 4:10,13 5:9,19,22         127:22 128:13 129:9,11          29:14 34:2 52:22 78:17,18   fulsome 19:19
  13:7 19:9 20:4 21:21 24:11     131:12,17                       80:3 134:13 138:3           fund 93:1 104:11 116:4
  24:12,15 30:1,4,8,16 31:3    facts-and-circumstances        firms 118:18                      127:24 128:14 129:4
  31:4,17,22 32:5,23 33:1,4      90:15,21 94:12               first 6:22 10:9 12:11 30:7     fundamental 100:20 101:8
  33:11,15,23 34:6,7 40:24     factual 34:22 35:7,23 36:6        42:20 47:17,17 48:11           105:23
  42:7 46:11 48:21 54:14         36:23,25 39:20 47:18,25         49:17 54:23 55:4 60:1,3     funding 138:24
  57:23 58:17 61:25 62:7         48:24 49:2 54:3 117:2           80:17 91:23 95:11 97:15     funds 68:5 89:7 90:24
  63:11,24 64:12,14 67:15      failure 58:8                      106:10 109:22 126:15,16        126:19,20,25 127:22
  68:10 69:12 71:20 77:4       fair 9:10 10:5 23:15,16 25:4      134:25 135:2,4                 128:10 129:3
  78:13 79:12,16 80:14           31:24 32:4 46:17 47:7        fit 45:8                       furnish 107:15
  132:23 135:13,21               56:19 74:14,17,19,23         five 9:16 11:4 28:19           further 32:4 43:25 44:14


                                        GRADILLAS COURT REPORTERS
                                               (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 43 of 52
                                                                                                    James Burns
                                                                                                       11/14/2019
                                                                                                                  6
  131:18 139:13                136:24                         121:16                     IM-focused 24:6
Fusco 82:16,17 83:17 84:20   Gordon 3:3 4:4 5:5,11,17       happened 22:19 76:21         imagine 51:15
  85:5,9,14,21                 6:7,10 7:1,11 16:12,13         79:19                      impact 15:5
Fusco's 84:6 86:10,13          19:3 28:2,10 36:19 37:8      happening 120:10,15          implications 131:18 133:1
fuzzy 32:16 33:17 36:20        40:12,21 41:17,25 42:6,16    happy 6:15 60:25             important 14:8 15:8 18:12
  104:1                        44:7,22 45:4 46:24 47:6      hard 16:15 67:17 94:24         18:25 19:23 20:17 79:8
                               48:6 49:7,12,16 54:7 55:12     111:7                        85:22
              G                55:13 56:25 58:22 59:11      head 84:8                    improper 74:3,18
G 5:1                          59:20 60:18 61:5,16 62:6     head's 87:4                  inadvertent 83:7
Gallagher 2:16 23:18           62:19 63:2,15,22 64:3,11     heading 54:24                inappropriate 63:13
gap 8:20                       64:17,24 65:5,9,20 66:15     hear 6:11 13:24 28:21 52:1   incidental 107:17
gathering 117:3                66:20,23 68:17 71:2,11,16      65:6                       include 24:9 44:10 46:1
general 10:2 14:18 18:15       77:8,16 78:20 79:22 84:18    heard 26:15 60:4 81:16         67:12 84:11 108:11
  21:4 27:11 72:16 89:16       85:2 86:4,19 87:13 88:3,21   hearing 50:13 59:14          included 10:25 45:13
  116:19 126:8 131:6,7,9       89:9,18 90:4 91:1,20 92:16   hedge 89:7 90:24 93:1        includes 48:18 109:4 119:22
generally 26:19 28:25 34:5,6   93:10,20 94:11 95:3,7          126:19,24 128:10 129:3     including 31:12,18 114:21
  58:9 75:1,15 76:11 80:19     99:12,22 100:5 101:21        held 103:1,11 104:3,10         117:19
  80:24 92:11 93:12 107:11     102:3,15 103:17 104:15       helped 14:10                 incorrect 43:16 110:1
gents 95:2                     105:25 108:24 111:1 112:4    Hess 76:9                    incorrectly 38:16
Georgetown 8:7                 112:11 113:4,18 115:12       hey 23:8 40:1 93:3           increase 77:3
Georgia 3:8                    116:9 117:5 118:20 119:14    high 29:5 126:19             independent 46:18 54:2
germane 114:7                  120:1,11 122:14 123:14       high-frequency 98:1 99:9       90:13 117:2
getting 66:18 87:3,4 136:12    124:5 127:7,14,19 128:8        103:24 104:9 127:9,11      INDEX 4:1
gist 119:23                    128:21 130:5,24 131:22         128:11 129:3               indicate 104:22 117:11
give 33:19 40:5 54:20 55:14    132:3 133:11,22 138:16       higher 75:21                 indicated 10:23 28:7 36:13
  64:13 65:7 66:12,13 97:8     139:1                        Hill 13:10                     84:3 92:5
  117:7 135:24               gordonr@sec.gov 3:10           hired 13:9,10                indicative 86:17
given 33:4 50:11 78:16       government 33:23               history 44:21,23 125:7       indicia 55:18 87:11
  85:20 104:6 105:7 109:10   graduated 8:7                  hold 26:13 52:10 81:22       Indifference 77:21
  110:9 111:12,24 126:5,5    grammatically 110:1              96:14 102:21 104:11        indifferent 77:18,22
  126:10 132:22 133:14       great 75:4 89:8 114:6 118:2    holders 82:4 84:15 86:21     individual 29:19 32:1 89:7
  140:7                        130:7                          87:15,24 88:8                98:25 117:11 122:20
giving 51:25                 grounded 124:25                holding 94:4 104:12,23       individuals 113:7
glance 39:25                 group 1:8 2:8 5:7 17:15,24       105:8 114:18 115:6 121:9   industry 13:8,25 14:4,7,25
glanced 36:15 86:12            18:5 73:16 75:18 90:7,8        125:19                       81:16 130:9
glasses 7:5,13                 91:3 134:14                  holdings 104:3 105:7         inflection 17:6
Global 71:20,21 72:3,4       guess 12:25 20:22 40:18        holds 102:13 107:5           information 18:17 34:22
gloss 44:15                    66:4 95:11 97:15 121:9       hopper 20:24                   49:2,24 51:19 67:3,6 85:8
go 7:7 8:3 19:15 21:1 27:13    123:12                       hornbook 106:15                105:2
  32:15 37:10 48:7 49:7 53:8 guidance 42:25 43:14 44:3      host 91:19 98:12 110:21      information-barrier 9:23
  54:13 55:10 62:9 63:4        44:17 69:20 71:7 110:5         123:24                     informed 39:20 70:22 81:1
  65:13 87:20 88:7 89:4 95:4   111:5 112:25 113:9 117:17    hour 50:8,8,8 78:3           informs 125:17
  95:11 100:15 109:7 110:12    117:18                       hourly 78:2                  inherent 104:13
  113:24 115:25 117:6        guy 40:18 121:20,22            hours 135:20,23 136:3,3      initially 39:1
  129:14 131:5 132:25        guys 30:11 41:13               housekeeping 133:23          inquiry 79:23 91:6 116:6
  135:23                                                    human 16:15                    126:6
goes 38:4 97:12                            H                hypothetically 88:6 90:6     inquisitive 14:12
going 6:19 15:2,2 19:15      Hale 9:1,5                       92:3 94:2 123:2            ins 132:6
  24:21 27:10,14,22 28:2     half 18:10 23:1 50:8,8                                      insights 13:9
  36:8 37:18 42:10 44:25     hand 107:13                                   I             insinuate 74:1
  45:1,5 65:2 66:3 67:2      handful 109:16                 IBM 121:16                   insofar 70:21
  76:10 79:16,17,18 80:15    handle 34:22 107:13 123:18     Ibrahim 1:7 2:7 5:6 50:1     instance 24:10 79:20 87:6
  85:1,24 86:15 87:9 90:11   handles 137:23                   142:3                        92:4 128:5 131:15
  94:23 113:24 114:25 119:5 hang 120:18                     identification 6:25 40:15    instances 92:7
  125:9 126:11,15            hanging 120:16                   49:11 71:15 108:23         instant 74:6 75:17
good 12:15 14:1 97:1,5       happen 79:20 87:19 119:24      identify 49:18               instruct 132:20 133:15


                                       GRADILLAS COURT REPORTERS
                                              (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 44 of 52
                                                                                                          James Burns
                                                                                                             11/14/2019
                                                                                                                        7
instructed 131:16,17 133:20       32:16,20 34:15 51:20 59:8      16:8 27:22 34:2 36:8 37:2      99:14 131:6,7,9 138:17,21
instruction 131:25 132:10         71:20,21 72:2,3,4,20 73:2      41:10,21 42:5,10 43:20       knowledgeable 69:2
instructions 131:12               73:9,15 74:5,20 75:9,13,19     44:19,25 46:21 47:5,22       known 9:1 78:19 92:11 93:2
instructs 6:4 131:4               76:2,25 78:24 134:21           49:4,15 53:21 55:11 56:23      93:12
instruments 56:8               IronRidge's 72:8                  58:18 59:4,17 60:9,17,20     knows 21:22
insufficient 56:10 57:4        irregular 107:12                  61:11,23 62:13,25 63:9,18
  58:13 60:12 61:7,13 62:11    irrelevant 93:16,19               64:2,6,20 65:2,12 66:2,18                   L
  64:1 124:13                  isolation 102:2 111:13            68:11 70:20 71:9 77:5,10     lack 55:18
insulate 98:15                 issuance 121:16                   78:14 79:9 84:17 85:1,24     laid 57:19 115:18
intend 15:24 41:19 42:2        issue 22:21 26:9 31:25            86:7 87:2,25 88:19 89:2,13   language 74:14 77:24
  62:21                           60:15 64:4 79:13 80:3          90:2,18 91:9 92:15,19          111:16 119:21
intent 114:17                     132:15                         93:17 94:6 99:7 101:15,24    large 9:25 20:15,18,19 118:9
intention 62:8,9 97:17         issuer 87:9 118:15 119:2,16       102:10 103:12,22 105:20      late 34:19 39:15 137:11
  104:22,24 120:4 132:25          120:3 121:24,24                110:13 111:20 112:9 113:1    lately 19:24
interact 116:3                 issuers 72:10,11,12 84:10         113:10 114:25 116:7,23       law 8:4,8,22 12:14,15,23
interacted 83:25                  84:14 88:13,14,24 89:1         118:12 119:12,19 120:7         14:2,20 24:21 64:16 65:24
interacting 20:22                 90:1 118:10 121:1              122:8 123:9,20 125:4           65:25 66:1,11 76:2 90:25
interaction 16:16              issues 9:22 25:24 26:3,3,3        127:3,12,17 128:1,15           120:20 122:17,24 123:3,5
interactions 70:7,24,25           26:19 66:8 67:8 68:16          129:25 130:19 131:20           124:8 125:1 127:25 131:4
interest 141:11                   69:13 70:12 132:16 133:10      132:1 133:4,17 138:13          131:11,17 133:15,16
interested 92:12 93:5 106:6    Item 49:23                        139:3,6,13                     134:13
interesting 19:6               IV 71:21 72:4                   Katz's 138:2                   lawyer 19:8 68:18,21,23
interests 15:3,4                                               keep 16:10 133:10                69:23 119:6 131:6
interface 21:9                               J                 keeping 66:11                  lawyers 50:23 52:2 53:25
interpretation 43:17 44:14     J.D 8:8                         key 95:19                        69:3,21 70:6,10,25 134:15
interpreted 43:25              jak@sallahlaw.com 3:19          Kids 33:17                     lay 39:13
interpreting 69:17,18,19       James 1:14 2:15 4:3 5:2,6       Kilpatrick 78:18               laying 40:4
Interrogatories 34:11 35:5       140:4,13 142:2                kind 9:15 23:7 28:7 34:2       lays 43:22
  35:21 47:15                  JB 108:21                         61:14 75:22 93:5 110:17      le- 44:21
Interrogatory 35:2 36:23       JB1 6:23 7:2,13                   126:10                       lead 25:2 32:20 120:14
  47:20                        JB2 40:13,23                    kinds 20:5 74:24 105:22        learning 59:25 60:2
interrupt 16:18 102:25         JB3 49:9                        knew 57:16 85:21 88:23         leaving 102:12
interview 52:13                JB4 71:13,19                    know 6:14 10:17 11:9 12:1,5    left 7:5 17:1,2 43:22
introduction 42:21 51:13       Jim 42:13 52:25                   12:6 13:1,3 14:12,16 16:14   legal 10:6 14:8,23 15:7
inures 125:9                   job 1:25 13:20,24 14:9 15:22      17:5 19:1 21:22,25 22:12       25:24 48:16 59:2 60:14,22
invade 27:23                     42:15 131:10                    22:17 25:6 29:20,22 30:11      62:1,3 63:5 66:5,8 67:8,12
invest 93:4,6 105:22           John 17:10                        30:24 32:24 33:18 40:3         67:15,18,19,22 68:10,16
investigation 48:16            joined 10:16 17:1,14              41:11,14 44:1 45:6 50:13       68:25 69:7 74:24 76:3,16
investment 18:1,3 20:13        Josh 68:14                        50:19 51:15,15,16,25           81:18 106:13 113:5,16,16
  68:4 84:11 96:14 97:7,11     Josh's 42:13                      53:17,25 54:6 58:2,7,20,23     113:20 119:10 123:13,17
  97:14,15,20,23 98:2,9,23     Joshua 3:13 49:12                 59:10 60:25 64:7 66:9          124:8,16 125:2 131:23
  99:2,6,16 100:1,9,13,15,16   judge 8:16 59:14,15,22            78:18 79:1,13 81:14 83:17      135:12
  100:16,18,22 101:1,7,14        60:16 61:6 63:7 76:1,2,15       85:4,20 86:14,20,25 87:8,9   legally 111:6
  101:23 102:9,19,19 104:7       131:4,9,16 132:7,20 133:8       87:19,22 88:13,15 91:12      lending 107:18
  105:4,9,10,11,12,19            133:18,20                       91:17,21 92:22 97:3 98:14    length 125:18
  107:17 114:17                judge's 131:11                    99:20 100:3 101:4 105:10     lesson 44:23
investor 93:1,1 122:20         judges 133:15                     107:24,25 108:13 111:11      let's 23:14 29:25 37:10 40:7
investors 89:7 96:13 97:10     judgment 36:11 38:5 57:10         111:15 113:5,11,12,21          40:12 48:7 49:7 54:20
  107:2                        juries 133:15                     118:21 119:24 122:10           55:10 71:13 81:20 95:4
involve 26:9 80:8 131:1        jury 62:9 63:4,25 131:4,10        124:18 126:2 132:5,9,11        98:3,25 115:24 117:6
involved 22:18,20 25:4           131:12,16 132:20,25             132:16 134:20,20 136:1,2       129:13
  81:17 88:25 89:25 90:9,17      133:13                          136:13,14,20 137:16,21,24    letter 10:25 11:13 12:12
  91:7 93:14                                                     138:6,9,10,14,20,25            27:5,18 28:14 29:9,19 31:6
involvement 28:14                            K                 knowing 84:22 130:7              31:12,13
involving 24:25                K 2:16 3:3                      knowledge 7:20,21 52:19        letters 24:25 25:10 26:1,9
IronRidge 30:10 31:19          Katz 3:13 4:5 6:1,8,9 7:16        55:8,9 59:19 64:22 91:24       26:17,20 80:25


                                         GRADILLAS COURT REPORTERS
                                                (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 45 of 52
                                                                                                        James Burns
                                                                                                           11/14/2019
                                                                                                                      8
level 25:25 29:5 75:21          management 17:15,24 18:1       122:1,7 123:7 126:17                      N
light 11:10 12:8 25:11           18:3 134:14                  MEG's 120:25                  N 3:1 5:1
lights 94:19                    manager 9:19                  meld 21:22                    N.E 3:6
Limited 71:21                   margin 52:9                   member 10:8,14,19 121:18      N.W 2:17
line 84:1 96:3 104:20 110:17    mark 37:10,12 40:7,12 49:7    members 45:12,13 107:3        name 5:11
   111:11,22 142:3               71:12,13 108:20               125:12 138:19                names 27:15 85:18
lines 104:20                    marked 6:24 40:14,23 49:10    memo 51:12                    nascent 32:17
liquidate 100:11,14              71:14 73:2 108:22            memoranda 9:21                National 112:22
liquidity 126:11                market 13:7 14:3 18:12 19:9   mention 23:19 24:3            nature 35:7,23 36:6,23 37:1
list 38:4 82:24 83:3,7,14        19:23 20:17 28:22 43:23      mentioned 20:2 21:7 24:4        136:1,3
   110:19 117:10 139:9           44:6 45:11,17 68:2,15,22      24:18 30:1 31:18 35:1 49:3   necessarily 54:5 69:6 79:20
listed 82:22 117:14              70:9 72:15 75:15 80:25        83:18,23 127:21 133:25         99:9 102:21 103:23
listening 52:20                  89:5 97:18 98:13,15,16       mentions 24:15                necessary 96:12 97:9
listing 37:15                    99:19 100:2 104:24 107:4     mercifully 22:15              need 6:14,17 41:3 54:21
lists 49:24                      107:14,16 119:2,17 120:5     merely 54:6 65:18 131:16        57:8 111:4 116:4 127:15
lit 40:17                        121:2 123:23,25 124:23       met 112:24 115:5                133:24
literally 95:14                  125:10 126:11,21 129:8       metal 30:10                   needed 115:11
litigation 130:17,21 131:1,2    marketplace 118:11            methodologies 75:8,16,20      needing 135:16
litigator 21:20 130:13          markets 13:23 14:14 15:3      methodology 70:4 129:23       Needless 109:9,23 110:8
little 17:21 19:2 32:16 36:20    15:16 16:22 20:19 63:13      methods 80:19,22 81:2,3,6     negotiate 41:14 98:11
   51:8,13 87:4,4 99:2 105:17    66:7 81:18 117:20 125:10      81:8,10,13                   negotiated 121:21,22
   111:24                        126:9                        Microcap 1:8 2:8 5:7 73:15    neighborhood 137:3
live 21:3 33:4                  marking 6:22                   75:18 90:7,8 91:2            neither 141:9
LLC 1:8 2:8 71:21               Maryland 10:15,20             middle 42:20 48:8             never 29:23 32:22 33:1,4,8
loaded 45:23                    Mass 10:2                     Military 3:15                   126:25
local 65:16,22                  material 108:17               mind 14:12 27:25 49:13        New 10:1,2 39:16
long 50:6 102:22 103:5          materials 33:8 34:14 35:7      51:24 58:10 69:9 119:8       Newton 1:24 2:19 141:2
   104:23                        35:10,13,23 36:1,4,5,13,15    122:4                        night 8:23
long-standing 42:24              36:22,25 37:5 38:23,25       mine 46:5 70:13 134:7         no-action 10:25 11:3,13
look 7:13 23:8 24:8 54:20,23     39:12,14,16,21,24 47:16      minute 57:8 116:1               12:12 24:25 25:2,10,25
   55:16 62:5 68:14 81:20        47:18,19 48:3,25 57:22       minutes 139:3                   26:8,17,20 27:2,6,18 28:8
   84:15 87:21 89:6 90:11        59:6 82:22 83:3,4,11 86:10   misremembering 104:5            28:14,23 29:3,9,19 80:25
   91:13 103:7 106:1 110:21      86:13 134:20 135:4 139:8     misused 40:3                  Nope 59:24
   121:14,15,17 125:7 129:13    math 84:9                     Mm-hmm 48:10 67:5             normal 16:15
   135:23 136:2 137:5           matter 5:10,21 30:11,15       model 72:9                    north 3:15 137:4
looked 7:22 34:10,14 35:2        31:3 32:21 41:8 43:17        modified 102:18               notary 5:3 141:1,17
   37:3 38:21 83:6 84:10         48:18 62:1,1,3 65:19 68:16   moment 24:19 54:21 55:14      note 20:1 67:23 98:12
   86:12 87:12 115:1,2,2         71:20 72:2 74:5 76:9 78:24    97:13 117:7                    121:23 122:16 123:4
looking 13:11 38:23 47:19        114:8 125:11 126:25 131:9    money 78:10 93:3 100:25       noted 96:9,12 97:9 101:18
   48:3 54:1 55:15 65:14 66:5   matters 9:25 14:23 20:3,6      107:14 126:18 138:19         notes 51:11 52:7,8,14,15,16
   66:9 84:2 85:25 86:1,12       20:14 21:3,19 22:6 23:1      months 104:13                   53:14
   115:17                        60:8 113:23                  Morgan 118:17 122:2           notice 4:12 132:12
looks 24:5 50:22 121:21         mean 15:24 36:20 39:11        morning 94:19                 noting 50:19
Loss 4:14 106:7,11 109:4,19      45:5,21,23 47:13 54:9 58:1   motion 57:2,9,9,10,11,16,23   notion 102:18 128:4
   110:8 111:3,18,22             69:3,5,6 79:20 83:22 87:17    58:2,7,12,21,25 59:16,23     notwithstanding 45:15
lot 13:24 81:16,17 90:23         87:18,19 97:3 100:12          60:11 61:6,9 62:4 103:9        77:24 105:11,13
   119:21 123:15                 101:8,20 107:23 108:2        motions 36:11                 November 1:16 2:19 141:12
Louis 4:14 106:7                 122:1 136:20                 move 40:8,11 99:19 104:24       142:2
lunch 95:6                      meaning 44:18 70:1 71:6       moved 98:21                   number 4:8 13:5,11 20:12
                                 75:18 110:18                 movements 98:15,16              21:2,14,16 25:4 71:22 85:4
            M                   means 15:8 18:25 19:24        moving 94:23 119:17 120:4       85:9 93:3 108:21,21
M 26:3                           32:25 39:9 101:6 118:9        121:1                          109:10 110:10 111:9,12,24
main 112:6                      meant 105:8,9                 murky 110:25                    118:18 135:20
makers 45:11 107:4              meet 53:18                    Murnahan 3:4 5:14             numbers 84:9
making 21:6 31:9 77:1 85:10     meetings 14:25                mutual 104:11                 numerous 28:25 88:23
 102:20 110:22 125:10           MEG 46:1 85:13 91:7 105:4     myriad 126:20


                                         GRADILLAS COURT REPORTERS
                                                (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 46 of 52
                                                                                                        James Burns
                                                                                                           11/14/2019
                                                                                                                       9

             O                   45:5 46:25 50:9 51:3 52:24   outs 132:6                    people 21:14 26:4 39:10
O 5:1                            53:2,13,17 54:15,23 57:14    outset 125:12                   69:7 83:24 84:10,23 87:17
object 27:22 36:8 42:10          57:21 58:16 59:12,21 60:7    outside 41:23                   91:14 92:5 113:12 115:8
  44:25 65:2 66:3 85:1,24        61:19 62:20 65:9,21 66:16    overlap 75:4                    120:16,21 130:21
  114:25 127:16 133:19           69:6 70:15 72:19 73:6,21     overseen 20:18,19             people's 107:13
objecting 6:1                    75:25 76:11,20 78:2 79:2,7   owed 72:10                    percentages 104:2
objection 6:6 37:2 41:10,21      81:20 82:2,13 83:10 84:25                                  performed 21:5 99:1
                                 85:8,12,17,20 86:20,25                     P               period 8:22 18:9 102:22
  42:5 43:20 44:19 46:21
  47:5,22 49:4 53:21 56:23       88:6,12,16 89:10,19 90:5     P 3:1,1 5:1                     103:2,5,21 110:1 125:19
  58:18 59:4,17 60:17,20         90:12 92:3,9 93:11 95:3      p.m 2:18 139:15                 126:5
  61:11,23 62:13,25 63:9,18      96:11 99:13 101:10 102:4     Paces 3:6                     periods 104:6
  64:2,6,20 65:12 68:11          102:16 103:6 106:10          page 4:8 37:19 42:19 44:13    permissible 5:7 63:23 64:15
  70:20 71:9 77:5,10 78:14       108:10,15,20 109:18            45:15,19 47:17 48:7,9       permitted 41:9 133:7
  79:9 84:17 86:7 87:2,25        111:17 112:12,20 116:10        49:17,23 50:14 54:19,20     person 51:16 52:24,25
  88:19 89:2,13 90:2,18 91:9     117:6,9 118:3,8 120:12,24      54:23 55:10,16 56:6 66:25     95:19,20 97:25 109:9
  92:15,19 93:17 94:6 99:7       121:4,8 122:22 126:2           81:21,22,23 95:11,12 96:2     110:9 134:5
  101:15,24 102:10 103:12        127:8 128:9,25 130:13,25       96:10 106:1,2 117:6,9       person's 106:21
  103:22 105:20 110:13           131:15 132:8 133:12,23         126:14 129:13 142:3         personally 86:21 87:6,23
  111:20 112:9 113:1,10          134:8 135:6,17 136:14        pages 140:5                     88:7,14
  116:7,23 118:12 119:12,19      137:13,19,24 138:9           paid 14:6 40:18 137:7,9,12    persons 96:4,6 126:4
  120:7 122:8 123:9,20         old 40:17                        137:21 138:6,7                138:22
  125:4 127:3,12 128:1,15      omitted 108:3 109:20           pair 17:22                    persuade 32:11
  129:25 130:19 131:20         once 81:14                     paired 47:10                  persuaded 77:15
  132:1 133:4,17 138:13        one's 114:18 115:6 119:5       papers 38:6                   persuasive 123:12
objects 6:3                    ongoing 37:24                  paragraph 42:20 126:15        phrase 101:17 102:2,12
obligations 20:11              opine 69:12 90:16 110:2        pardon 95:16 127:16             109:22 132:19
obscure 50:15                    123:7                        Paredes 110:16                Pickering 9:1,4,5
observation 18:7               opined 32:6 73:2,7 129:6       parent 72:4                   piece 12:4
observations 75:14             opining 110:24                 parse 98:10 119:20 124:20     pieces 14:13
observe 81:18                  opinion 42:3 43:16 44:8,16     part 14:9 15:8,9,11 21:20     place 54:21 91:24 107:7
observed 50:21 81:15             60:15,22 61:20 64:23           38:1 46:16 62:16 64:8,12      115:7
observing 123:23                 72:13 75:9 76:3,16 99:25       68:4 78:10 95:22 110:23     placed 40:23
obtain 28:7,23 73:18 106:24      110:12 114:1 123:6,15          125:15 131:5                Plaintiff 1:5 2:5,16 3:2 5:16
obtained 72:13 138:18            129:1                        participant 44:6              Plan 112:22
obtaining 72:22 92:12 98:12    opinions 38:2,10 41:9,18,19    participants 13:25 14:7       please 5:23 16:16 65:4,8
  118:9 119:16,23 120:25         42:1 50:20 59:3 62:21 63:5     28:22 43:24 66:7 70:9         83:14 133:9
obtainment 72:12                 64:14 70:16 74:9,10 77:19      81:16 89:5 123:25 126:21    pled 46:20 55:18 56:2
obtains 97:16                    78:11,23 80:3,9,17 124:25      129:8 130:9                 plumbed 100:3
obtuse 46:23                     125:25 129:16 132:23         participate 121:19            point 6:16 11:23 40:8 63:21
occasions 21:15,16             opportunities 84:11 89:6       participated 22:24 59:14        66:19 86:15 105:13 117:1
October 17:18                  opportunity 13:22 29:10        participates 107:9              130:4
offer 19:3 63:11                 76:14 103:7                  particular 54:4 57:13 81:8    pointed 104:2
offering 60:14 114:1           opposed 73:16 92:25              91:11 106:5 126:13 129:22   policy 15:21 29:2 59:2 70:12
office 5:13,15 14:18 29:1,1      124:16                         132:15 134:12                 73:7 74:24 129:14,16,24
  80:7,7 91:4 93:2             option 27:18                   particulars 113:3               131:18 132:16,19 133:1,13
officer 68:6 141:2             order 16:6 76:4,15 84:15       parties 82:6 141:10           poor 51:9
offices 89:8 90:23               88:24 90:16 100:20,24        partner 11:25 17:15 42:13     pored 84:9
oh 18:8 74:16 95:16              102:7 109:11 110:5,10          134:9                       portion 106:6 107:1 108:11
okay 6:20 7:23,25 8:6,11         111:5 114:19 120:12,19       Partners 71:21 72:3             108:12 109:19
  9:10 10:19 11:12,22 13:6       123:6 131:13                 parts 134:25                  position 17:20 96:15 100:12
  17:19 18:16 19:14,20 20:1    ordinarily 106:24 107:5,9      passing 52:12,12                102:13 104:3,9 115:9
  21:12 23:15,25 24:13,23      original 79:13                 pay 35:16 91:4 138:19,24      positions 12:23 13:18 28:24
  25:6,18,20 26:7 27:5,10      OTC 125:10                     payments 91:3,14,15             103:25
  29:5,16,25 30:7,13 31:1      ought 32:11 115:20               138:11                      possibility 128:23
  32:19 34:9,21 35:15 37:9     outcome 54:5 141:11            pending 65:3                  possible 97:18 104:25
  37:20 40:7 42:1,17 44:16     outlines 56:7                  penny 126:9                   post-list 82:25


                                        GRADILLAS COURT REPORTERS
                                               (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 47 of 52
                                                                                                        James Burns
                                                                                                           11/14/2019
                                                                                                                    10
potential 15:5 22:5 26:25     procedures 65:17                             Q                  97:7 99:22,23 102:1 106:3
  37:23 82:14 83:19,21,22     proceeding 33:5 71:22          qualifications 5:20 134:11       106:20 107:21 109:13
  84:9,10,11 92:11 93:13      proceedings 141:3,5,6          qualified 32:22 69:8,12 77:3     112:19 126:16 140:4
  105:12 127:9                process 12:12 16:6 28:15        78:13                         reading 23:24 50:13 92:1
Potentially 127:4               29:9 34:7 40:6 131:3         qualifying 25:13               reads 48:11 67:24 96:11
practice 19:16 21:23 22:13      132:15                       quality 99:3                     109:9
  42:23,25 43:14 44:17        produced 69:20                 quantification 22:22           ready 106:22 136:12
  68:15,22 80:25 94:2         production 37:14 49:21         queried 26:23                  really 14:14 18:13 20:21
  121:13 123:23               professional 94:15             question 5:24 6:4,5,11           35:9 38:22 39:14 45:16
practices 14:4 68:2           professionals 45:17 52:3        16:18 18:21,22 19:12            46:22 50:22 56:21 66:9
practicing 81:3,4,7             107:5 135:12                  25:13 26:15,16,19 27:11         92:24 94:15,18 98:1 101:3
practitioner 68:1             professor 12:15                 28:1,11 31:1 35:14,19 36:3      110:17 119:5 123:21
practitioners 70:14           proffered 5:9 77:1              36:21,22 44:24 45:1,2,3,7     reason 44:2 142:4,6,7,9,10
pre- 82:25                    profit 98:6,20 100:24 102:19    45:19 46:4 50:18 52:1           142:12,13,15,16,18,19,21
precede 39:12                   102:21                        53:24 54:4 64:25 65:3,4,6       142:22
preceded 15:22                profits 91:16                   65:21,22 66:2 84:1 87:14      reasonable 23:10
precedent 106:13 124:7        prohibited 76:5                 88:12 89:22 92:10 97:16       reasoning 129:21
precedents 48:17,19           prohibiting 76:17               98:18 99:21 119:11,15         reasons 75:2 90:22 98:13
precisely 101:6 124:19        projecting 130:8                127:8,18,20 128:9,11            105:23
preparation 35:8,24 48:3      proofing 37:7                   130:2 133:6,7                 recall 11:6,11 12:16 32:18
  82:18 83:5 86:11 130:20     propose 64:14 94:25            question's 26:23                 47:19 50:18 51:8,10 52:24
  130:22 131:2 136:11         proposing 67:14                questions 5:19,22 6:2 16:4       53:12,15 57:13 58:5 60:4
prepare 25:16 37:1 134:24     proprieties 64:8                16:10 19:17 21:25 24:17         66:17 72:1,8,18,19 73:5
prepared 34:14 37:13 39:15    protected 42:12                 30:13 41:3 53:4,6 54:18         74:11 75:11 76:1,7,8,9,19
  49:19 86:6 133:25           provide 14:22 19:21 64:23       64:9 68:3 80:14,16 106:4        77:7 78:25 79:5 80:5,11,11
preparing 25:2 34:7 35:11       64:23 65:18 66:5 68:5         133:24 139:2,13                 83:2,5,19,23 84:19,22 85:7
  36:16 37:6 83:13 134:16     provided 7:16 14:24 19:20      quick 44:20,23                   85:11,12 86:8,9,24 87:5,8
  134:19 135:5                  31:15 34:18 38:18,18 39:1    quickly 19:2 97:18 98:4 99:4     87:8,16,17 91:25 92:1,4,6
present 17:20 18:9 117:10       39:9,21 48:15 49:20 51:18     99:20 100:2,8,12,14,24          104:1 107:24 108:19 113:3
  129:10,12                     107:16 116:12 121:24          103:19 104:18,25                113:14 122:25 125:24
presentation 108:17           providing 29:4 91:3            quite 110:24                     135:22 136:4,25 137:10
pressures 14:3                provision 44:9                 quotation 109:19                 138:5
presume 101:11 106:16         public 14:1 118:4 141:1,17     quote 96:20 106:20 108:11      recalling 124:20
  108:15 132:24               publication 117:19              109:8                         received 34:19 138:12
pretty 19:19 36:21 94:22      pulled 130:15                  quoted 96:23 101:10 106:16     recess 7:10 66:22 95:6
  106:15                      purchase 86:22 94:5 97:19       109:5                           139:4
previously 24:9,10 33:10        98:8 105:5 119:22 122:11     quoting 101:18 107:16          reciting 133:12
primarily 22:14 34:17 45:16     122:17 123:5,17                                             recollection 11:9 33:20,21
  98:19                       purchased 99:1                              R                   34:16 52:18 82:21 83:8
primary 18:13                 purchaser 97:16 98:3 124:2     R 3:1 5:1,6                      84:4 86:1,23 88:2 104:1
principal 46:10,11 121:17     purchases 56:8 118:15          R-E-D-F-E-A-R-N 19:10          recommend 29:13
principally 107:4               120:3                        raised 22:21                   record 5:25 6:17,19,19 7:7
prior 37:5 48:1 86:10         purchasing 105:24              Ramsay 17:10                     16:9,11 28:4 34:18 38:17
private 20:23 26:12 42:23     purpose 50:9 97:14 98:2,23     ran 80:6                         39:8,9,11,20 40:20 47:25
  126:20 127:21,24 128:14       100:10,18 101:1 105:5,11     range 135:24                     50:12 52:14 53:23 54:2,9,9
  129:3                         105:12,19                    rate 78:2 116:25                 57:20 61:3 62:16 64:19
privilege 30:18               purposes 5:8 46:11 92:9        Raton 3:17                       65:11 66:24 77:14 78:19
privileged 27:14                96:14 97:7,15,20,23 98:9     reach 81:11 131:13,19            87:20 88:2 95:4,8 99:23
probably 10:17 23:16 86:15      99:6,17 100:1,13 101:7,7     reached 92:5                     106:4 109:6 115:2 134:19
  108:4 112:18 123:11           101:14,23 102:9 122:13       reaching 92:7                    134:21 141:5
  136:24 137:4                purposes.' 97:11               read 6:13 24:1 28:3,4 37:18    records 60:9
probative 79:17 133:19        put 8:1 12:7 17:21 54:12         44:1 49:8 54:16 55:4,24      Redfearn 19:9
probing 53:6                    75:25 118:3 119:1 121:23       56:12 57:7 64:18,19 65:9     reduced 141:7
problem 49:15 94:23           putative 22:25 32:6              65:11 67:2,10 68:7 82:2,7    refer 24:21 49:17 72:2
procedure 64:9 131:24         putting 118:16                   82:17,19 85:23 86:5,9,10     reference 57:21
  132:14                                                       86:16 95:18,23 96:6,18,20    references 48:18


                                       GRADILLAS COURT REPORTERS
                                              (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 48 of 52
                                                                                                        James Burns
                                                                                                           11/14/2019
                                                                                                                    11
referrals 84:15 85:6 88:25    remember 11:21 12:9 18:7       responsive 19:12 65:7          says 37:21 54:24 82:3 95:12
  91:22 92:12,13 93:14          25:3,22,24 30:12 36:7 51:3   rest 61:3                        109:23 110:8 117:20 118:1
referred 78:17 82:6 96:8        51:5,23 52:7 85:3,17,18      result 127:23 128:14             120:19 124:19
referring 69:2 73:22 75:20      137:16,25 138:2              retained 24:12 25:14 31:4      school 8:5,22 12:14
  106:8 116:15                remembering 84:8                 41:16 68:13 78:16 79:11      scope 12:5 41:23 43:7,10
reflected 105:16              remind 16:14                   retention 31:3                   48:9 60:22 62:15 67:1
reflects 132:23               render 78:11                   return 40:8                      86:15
refreshed 34:15               rendering 107:17               reveal 25:23                   scrambled 87:4
Reg 26:3,3                    repeat 6:12                    review 35:6,22 36:2,22         scribbled 52:9
regard 34:5 71:1 76:25        repeating 28:1                   38:13,22 42:22 48:9,12       searching 18:14 114:15,19
  114:6                       rephrase 6:13                    58:2 67:1 76:15 82:15        SEC 5:6,12,15 10:1 11:15
regarded 77:13 89:25          replace 108:12                   139:10                         12:23 13:2,14 20:3,6 21:8
regarding 59:16 67:8 69:13    report 4:10,13 5:19 34:6,7     reviewed 25:4 32:10 34:9,10      21:9,13 27:21 28:13 31:13
  103:19 129:16                 35:8,9,9,13,24 36:10 37:1      34:23 36:5 67:6 134:19         32:20 33:15 37:14 42:24
regardless 98:5,20 104:22       37:6,22 38:3,10 39:15 40:7     135:3,7 139:8                  42:24 43:13 44:17 46:7,20
  108:15                        40:12,24 41:4,7,12,20        reviewing 22:4 39:8 58:6         48:15 49:21 55:19,20,21
Regional 5:13,15                42:19 43:21 48:2,7,18,22       77:12 80:23 83:5 88:2          68:6 72:3 96:9 110:5 111:5
register 43:4 96:10 115:11      49:3 54:10,14,17 55:10         115:19 134:18,18               112:25 113:9,12 114:5,7
  126:21 128:4                  56:4 57:23 59:3 62:8,22      reviews 75:13                    114:13 115:3,14 117:11,18
registered 50:25 52:4 127:6     66:25 69:1 70:16 71:20       revise 135:9                     118:3 142:3
registration 67:9 69:13         73:1,6 74:20,21 75:9,10,25   revised 135:7                  SEC's 56:7 103:9 114:5,12
  72:20 73:24                   76:3,5,16,25 77:2 78:7,12    right 12:17 20:25 26:19          124:11 139:10
regular 95:22 106:24 107:7      78:16 80:18 81:20 82:18        29:25 33:7 38:7 51:23        second 18:6 37:4 49:23 96:3
  107:10 115:6,7,7 125:15       83:6,12,13 86:6,11 95:9        57:18 58:17 61:4,21 68:23      103:14
  125:16                        101:11 106:1 108:7 109:5       76:12 82:1 88:5 89:21 94:7   secretary 10:3,3 137:23
regularity 22:10,20             109:20 110:3 112:6 117:7       102:9 104:18 114:3,4         section 43:2,5,18 44:9,10
regularly 14:5 28:18 112:7      126:14 129:13 132:22           117:23 123:18 129:9,11         48:8 54:25 67:1 72:6,21
regulation 106:7                133:25 134:3,17,25,25          130:12 138:3                   73:4,17 96:7 129:14,15
regulations 80:24               135:13 136:11                rings 84:21                      134:13
regulatory 9:20,22 17:25      Reported 1:24                  risk 104:7 105:9               sectors 93:4
  21:21,24 22:1,14 29:12      reporter 5:25 6:13,18 17:6     Road 3:6                       securities 1:4 2:4 3:5 12:15
  33:24 48:16 67:17 68:3        28:3,4 64:19 65:11 99:23     Robert 3:3 5:11 66:18            12:18 14:14 43:3 56:9
relate 26:17 62:23 105:3        141:1                        role 21:18 22:3 84:6 85:21       68:23 69:3,17,21,23 70:6,9
related 9:22 20:3,5 38:6      reports 74:5,15,25 77:25         134:16                         70:13 71:23 72:21 73:17
  55:3 141:9                  represent 7:15 32:19 108:25    routinely 68:2,19,24             92:23 93:15 94:21 97:11
relates 128:12                  109:3,6                      Rule 73:16                       98:23 99:16 106:7 107:7
relating 5:19,22 9:25 26:4    representations 20:11          rule-making 81:15                107:14,19 110:4 112:8
  125:25                      representatives 14:25          ruled 60:16 64:5                 121:24 126:17 130:9
relation 11:18                represented 79:11              rules 5:8 50:23 65:22,23       securities-enforcement
relationship 84:6 90:16       representing 60:1,8            ruling 63:7                      22:6
  116:2                       reputable 106:17               run 91:4 128:17,19             securities-related 9:11
relatively 14:9               request 49:19 139:10           rundown 134:11                 security 96:13 100:20
release 114:10                requests 11:1,3 25:3                                            105:23
releases 43:25 69:20 70:3     required 43:4                                S                see 7:13 8:14 13:14 39:14
  114:9                       requirement 12:24 29:18,23     S 1:24 2:19 3:1 5:1 141:2        39:24,25 45:8 48:4,9 50:12
relevant 48:17 53:9 70:2      requirements 14:20 132:13      S-A-L-L-A-H 42:18                65:7 67:4 71:17 77:14
  73:8 91:6 125:19 126:5      research 100:20 101:9          sale 119:1                       81:24 82:22 84:2 96:4
  129:17                        134:20                       sales 56:9 97:20 98:8 105:5      98:11 103:6 105:10 106:8
reliable 106:18               respect 47:24 65:19 92:2       Sallah 3:14 34:3 42:14 52:22     109:16,17 112:14
relied 48:19 49:25 67:7,25      110:15 113:14 132:15           53:1,14 59:13 60:6 78:17     seeing 66:7 77:12 86:24
  73:16 102:6                 respective 28:24 74:5            137:17                         87:16 91:25
relief 27:2,6 28:9,23 29:3    respondents 73:9 76:5          saw 11:10 12:8 25:11 36:14     seek 113:25
rely 76:4,17                  Respondents' 4:12                47:12 86:16 115:19           seeking 27:2,5,18 28:8
relying 98:19                 responses 35:2,20 36:24        saying 11:16 45:24 62:2,3,4      29:11,19
remained 17:19                  47:14,20 139:10                68:9 76:9 100:23 101:5       seen 29:23 32:10 61:1,25
remains 62:14                 responsibility 78:11             114:14                         63:13,20


                                       GRADILLAS COURT REPORTERS
                                              (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 49 of 52
                                                                                                        James Burns
                                                                                                           11/14/2019
                                                                                                                    12
selective 16:4                signed 140:9 142:24            speaks 16:3 105:7              stub 8:21
self 114:18 115:6             significant 126:12             special 70:4 129:23            stuff 97:5
sell 96:13 97:11,17 98:4,13   similar 59:2,8 75:23 77:24     specific 19:17 31:1 48:19      styled 12:25
  126:1                       similarities 74:4,8              127:21                       subcontractors 84:14 85:5
seller 98:22 99:6             simple 36:21                   specifically 42:21 128:12        85:10,14 91:5
selling 72:14 92:23 93:15     simply 25:3 56:7               specifics 76:8                 subject 15:13 31:2 37:24,25
  94:20 99:4 102:8 105:24     single 111:13,25               spend 125:23                     41:8,18 42:2 53:6 58:17
  107:7 112:8 118:10          sir 12:21                      spent 135:20                     64:22
sells 100:24 110:3            sit 41:5 51:6,23 85:15 86:16   spoke 50:3,23 53:2 99:18,18    subjects 40:9
senior 68:6                     87:22 123:1                  spoken 51:19,20 60:5           submission 31:9,12,21 32:7
sense 27:3 29:17 36:18 37:7   sitting 84:4                   spreadsheets 103:7,19            35:12 36:9,17 37:5,21
  38:13 39:2 40:5 59:5,9      situations 128:19              square 119:25                    39:16 48:1 130:22
  65:14 69:7 70:7 100:17      skimmed 86:13                  SRO 20:19                      submit 83:14 137:13
  113:17,21 115:4 121:10      skip 19:13 56:5 118:1          staff 15:20 20:22 28:23        submitted 11:15 22:4 25:11
  122:10,18 123:22 124:7,15   sleep 33:17                      29:12 55:20 84:13              31:13,16 37:13 103:8
  125:2                       slippery 89:4                  staffers 13:10                   137:11
sent 36:14 136:18 138:2       slope 89:4                     stage 59:1                     subsequent 37:25 39:23
sentence 37:19 48:11 54:24    small 13:12 14:9 20:15         stand 56:14 61:4                 56:8 134:22
  56:5,6 67:2,23,24 81:24     so-called 73:18                standard 34:16 41:2 106:15     subsequently 86:1,14
  82:2 95:12 96:3,11 97:6,8   sold 73:23 99:16,25 126:3,4    standing 119:1                 substance 111:23
  109:7,23                    sole 17:3 138:11               stands 70:5                    substantial 106:25
sentences 126:16              solicit 82:4 88:7              Stanley 118:17 122:2           substantive 48:2 50:18
serve 14:2 24:12 79:12        solicitation 87:7,15 89:1,20   stark 44:5 45:15               substantively 51:22
served 13:13,14,18 24:11        90:1,9,17 91:8 116:5         start 6:22 30:7                success 91:16
  74:20                       solicited 86:21 87:23 88:14    started 10:18 126:14           successfully 118:18,19
services 107:15               somebody 31:9                  starting 8:4 12:18             sufficiency 47:9,9 56:18
serving 18:13                 someone's 104:8 110:22         starts 95:12 96:3                63:6 71:6
set 39:21 43:2 48:12 55:19      112:1                        state 10:3,9,20 42:21 43:9     sufficient 46:13 114:2
  89:16 113:9 131:11          sorry 7:9 11:11,21 12:9          46:13 55:17 58:8 129:16        132:12
sets 54:25                      16:19 18:8 23:6,24 26:14     stated 46:3,5 76:4             sufficiently 115:14 126:1
settled 20:17,20 30:11          28:1 29:7 32:14 33:17        statement 24:1 38:11 43:6      suggest 50:24 52:3 74:2
settlement 20:19,20 72:22       35:18 40:16 44:21 45:18        48:21 55:7 56:15 61:2          100:9
settlements 11:20               45:22 46:23 54:21 55:11        73:24 95:25 100:6 111:3      suggested 84:1 100:1
settling 72:11                  64:17 75:12 81:22 83:6         116:11,14,16,21 126:24         135:14
seven 104:3                     86:9 87:3,7 92:2 98:10       statements 54:17 114:13,13     suggesting 74:12,18
shadow 21:2                     99:20 102:24 121:14 136:4    states 1:1 2:1 126:16          suggestion 132:13
Shapiro 13:3,15                 136:8,19 137:1,15            states' 10:13                  Suite 3:7,16
shares 72:12,14,22 73:18,21   sort 13:12 19:13 22:21         stating 76:16                  summary 36:11 38:5 57:10
  73:22 98:5,21 103:11,20       25:24 58:10 66:19 74:20      status 26:25 86:3              summer 34:19,20 39:15
  104:18,23 105:17 118:10       79:23 94:16 111:11 113:15    statute 44:9,18                  137:11
  119:16,17 120:3 121:1         115:3 116:6 121:9 122:18     statutes 69:17 70:2 80:24      supervising 20:21
  122:11,16 123:5 125:19,25     124:17,25 129:21 131:5       statutory 43:17 44:9 45:24     supervision 11:24 141:8
  126:3,4                       133:23                       stenographically 141:7         support 9:20,24 103:9,9
sharing 49:14                 sorts 14:6                     stick 62:20                    supported 20:9
Shawn 3:4 5:14                sound 33:17 124:21             stock 10:1 97:16 98:3 99:1,3   supports 55:21
sheet 140:9 142:1             sounds 73:11 105:1 117:23      stocks 103:1 105:5 126:10      suppose 41:12,22 81:13
shingle 94:16 120:16,18         130:12,12                    stood 39:19                      90:5,6 91:12 127:5 133:5
SHO 26:3                      source 96:25 97:1 138:11       stop 40:2 94:24 110:23         supposed 41:15 66:10
short 96:15 102:13 103:2,5      138:23                       stopping 66:19                 supposition 109:21
  103:21                      sources 4:11 37:15,23 49:2     straining 111:14               sure 9:18 11:17,17 16:8 17:5
SHORTHAND 141:1                 49:8,24 83:15                strains 124:3                    17:7 19:5,18 20:7 23:4,6
show 60:13 117:25 124:13      SOUTHERN 1:1 2:1               strategy 12:7 22:2 27:1 28:6     23:14 24:16 26:2,15 35:12
shy 113:16,19                 speak 40:17 67:16 70:24        strategy-related 15:22           40:10 42:4 46:22 51:7 53:1
side 125:23                     135:15                       Street 2:17                      54:19 57:12,15 78:8 82:20
signatory 12:1                speaking 16:17 34:6 51:17      stretching 93:8                  113:24 117:8 125:7 131:7
signature 139:14                58:9                         structured 119:4                 135:23 136:5,8,25 137:5


                                       GRADILLAS COURT REPORTERS
                                              (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 50 of 52
                                                                                                          James Burns
                                                                                                             11/14/2019
                                                                                                                       13
  138:4                           55:2 58:17 63:24 77:1           17:12 18:10 23:2 24:20,24   tried 39:12 115:4
surprise 58:4,23                  85:23 100:1 140:5,7             28:20,20 40:1 50:3 59:21    tries 106:24
surprised 59:9                  text 108:2 109:5                  60:1,3 99:21 102:14,22      trip 115:19
surrounding 89:23 127:1         thank 16:12,19,19 26:21           103:2,5,10,21 104:6 105:3   tripping 116:24
suspended 15:12                   139:2                           107:12 111:8 119:3,3        true 62:24 74:10,13 140:6
sworn 5:3                       Thanks 16:20                      125:23 126:5 130:16,16,25      141:5
syndicate 120:15 121:19         theirs 70:23                      130:25 136:2                truism 109:24
systemically 18:11 19:23        theory 43:1 94:17              time.' 96:15                   try 16:17 19:1 53:4 64:10
  20:16                         thesis 97:25                   times 23:1,5,11 28:25 103:4       85:5 100:21
                                they'd 15:6                       103:25 104:11               trying 21:24 26:22 27:19
               T                thing 16:10 19:4,13 45:7       today 5:19,21 41:5 51:6 84:5      28:22 34:21 36:2 38:15,17
take 7:8,13 23:8 33:2,9 52:8      132:7 139:7                     85:15 86:17 87:22 110:24       40:5 50:22 51:14 53:3 54:2
  59:12 60:10 66:20 77:22       things 13:11 18:20 23:7           136:12                         74:1 98:10,11,15 99:19
  79:15 94:25 96:23 106:1         39:10,13,19 47:24 61:3       today's 6:2                       101:19 102:1 113:15,19
  106:10 111:2 139:3              66:6 69:21 76:21 81:1,17     told 33:3 133:10                  115:15 127:17
taken 2:15 7:10 20:4,8,8,9        87:18 91:19 110:24 119:8     top 55:16 117:9                turn 42:19 66:25 81:21
  29:14 40:19 66:22 95:6,13       119:23 122:9 123:22 124:7    total 126:4 136:13,14,21          111:14 112:1 123:17 124:2
  95:14,15,16,18 139:4            124:16 125:24 130:15            137:2                       turned 103:20 123:3
  141:3,6 142:2                   132:18                       totality 31:21                 turning 94:19
takes 29:11 47:23 124:7         think 8:12 9:9 10:2,12,22      touch 45:22 132:17             turnover 107:10 115:7
talk 15:19,20 75:19 114:6         11:8 13:9 17:18 18:24 24:7   touched 12:14 66:8             turns 86:17 93:7 123:22
  133:9                           25:21 26:5 28:5,12 31:15     trade 107:4                    two 10:22,22 14:22 17:12
talked 26:25                      35:25,25 36:4 43:11,21       trader 96:9,16 98:1,19 99:9       49:13 74:25 77:25 104:12
talking 16:9 28:6 30:19           44:2 48:23 50:11,17,21          101:13 102:8 103:24 104:9      123:22 124:18 126:16
  68:14 81:7 104:14 126:9         51:12,13,18 52:25 53:9,23       107:12 127:11                  135:11 136:6
  130:23                          54:5 57:6,25 59:6 60:5,9     trader's 107:11                two-thirds 17:8
Tammy 1:24 2:19 141:2             60:21 61:14 63:3,23 68:14    traders 55:23 96:8 105:22      type 16:10
task 38:13,24 39:17               69:9 75:16 78:4,9 79:7          126:20 127:9 128:11 129:3   typewriting 141:8
taxing 25:6                       80:21 81:17,21 82:17 83:4    trades 95:20                   typical 67:21
techniques 70:4 75:8,17,20        90:10 91:13,15 92:4,20,20    trading 15:16 16:22 20:18      typically 67:7
  81:6,8,10,13                    93:7,8 94:15 97:1 100:12        106:21 117:20 124:23
telephone 49:25 79:3              101:25 103:3,14 104:5,16        125:14 126:10,12                         U
tell 6:18 21:17 24:1 29:8         104:19 106:17 108:21         traditional 119:7 125:10       U.S 8:16
  30:17 34:5 42:7 50:6 51:5       110:16,23 111:7,10,22,23     Trail 3:15                     ultimate 108:14
  62:9 63:5,25 109:18             112:2,2 114:7 115:8          training 13:19 129:21          ultimately 11:10,24
  112:20 133:15 135:19            118:13 119:4,9 120:9         transact 106:25                underlying 59:7 68:16 78:1
  136:9                           121:3 122:4 124:18 125:1     transacting 99:6               understand 6:12 30:3 36:10
telling 30:8                      126:8 128:2 129:7 130:1      transaction 91:15                37:24 71:3 73:20,22 90:15
tells 131:10                      131:24 132:19 133:12         transactions 82:5 107:11         97:24 98:17 122:1 130:1
template 74:20                    135:15 137:2,4,15               126:18                      understanding 5:21 13:23
tend 100:9                      thinking 12:6 14:12 66:6       transcript 4:17 6:25 34:12       29:8 44:12,14 54:25 58:11
tendering 124:1                   124:23 130:8                    35:3,5,21 40:15 47:14,21      70:19 97:14 119:10 124:15
term 67:12,19 97:6,14 101:2     third 17:4 67:2 81:23 82:6        49:11 71:15 75:13 82:15       125:18 131:23 133:14
  119:9 127:21                  thorough 101:19                   85:19,23 86:6 87:5 105:14     137:24
terms 12:6 19:25 20:11          thought 8:2 23:3 58:15 73:8       105:16 108:23 141:4         understandings 88:22
  48:24 51:23 57:19 62:4          75:1 77:12,25 81:22 86:14    transcription 140:7            understood 8:24 12:3 15:10
  66:6 71:5 84:5 94:22            90:23 118:15 122:20          transcripts 92:1                 32:10 38:24 39:17 46:23
  121:25 122:22 124:8             128:17,19 132:20 133:19      transom 23:8                     50:12 97:4 98:17
terrific 101:5                    136:7                        transpired 76:24               underwriter 120:14,19,20
test 94:13 97:23                thoughts 21:25                 traunch 37:5                     121:12,17 122:3,5,6
testified 5:3 33:8 81:25 82:3   three 31:17,25 32:5 104:12     treated 32:12                  Underwriters 119:2
  104:17                        three-page 37:15               treatise 96:21,24 97:2 102:6   underwriting 107:9 117:15
testify 41:9 64:14 67:14 77:4   throwaway 110:17 111:11           106:7,11,12,13 109:4,19       117:22 118:5,8,9 120:22
  77:20 132:25                  Thursday 1:16 2:18                110:20 111:3,18,22            121:2,15 122:7 123:8,16
testifying 30:3 100:7           time 10:9,16 11:14 12:2        treatises 34:16 114:6            124:24 125:21 126:7
testimony 33:4 38:1 48:14         14:21,23,23 16:21 17:4,8     trial 41:9                     unique 21:12


                                         GRADILLAS COURT REPORTERS
                                                (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 51 of 52
                                                                                                       James Burns
                                                                                                          11/14/2019
                                                                                                                   14
UNITED 1:1 2:1                 100:2,11 104:17 139:7         127:15 128:2,16 130:1,20                   0
universe 104:8                wanting 51:16 100:8            131:21 132:2 133:5,18
University 8:8                warrant 27:2                   138:14                                      1
unregistered 72:5             Washington 1:15 2:17          witnesses 80:15                1 4:9 6:24
unrestricted 73:23            wasn't 32:11 54:2 65:14,21    word 38:20 39:4,4,9 40:3       1,350 78:3
unusual 6:3                    66:5,11 76:10 81:9            77:22 83:22 119:22            1:26 2:18 139:15
updated 19:24 24:8            way 26:6,21 40:4 46:20        words 22:12 40:18 44:13        10 23:5,13 25:19 95:11
upfront 91:14                  58:10 65:4 69:15 81:23        45:15,19 50:14 101:6            136:3
use 13:18 39:5 45:23 67:19     86:25 87:7 88:4,5,13,15       114:5 116:25 119:24           108 4:14
  68:25 79:16,18 81:4 89:6     90:25 98:6,18,20 101:17      work 5:12 8:25 9:11,15,20      11 96:10 106:1
  108:1                        119:4 120:8 121:16,17         9:23 10:5,6 11:4 18:4         12 117:6,9
uses 97:6 100:25               122:19,19 132:18 133:14       19:22 20:2,5 21:5 23:19       12:15 95:5
usually 21:21,23 107:15        135:25 136:10 138:17,21       24:15,18,25 28:23 34:1        139 4:5
  108:4 119:4                 ways 20:15                     130:17                        14 1:16 2:19 55:10,11,16
utility 18:12 19:23 20:17     we'll 6:23 24:19 40:11        worked 8:22 9:7 11:13 12:17      56:6 104:4 105:8 126:14
                              we're 6:18 45:5 66:10,10,18    14:14 25:12 26:1,8,16,18        142:2
              V                94:22 95:8 102:11 104:14      27:8,8 28:13 52:2,3 108:8     144 50:20 73:16 125:24
variety 50:23                  108:21 110:24                 135:13                        144(A) 50:19
various 14:11 55:21 83:24     we've 40:23 73:1              working 10:25 11:21 28:20      15 129:13 141:12
  91:21 110:4 113:13 117:10   website 117:20 118:4          works 34:2                     15(a) 72:6 73:4
verdict 131:13,19             websites 87:11                world 46:19                    15(b) 43:5
version 7:4 24:6,14           week 14:5,6 104:12            worlds 21:22                   17-62255-Civ-COOKE/HU...
versus 5:6 112:21             weeks 104:12                  wouldn't 59:5,9 77:21 89:4       1:2 2:2
view 22:12 48:5 61:2,9,12     Wells 31:8,12,20 32:7          89:14,15 91:10,11 93:18       18 106:3
  61:21,25 63:21 76:24 86:2    130:22                        94:9 98:1 101:16 132:6        1875 2:16
  89:3 92:14 93:11 100:10     went 8:25 137:15,17            136:18                        19 50:1
  105:18 120:24 121:10        weren't 57:15 91:15           wound 104:23                   191114TN 1:25
  122:15 123:22 124:7         wherewithal 100:15            wrestled 113:12,13             1930 45:10
  125:17 126:24 127:22        wide 43:23                    write 7:23 25:14 31:6,11       1934 43:4
views 31:6 48:12 79:15,16     Wilkie 2:16 17:14 23:2,18      67:6 78:12,16 108:7           1975 45:12 125:13
  130:3,6                      24:20,21,24 25:14            writing 22:4,24 27:5 69:10
violated 73:3                 William 5:14                  written 27:8 33:7 102:6                      2
violating 30:18               willing 93:13 94:4 98:4        112:5                         2 4:10 37:19 40:14 49:17
violation 72:5                Wilmer 9:1,3,4,12,16 10:6     wrong 46:4 60:19 61:10,22        54:13
visits 14:6                    10:18,24 11:5,14 12:11        74:13 135:18 138:1            20 136:3,3,23,24
Vitae 4:9                     wire 137:22                   wrote 73:5 108:16 110:16       2001 8:8
voice 17:6                    wires 115:19                   112:10                        2002 8:13,15 10:12,14
volume 107:12 126:2,4         wished 100:13                                                  110:20 114:9
volumes 118:10                witness 4:2 5:9 27:25 28:5                 X
                                                                                           2003 8:15 9:2,3
volunteer 18:25                31:22 33:11,15,23 36:9                                      2008 9:8 12:19
volunteering 18:17             37:3 40:16 41:11,22 42:13                 Y
                                                                                           2012 15:17
vs 142:3                       43:21 44:20 46:22 47:23      yeah 8:2,2 10:7 12:13,13       2014 12:19 15:17 17:14,18
vs- 1:6 2:6                    49:5,14 53:22 56:24 58:19      17:7 25:8 27:12 48:23        2019 1:16 2:19 50:1 141:12
                               59:5,18 60:21 61:12,24         50:16 72:24 78:6 97:1,5        142:2
             W                 62:7,14 63:1,10,19 64:7,21     106:15 131:2,7 133:9         210 3:16
W 3:4                          65:13 66:4 68:12 70:21       year 10:11 18:10               25,000 136:21
wait 5:23 16:16 116:1          71:10 76:6,18 77:6,11        years 9:5,16 11:5 16:2 20:14   26 109:15 112:15
 127:15                        78:15 79:10 85:25 86:8         21:17 25:5 68:1 104:12
waived 139:14                  87:3 88:1,20 89:3,14 90:3      113:14                                     3
want 8:3 13:7,8 15:19 18:18    90:19 91:10 92:20 93:18      Yep 12:21 27:16                3 4:11 42:19 48:8 49:10
 25:22 27:13 44:21,23          94:7 99:8,24 101:16,25       yesterday 36:14                  54:12
 53:17 54:16 62:20 65:3,6      102:11 103:13,23 105:21      yield 28:9                     3-16649 71:22
 79:18 91:18 93:4,5 97:13      110:14 111:21 112:10         York 10:1,2                    3(a)(10) 72:21,24 73:17
 106:3 117:24 119:21           113:2,11 115:1 116:8,24
                                                                                           3(a)(5) 43:3,18 44:10
 126:23 129:14                 118:13 119:20 120:8 122:9                 Z
                                                                                           3(a)(5)(b) 96:8
wanted 51:25 54:6 71:8         123:10,21 125:5 127:4,13
                                                                                           30 104:4 105:8 136:3,4,25


                                       GRADILLAS COURT REPORTERS
                                              (424) 239-2800
  Case 0:17-cv-62255-MGC Document 92-3 Entered on FLSD Docket 12/20/2019 Page 52 of 52
                                                                           James Burns
                                                                              11/14/2019
                                                                                     15
30,000 25:25 137:3
3010 3:15
30326 3:8
33431 3:17
34 125:8

              4
4 4:12 71:14
40 4:10 136:4
404 3:9
45-minute 94:25
49 4:11

              5
5 4:4,14 48:7 66:25 108:21
  108:22
50s 33:18
561 3:18

              6
6 4:9 23:13 25:18 54:20
  81:21

                7
7 105:8
7/31/2022 141:14
71 4:13

                8
8 54:23 81:22
842-7652 3:9

              9
9:32 1:17 2:18
900 3:7
950 3:6
989-9080 3:18




                             GRADILLAS COURT REPORTERS
                                    (424) 239-2800
